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                            Tab 1
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                                                             grant of summary judgment in its favor, though motion
                                                             was filed outside the 14-day time window specified in
                   374 Fed.Appx. 539
                                                             Federal Rule of Civil Procedure;
             This case was not selected for
          publication in the Federal Reporter.
                                                             [3] local court rule providing for submission of attorney
Not for Publication in West's Federal Reporter.
                                                             fee requests to clerk of court initially was designed for
       See Fed. Rule of Appellate Procedure 32.1
                                                             district court's convenience, and was not in nature of
         generally governing citation of judicial
                                                             procedural straightjacket;
     decisions issued on or after Jan. 1, 2007. See
      also Fifth Circuit Rules 28.7, 47.5.3, 47.5.4.
                                                             [4] state law governed award of prevailing party attorney
     (Find CTA5 Rule 28 and Find CTA5 Rule 47)
                                                             fees in breach of contract case that was before district
            United States Court of Appeals,
                                                             court pursuant to its diversity jurisdiction; and
                      Fifth Circuit.

      BANK OF LOUISIANA, Plaintiff–Appellant                 [5] district court did not abuse its discretion in determining
                           v.                                reasonable award of prevailing party attorney fees.
       SUNGARD AVAILABILITY SERVICES,
      L.P., formerly known as Sungard Recovery               Affirmed.
          Services Inc., Defendant–Appellee.

                     No. 09–30942                            Attorneys and Law Firms
                           |
                   Summary Calendar.                         *541 Henry L. Klein, New Orleans, LA, for Plaintiff–
                           |                                 Appellant.
                    March 29, 2010.
                                                             Robert Emmett Kerrigan, Jr., Isaac H. Ryan, Deutsch,
Synopsis                                                     Kerrigan & Stiles, L.L.P., New Orleans, LA, for
Background: Bank brought cause of action to recover          Defendant–Appellee.
for defendant's breach of contract, and the United States
                                                             Appeal from the United States District Court for the
District Court for the Eastern District of Louisiana
                                                             Eastern District of Louisiana, USDC No. 2:07–CV–1228.
granted defendant's motion for summary judgment. Bank
appealed, and the Court of Appeals affirmed. The District    Before REAVLEY, JOLLY, and OWEN, Circuit Judges.
Court, Mary Ann Vial Lemmon, J., 2009 WL 2762826,
subsequently granted defendant's request for award of        Opinion
attorney fees, and bank appealed.
                                                             PER CURIAM: *

                                                              **1 This is an appeal from the district court's
Holdings: The Court of Appeals held that:                    order awarding attorneys' fees, litigation costs, and
                                                             interest to Appellee SunGard Availability Services, L.P.
[1] district court did not lose jurisdiction to grant        (“SunGard”), pursuant to its contract with Appellant
defendant's request for attorney fees either by failing to   Bank of Louisiana (“Bank”). The district court awarded
address that request in granting defendant's motion for      fees, costs, and interest following the Bank's prior
summary judgment on breach of contract claims against        unsuccessful appeal of SunGard's claim on the merits.
it, or as result of the Court of Appeals' mandate in         Finding no error in the court's decision, we AFFIRM.
affirming this grant of summary judgment;
                                                              [1] The Bank first argues that the district court lacked
[2] district court could consider defendant's motion for     jurisdiction to award attorneys' fees, costs, and interest
award of prevailing party attorney fees, for successfully    because the court had already issued a final judgment
defending against plaintiff's breach of contract claims      when SunGard filed its motion. However, a district
both in district court and on appeal from district court's


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court does not lose jurisdiction over the attorneys' fees        considering SunGard's motion for costs, interest, and fees
issue when neither the district court nor the appeals            after the 14–day window provided in Rule 54.
court address it. See United Indus. v. Simon–Hartley,
Ltd., 91 F.3d 762, 764 (5th Cir.1996) (noting that “at            **2 [3] The Bank next argues that the district court
a jurisdictional level, the district court is not precluded      erred when it awarded SunGard its requested litigation
from ruling on the attorneys' fees issue by either its final     expenses without first submitting the question to the clerk
judgment or our mandate”). In the instant case, SunGard          of the court for a hearing. We find no reversible error here.
pleaded its right to attorneys' fees in its counterclaim and     The local rules that the district court allegedly violated are
based the claim for fees on specific language in the parties'    clearly designed for the court's convenience; they are not a
contract. Later, in its first motion for summary judgment,       procedural straightjacket. Indeed, the very rules the Bank
SunGard “pray[ed] that the Court ... reserve SunGard's           cited include provisions by which the court may choose
claim for costs and attorney's fees [sic].” When the district    to disregard them. See e.g., UNIFORM LOCAL RULES
court granted SunGard's motion for summary judgment,             OF THE UNITED STATES DISTRICT COURTS
it held that “SunGard is entitled to judgment as a matter of     FOR THE EASTERN, MIDDLE, AND WESTERN
law on the counterclaim for failure to pay for the balance       DISTRICTS OF LOUISIANA (“Local Rule”) 54.3
of the 60–month term of the agreement.” The district court       (party seeking costs must file a motion with clerk
then entered judgment against the Bank “for the balance          “unless otherwise ordered by the court”); Local Rule 54.2
owed on the 60–month agreement between the parties.”             (allowing the district judge discretion to relieve counsel
The judgment was silent as to the actual amount owed,            from filing contemporaneous time reports in support of
including the amount of principal, interest, and attorneys'      fees). The local rules are not jurisdictional, as authority
fees. When the case arrived before us on appeal, *542 we         ultimately rests with the district court to determine what
did not address attorneys' fees and stated only that “the        costs a party should be awarded. See FED.R.CIV.P.
Bank was correctly required to pay damages.” Because             54(d); Local Rule 54.4 (allowing for district court
the issue of attorneys' fees was pleaded but remained            to review any determination of costs by the clerk).
unaddressed either by the district court or on appeal, the       Accordingly, the district court did not err in considering
district court did not lose jurisdiction over it either by its   litigation expenses without first submitting the issue to the
judgment or by our mandate. See United Indus., 91 F.3d           clerk of the court for an initial determination.
at 764. 1
                                                                  [4] Finally, the Bank argues that the district court erred
 [2] The Bank next argues that the district court erred in       in granting SunGard's motion for attorneys' fees without
granting attorneys' fees because Appellee filed its motion       first determining whether those fees were reasonable.
outside the time window permitted by Federal Rule of             Specifically, The Bank argues that the district court
Civil Procedure 54. Federal Rule 54 states that “[u]nless a      erred in failing to apply the standards we set forth in
statute or a court order provides otherwise,” a party must       Louisiana Power & Light Co. v. Kellstrom, 50 F.3d 319 (5th
file a motion for attorneys' fees no later than 14 days after    Cir.1995). However, in Kellstrom, the law determining the
the entry of judgment. See FED.R.CIV.P. 54(d)(2)(B).             outcome of the case was federal law, and attorneys' fees
However, a district court may waive the time requirements        were therefore subject to federal standards. See Kellstrom,
of Rule 54 if there is proper notice that attorneys' fees        50 F.3d at 322–23. In the instant case, the parties
remain at issue in the case. See Romaguera v. Gegenheimer,       were before the district court pursuant to its diversity
162 F.3d 893, 895 (5th Cir.1998). Both parties stipulate         jurisdiction, and the law governing *543 the parties'
that shortly after we affirmed the district court on appeal      contract was Pennsylvania law. “State law controls both
but before a mandate was issued, SunGard reiterated              the award of and the reasonableness of fees awarded where
its demand to the Bank for attorneys' fees. The Bank             state law supplies the rule of decision.” Mathis v. Exxon
responded and disputed the demand. These actions,                Corp., 302 F.3d 448, 461 (5th Cir.2002). Accordingly, the
together with SunGard's pleading and its reservation of          district court did not err in failing to apply the standards
the issue in its first motion for summary judgment, put          in Kellstrom to the attorneys' fees award.
the Bank sufficiently on notice that attorneys' fees and
other damages were an unresolved issue in the case.              We review an award of attorneys' fees for abuse of
Accordingly, we find the district court did not err in           discretion. In re McClatchy, 492 Pa. 352, 424 A.2d



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1227, 1228 (1981); see also Mathis, 302 F.3d at 461–62.              experience and demonstrate the hourly rates charged in
                                                                     similar cases by local attorneys with similar experience.”
Pursuant to Pennsylvania law, when a contract provides
                                                                     SunGard argued, as it does on appeal, that the case
for attorneys' fees, “the prevailing party is only entitled to
                                                                     involved voluminous documentary evidence, that there
recover reasonable fees, even if the contract does not have
                                                                     were no unnecessary motions, and that much of the work
a provision specifying that the fees must be reasonable.”
                                                                     was in response to the Bank's own failed $900,000 claim
McMullen v. Kutz, 925 A.2d 832, 835 (Pa.Super.Ct.2007).
                                                                     for breach of contract and attorneys' fees. The district
When determining whether a fee is reasonable, the trial
                                                                     court stated that “[a]fter reviewing the affidavit's [sic]
court takes into consideration the following factors:
                                                                     of counsel and the contemporaneous time reports, the
            the amount of work performed; the                        court concludes that the attorney's [sic] fees and litigation
            character of the services rendered;                      expenses are reasonable.”
            the difficulty of the problems
            involved; the importance of the                          In contrast, the Bank made no specific arguments
            litigation; the amount of money or                       to the district court as to why SunGard's claims for
            value of the property in question; the                   attorneys' fees were unreasonable, stating only that “[w]e
            degree of responsibility incurred; ...                   find it unpleasant and distasteful to question the many
            the professional skill and standing                      entries submitted in support of the pending motion.” On
            of the attorney in his profession;                       appeal, the Bank makes some attempt to specify what it
            the results he was able to obtain;                       finds unreasonable in SunGard's itemized claims, but its
            the ability of the client to pay                         arguments are unpersuasive. Given the evidence SunGard
            a reasonable fee for the services                        provided of its attorneys' fees, given the district court's
            rendered; and, very importantly, the                     careful consideration of that evidence, and given the
            amount of money or the value of the                      Bank's lackadaisical approach to disputing that evidence,
            property in question.                                    we do not find the district court abused its discretion in
                                                                     awarding SunGard all its attorneys' fees.
 **3 In re LaRocca's Trust Estate, 431 Pa. 542, 246 A.2d
337, 339 (1968).                                                     AFFIRMED.

 [5] In its order awarding fees, the district court noted
that SunGard submitted contemporaneous time reports                  All Citations
“reflecting the dates, time involved, and the nature of the
                                                                     374 Fed.Appx. 539, 2010 WL 1189496
services performed.” The district court also noted that
“SunGard's attorneys attest to their education, skills, and


Footnotes
*      Pursuant to 5TH CIR. R. 47.5, the court has determined that this opinion should not be published and is not precedent
       except under the limited circumstances set forth in 5TH CIR. R. 47.5.4.
1      SunGard devotes several pages of its appellate brief arguing in favor of pre-judgment interest. However, The Bank does
       not appeal the district court's award of pre-judgment interest except to question the court's jurisdiction.


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                                                               Support of Motion to Dismiss of National Association
                  2006 WL 1506711
                                                               of Securities Dealers, Inc. (“NASD Brief”) at 6 (citing
    Only the Westlaw citation is currently available.
                                                               Plaintiffs' Verified First Amended Petition and Request
             United States District Court,
                                                               for Disclosure (“Original Petition”) ¶ 13). The DOE
             N.D. Texas, Dallas Division.
                                                               alleged that-without receiving written approval from their
       James Wade BROWNE, et al., Plaintiffs,                  member firms or providing notice to these firms regarding
                      v.                                       their participation-Browne and Calandro sought and
          NATIONAL ASSOCIATION OF                              received finders' fees from e2 for the sale of e2 stock. Id.
                                                               If true, this conduct violates NASD Conduct Rules 3040
      SECURITIES DEALERS, INC., Defendant.
                                                               and 2110. 1
                 No. Civ.A. 3:05-CV-2469-.
                              |                                On December 9, 2005, Browne and Calandro this filed
                       May 31, 2006.                           suit against NASD in the 101st Judicial District Court
                                                               of Dallas County. National Association of Securities
Attorneys and Law Firms                                        Dealers, Inc.'s Notice of Removal (“Notice of Removal”)
                                                               at 1. Claiming that NASD is relying on an inauthentic
Christopher J. Bebel, Law Office of Christopher J. Bebel,
                                                               document in its disciplinary proceeding against Browne
Houston, TX, E. Steve Watson, Law Office of E. Steve
                                                               and Calandro, the plaintiffs sought damages and an ex
Watson, Allen, TX, Mark A. Alexander, Ekvall & Byrne,
                                                               parte temporary restraining order (“TRO”) to halt the
Dallas, TX, for Plaintiffs.
                                                               disciplinary hearing. Original Petition ¶¶ 4, 8, attached to
Evan S. Tilton, John F. Guild, Thomas C. McGraw,               Notice of Removal at tab A. The request for the TRO was
Gibson Dunn & Crutcher, Dallas, TX, F. Joseph Warin,           denied by the state court. NASD Brief at 7. On December
Gibson Dunn & Crutcher, Terri L. Reicher, National             16, 2005, NASD removed the case to this court, asserting
Association of Securities Dealers Inc., Washington, DC,        that the case fell within the court's exclusive jurisdiction by
for Defendant.                                                 virtue of 15 U.S.C. §§ 78aa and 78y. Docket Sheet; Notice
                                                               of Removal at 2. The plaintiffs then filed, on December 21,
                                                               2005, a motion to remand and request for a TRO. Docket
      MEMORANDUM OPINION AND ORDER                             Sheet.

FISH, Chief J.                                                 On December 28, 2005, the court heard arguments on the
                                                               plaintiffs' request for a TRO; that same day, the court
 *1 Before the court are (1) the motion of the                 entered an order denying the plaintiffs' application for a
defendant National Association of Securities Dealers, Inc.     TRO and their motion to remand. December 28, 2005,
(“NASD”) to dismiss the complaint against it; (2) the          Order.
motion of the plaintiffs James Wade Browne (“Browne”)
and Kevin Calandro (“Calandro”) requesting that the            On January 3, 2006, NASD filed the instant motion to
court impose sanctions against NASD, its Department            dismiss the claims against it. Docket Sheet. On February
of Enforcement (“DOE”), and NASD's attorneys; and              13, 2006, the plaintiffs filed a response to this motion, not
(3) the motion of NASD to strike the plaintiffs' motion        addressing the defendant's arguments but requesting that
for sanctions. For the reasons stated below, the plaintiffs'   the court “abate any ruling on the Defendant's Motion
motion is denied, NASD's motion to strike is denied as         pending the Court's determination of the Plaintiffs [sic]
moot, and NASD's motion to dismiss is granted.                 Motion for Sanctions filed contemporaneously .”Id.;
                                                               Plaintiffs' Response to Motion to Dismiss ¶ 4. The
                                                               following day, the plaintiffs filed their motion for
                   I. BACKGROUND                               sanctions against NASD, the DOE, and their attorneys,
                                                               Terri Reicher, John Guild, and Thomas McGraw
On April 25, 2005, NASD filed a complaint against              (“McGraw”). Docket Sheet; Motion for Sanctions.
the plaintiffs Browne and Calandro arising from sales          NASD responded on March 6, 2006, with both a
of stock of e2 Communications, Inc. (“e2”). Brief in           responsive brief and a motion to strike the plaintiffs'



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motion for sanctions. Docket Sheet; Defendant's Motion               sanction upon the attorneys, law firms, or parties that
to Strike and Alternative Response to Plaintiffs' Motion             have violated subdivision (b) or are responsible for the
for Sanctions, and Request for Attorneys' Fees (“NASD                violation.
Response”).
                                                                        (1) How Initiated.

                                                                          (A) By Motion. A motion for sanctions under this
                       II. ANALYSIS                                       rule shall be made separately from other motions
                                                                          or requests and shall describe the specific conduct
                                                                          alleged to violate subdivision (b). It shall be served
            A. Plaintiffs' Motion for Sanctions
                                                                          as provided in Rule 5, but shall not be filed with
 *2 As an initial matter, the court will address whether                  or presented to the court unless, within 21 days
the defendant should be sanctioned, as argued in the                      after service of the motion (or such other period
plaintiffs' motion. Browne and Calandro contend that                      as the court may prescribe), the challenged paper,
several statements made by NASD's counsel at the                          claim, defense, contention, allegation, or denial is
December 28 TRO hearing were deliberately misleading                      not withdrawn or appropriately corrected.
and “constitute[d] a fraud on this Court.” Motion for
Sanctions at 8. NASD vigorously denies these claims and            FED R. CIV. P. 11(b)-(c)(1)(A).
in response has filed a motion to strike the plaintiffs'
motion for sanctions. See generally NASD Response.                 In this case, the plaintiffs did not properly follow the
                                                                   procedures set forth in Rule 11(c)(1)(A). The certificate of
Federal Rule of Civil Procedure 11 provides in relevant            service attached to the motion indicates that the motion
part:                                                              was not served upon the defendant until the motion itself
                                                                   was filed with the court on February 14, 2006. 2 Thus, the
  (b) Representations to Court. By presenting to the               plaintiffs did not wait the required 21 days after serving the
  court (whether by signing, filing, submitting, or later          motion to allow NASD to withdraw or correct the alleged
  advocating) a pleading, written motion, or other paper,          misrepresentations before filing the motion with the court.
  an attorney ... is certifying that to the best of the person's   Although one of the plaintiffs' attorneys, Christopher
  knowledge, information, and belief, formed after an              Bebel (“Bebel”), telephoned Thomas C. McGraw, counsel
  inquiry reasonable under the circumstances,-                     for NASD, on January 30, 2006, and informed McGraw
                                                                   of his intention to file a motion for sanctions for allegedly
    (1) it is not being presented for any improper purpose,
                                                                   false statements, Bebel did not specifically identify
    such as to harass or to cause unnecessary delay or
                                                                   the misleading statements. Declaration of Thomas C.
    needless increase in the cost of litigation;
                                                                   McGraw (“McGraw Declaration”) ¶ 4, attached to
    (2) the claims, defenses, and other legal contentions          Appendix to NASD Response at 6. In a subsequent
    therein are warranted by existing law or by                    phone call between McGraw and Mark Alexander
    a nonfrivolous argument for the extension,                     (“Alexander”), counsel for the plaintiffs, a motion for
    modification, or reversal of existing law or the               sanctions was again discussed, but specific statements
    establishment of new law;                                      were not identified. McGraw Declaration ¶ 6. Such phone
                                                                   calls or exchanges of letters are informal notices suggested
    (3) the allegations and other factual contentions have
                                                                   by the Advisory Committee's notes, 3 but are insufficient
    evidentiary support or, if specifically so identified, are
                                                                   to comply with the procedural requirements of Rule
    likely to have evidentiary support after a reasonable
                                                                   11. See Weeks Stevedoring Company, Inc. v. Raymond
    opportunity for further investigation or discovery;
                                                                   International Builders, Inc., 174 F.R.D. 301, 303, 305
                                                                   (S.D.N.Y.1997) (finding that letter from movant stating
  (c) Sanctions. If, after notice and a reasonable                 that defendants “would move for sanctions if Plaintiff
  opportunity to respond, the court determines that                failed to withdraw the motion” did not meet “the strict
  subdivision (b) has been violated, the court may, subject        procedural requirements of Rule 11”); Creek Ventures,
  to the conditions stated below, impose an appropriate            LLC v. World Parts, LLC, No. 01-CV-89C, 2004 WL



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1166642, at *3 (W.D.N.Y. April 14, 2004) (“[Rule 11]          (1) and 12(h)(3) (“NASD Motion”); NASD Brief. NASD
requires service of the motion according to Rule 5, not       contends that (1) NASD is entitled to absolute immunity,
merely notice of a party's intentions.”). The plaintiffs      (2) the plaintiffs have no private right of action against
have not complied with Rule 11(c)(1)(A) with respect          NASD, and (3) the plaintiffs have failed to exhaust
to service on the nonmovant of their Rule 11 motion           their administrative remedies. NASD Motion at 1-2.
prior to filing the motion in court. Therefore, the court     As mentioned above, the plaintiffs have not filed a
finds that the plaintiffs' request for the imposition of      substantive response regarding the merits of this motion.
sanctions should be denied. See Regal Row Fina, Inc.
v. Washington Mutual Bank, FA, No. 3:04-CV-1033-
G, 2004 WL 2826817, at *11-12 (N.D.Tex. Dec. 9,
                                                                           1. NASD's Absolute Immunity
2004) (Fish, C.J.) (denying motion for sanctions for
failure to comply with procedural requirements); Owens        Federal Rule of Civil Procedure 12(b)(6) authorizes
v. Excel Management Service, Inc., No. 3:02-CV-0835-          dismissal of a complaint for “failure to state a claim
L, 2004 WL 576091, at *1 (N.D.Tex. Mar.16, 2004)              upon which relief can be granted.” FED. R. CIV. P.
(same). Accordingly, the defendant's motion to strike the     12(b)(6). There are two primary principles that guide the
plaintiffs' motion for sanctions is denied as moot.           court's determination of whether dismissal under Rule
                                                              12(b)(6) should be granted. First, a motion under Rule
 *3 Also contained within its response, NASD requests         12(b)(6) should be granted only if it appears beyond
that this court award it attorneys fees for successfully      doubt that the nonmovants could prove no set of facts in
defending itself against the plaintiffs' motion for           support of their claims that would entitle them to relief.
sanctions. NASD Response at 10. Rule 11 authorizes            Conley v. Gibson, 335 U.S. 41, 45-46 (1957); Leffall v.
a court to award “to the party prevailing on the              Dallas Independent School District, 28 F.3d 521, 524 (5th
motion the reasonable expenses and attorney's fees            Cir.1994); see also Kaiser Aluminum & Chemical Sales,
incurred in presenting or opposing the motion.” FED. R.       Inc. v. Avondale Shipyards, Inc., 677 F.2d 1045, 1050
CIV. P. 11(c)(1)(A) (emphasis added). Here, NASD has          (5th Cir.1982) (citing WRIGHT & MILLER, FEDERAL
incurred over $24,000 in attorney's fees defending against    PRACTICE AND PROCEDURE: CIVIL § 1357 at 598
the plaintiffs' motion for sanctions. See Defendant's         (1969), for the proposition that “the motion to dismiss
Surreply to Plaintiffs' Motion for Sanctions (“Surreply”)     for failure to state a claim is viewed with disfavor and
at 6 (citing Supplemental Declaration of Thomas C.            is rarely granted”), cert. denied,459 U.S. 1105, 103 S.Ct.
McGraw ¶ 3, attached to Surreply as Attachment 1).            729, 74 L.Ed.2d 953 (1983). Second, the court must accept
As described above, the plaintiffs did not comply with        all well-pleaded facts as true and view them in the light
Rule 11 procedures, causing the defendant to expend           most favorable to the nonmovants. Capital Parks, Inc. v.
time, money, and effort in defending a motion that            Southeastern Advertising and Sales System, Inc., 30 F.3d
was ultimately denied. Accordingly, the defendant's           627, 629 (5th Cir.1994); Norman v. Apache Corporation,
request for attorney's fees is granted. 4 See Connecticut     19 F.3d 1017, 1021 (5th Cir.1994); Chrissy F. by Medley
General Life Insurance Company v. Thomas, 910 F.Supp.         v. Mississippi Department of Public Welfare, 925 F.2d
297, 304-05 (S.D.Tex.1995) (awarding attorney's fees to       844, 846 (5th Cir.1991). However, conclusory allegations
nonmovant because motion did not comply with the 21           and unwarranted factual deductions will not suffice to
day notice period and was “baseless and unjustified”). The    prevent a motion to dismiss. United States ex rel. Willard
plaintiffs shall pay to the defendant the sum of $24,495.00   v. Humana Health Plan of Texas Inc., 336 F.3d 375, 379
in reasonable attorney's fees.                                (5th Cir.2003).

                                                               *4 If it appears that a more carefully drafted pleading
                                                              might state a claim upon which relief could be granted,
            B. Defendant's Motion to Dismiss
                                                              the court should give the claimants an opportunity to
NASD also filed a motion to dismiss this case pursuant        amend their claim rather than dismiss it. Friedlander
to Rules 12(b)(6), (b)(1), and (h)(3). See generally          v. Nims, 755 F.2d 810, 813 (11th Cir.1985); Taylor v.
National Association of Securities Dealers, Inc.'s Motion     Dallas County Hospital District, 976 F.Supp. 437, 438
to Dismiss Pursuant to FED. R. CIV. P. 12(b)(6), 12(b)        (N.D.Tex.1996). Furthermore, leave to amend a pleading



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should be freely given and should be granted unless there       before any other challenge because “the court must find
is some justification for refusal. Willard, 336 F.3d at 386.    jurisdiction before determining the validity of a claim.”
                                                                Moran v. Kingdom of Saudia Arabia, 27 F.3d 169, 172 (5th
The Fifth Circuit has explicitly held that NASD “and            Cir.1994) (internal citation omitted); see also Ruhrgras
its disciplinary officers have absolute immunity from           AG v. Marathon Oil Company, 526 U.S. 574, 577, 119
further prosecution for personal liability on claims arising    S.Ct. 1563, 143 L.Ed.2d 760 (1999) (“The requirement
within the scope of their official duties.” Austin Municipal    that jurisdiction be established as a threshold matter ... is
Securities, Inc. v. National Association of Securities          inflexible and without exception”) (citation and internal
Dealers, Inc., 757 F.2d 676, 679 (5th Cir.1985). Even if        quotation marks omitted).
it is assumed that all of the allegations in the plaintiffs'
complaint are true, there is no reason to hold otherwise in      *5 On a Rule 12(b)(1) motion, which “concerns the
the instant case; NASD was acting completely within the         court's ‘very power to hear the case ... [,] the trial court
scope of its disciplinary power. NASD's motion to dismiss       is free to weigh the evidence and satisfy itself as to the
should be granted on this ground. 5                             existence of its power to hear the case.” ’ MDPhysicians
                                                                & Associates, Inc. v. State Board of Insurance, 957 F.2d
                                                                178, 181 (5th Cir.) (quoting Williamson v. Tucker, 645
                                                                F.2d 404, 413 (5th Cir.), cert. denied,454 U.S. 897, 102
2. Plaintiffs' Failure to Exhaust Administrative Remedies       S.Ct. 396, 70 L.Ed.2d 212 (1981)), cert. denied,506 U.S.
                                                                861 (1992). In ruling on a motion to dismiss under Rule
Although unnecessary given the court's ruling on NASD's
                                                                12(b)(1), the court may rely on: “1) the complaint alone;
first ground for dismissal, the court will address the
                                                                2) the complaint supplemented by undisputed facts; or
argument that it lacks subject matter jurisdiction over this
                                                                3) the complaint supplemented by undisputed facts and
case.
                                                                the court's resolution of disputed facts.” MCG, Inc. v.
                                                                Great Western Energy Corporation, 896 F.2d 170, 176 (5th
Federal courts are courts of limited jurisdiction. See
                                                                Cir.1990) (citing Williamson, 645 F.2d at 413).
Kokkonen v. Guardian Life Insurance Company of
America, 511 U.S. 375, 377, 114 S.Ct. 1673, 128 L.Ed.2d
                                                                The court's lack of subject matter jurisdiction may
391 (1994); Owen Equipment and Erection Company v.
                                                                be asserted at any time, either in the answer, or
Kroger, 437 U.S. 365, 374, 98 S.Ct. 2396, 57 L.Ed.2d 274
                                                                in the form of a suggestion to the court prior to
(1978). A federal court may exercise jurisdiction over cases
                                                                final judgment. 5B CHARLES ALAN WRIGHT &
only as expressly provided by the Constitution and laws of
                                                                ARTHUR R. MILLER, FEDERAL PRACTICE AND
the United States. SeeU.S. CONST. art. III §§ 1-2; see also
                                                                PROCEDURE § 1350 (3d. ed.2004). Federal Rule of Civil
Kokkonen, 511 U.S. at 377. Federal law gives the federal
                                                                Procedure 12(h)(3) provides that “[w]henever it appears by
district courts original jurisdiction over “all civil actions
                                                                suggestion of the parties or otherwise that the court lacks
arising under the Constitution, laws, or treaties of the
                                                                jurisdiction of the subject matter, the court shall dismiss
United States.” 28 U.S.C. § 1331. A party seeking relief in
                                                                the action.” FED. R. CIV. P. 12(h)(3).
a federal district court bears the burden of establishing the
subject matter jurisdiction of that court. United States v.
                                                                NASD argues that the court has no subject matter
Hays, 515 U.S. 737, 743, 115 S.Ct. 2431, 132 L.Ed.2d 635
                                                                jurisdiction over this case because the plaintiffs have failed
(1995); McNutt v. General Motors Acceptance Corporation
                                                                to exhaust their administrative remedies before seeking
of Indiana, Inc., 298 U.S. 178, 189, 56 S.Ct. 780, 80 L.Ed.
                                                                the intervention of this court. NASD Brief at 14-18.
1135 (1936); Langley v. Jackson State University, 14 F.3d
                                                                The court agrees. Fifth Circuit case law on this issue
1070, 1073 (5th Cir.), cert. denied,513 U.S. 811, 115 S.Ct.
                                                                is instructive. In Merrill Lynch, Pierce, Fenner & Smith,
61, 130 L.Ed.2d 19 (1994).
                                                                Inc. v. National Association of Securities Dealers, 616
                                                                F.2d 1363 (5th Cir.1980), the Fifth Circuit confronted
Rule 12(b)(1) of the Federal Rules of Civil Procedure
                                                                circumstances similar to those presented here. There, the
authorizes the dismissal of a case for lack of jurisdiction
                                                                plaintiff's customer brought to the attention of NASD
over the subject matter. SeeFED. R. CIV. P. 12(b)(1). A
                                                                alleged violations of the securities laws and NASD
motion to dismiss pursuant to Rule 12(b)(1) for lack of
                                                                rules by the plaintiff's employees. Id. at 1365. NASD
subject matter jurisdiction must be considered by the court


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subsequently brought a disciplinary action against the             extraordinary circumstances. Merrill Lynch, 616 F.2d at
                                                                   1370.
plaintiff and its employees. Id. The customer planned to
initiate a civil action against the plaintiff and would also
                                                                   Although the plaintiffs have failed to exhaust their
be a complaining witness for NASD in the disciplinary
                                                                   administrative remedies, the analysis does not end there.
proceeding, so the plaintiff wished to exclude the customer
                                                                   There are two principal exceptions to the exhaustion
and her attorney from the proceeding on the basis that
                                                                   requirement: (1) when the administrative procedure is
the hearing would be a “dress rehearsal” for her civil suit.
                                                                   clearly shown to be inadequate to prevent irreparable
Id. at 1365-66. Although the chairman of the deciding
                                                                   injury; or (2) when there is a clear and unambiguous
committee granted the request in part, the plaintiff was
                                                                   statutory or constitutional violation. Merrill Lynch, 616
dissatisfied with this result and filed suit in federal district
                                                                   F.2d at 1370-71 (citing First Jersey Securities, Inc. v.
court to obtain a TRO halting the disciplinary proceeding
                                                                   Bergen, 605 F.2d 690, 696 (3d. Cir.1979), cert. denied,444
conducted by NASD. Id.
                                                                   U.S. 1074, 100 S.Ct. 1020, 62 L.Ed.2d 756 (1980)).
                                                                   Here, the plaintiffs meet neither exception. They have
Although the TRO was granted by the district court,
                                                                   not pled either a statutory or constitutional violation,
the Fifth Circuit promptly reversed on the grounds
                                                                   and any injury alleged is not sufficient to qualify as
that the district court lacked subject matter jurisdiction
                                                                   irreparable. See First Jersey, 605 F.2d at 696-97 (finding
over the dispute since the plaintiff failed to exhaust
                                                                   that possible consumer panic following an adverse ruling
its administrative remedies before seeking judicial
                                                                   in a disciplinary proceeding was insufficient to qualify as
intervention. Merrill Lynch, 616 F.2d at 1370. Specifically,
                                                                   irreparable injury partly because “if this exception were
“the district court's grant of a preliminary injunction
                                                                   to be applied in this case, it would likewise apply in
constitutes an unwarranted intrusion upon a complex,
                                                                   every case where the NASD has contemplated disciplinary
congressionally mandated scheme of self-regulation.” 6 Id.
                                                                   proceedings”); Alton v. National Association of Securities
at 1366. Rather than seeking intervention from a district
                                                                   Dealers, Inc., No. C-94-0618, 1994 WL 443460, at *3
court, the plaintiff was required to take advantage
                                                                   (N.D.Cal. July 26, 1994) (“Almost any individual who
of the thorough review process of NASD, the SEC,
                                                                   is subject to a NASD hearing could then claim that
and appellate court. Id. at 1369 (“[A] broad range of
                                                                   any adverse findings constitutes irreparable harm. Such
administrative remedies was open to [the plaintiff] which
                                                                   an undifferentiated injury is not the type of irreparable
would have avoided any possible injury to its interests,
                                                                   harm contemplated as an exception to the doctrine of
let alone ‘irreparable injury.’ [The plaintiff] had numerous
                                                                   exhaustion of remedies.”). Accordingly, the defendant's
levels of administrative review open to it, culminating
                                                                   motion to dismiss is granted on this ground as well. 7
in review by the court of appeals. There was ample
opportunity to correct any error in the disciplinary
hearing.”).
                                                                                      III. CONCLUSION
 *6 This case invites a conclusion identical to that reached
in Merrill Lynch. As of the date of the briefings, NASD            For the reasons stated above, the plaintiffs' motion
has yet to rule on whether the document in dispute will            for sanctions is DENIED, NASD's motion to strike is
in fact be admitted in the disciplinary proceeding. Even           DENIED as moot, and NASD's motion to dismiss is
if it is assumed that the plaintiffs' allegations regarding        GRANTED.
the falsity of Exhibit A are true, an erroneous admission
of this document should be corrected in the disciplinary           SO ORDERED.
proceeding itself or through the multiple levels of available
administrative review, not in federal district court. Such
                                                                   All Citations
intervention would intrude upon a complex system of
self-regulation-something the court will not do absent             Not Reported in F.Supp.2d, 2006 WL 1506711


Footnotes




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1      Rule 3040 states that any person associated with a member firm who participates in a private securities transaction must,
       prior to participating in the transaction, provide written notice to the member with which he is associated. The required
       notice must describe the transaction, the associated person's role, and state whether the associated person has received
       or may receive selling compensation. If the person has received or may receive selling compensation in connection with
       the private securities transaction, the member firm must respond to the notice in writing indicating whether it approves
       or disapproves the proposed transaction. Rule 2110 requires member to “observe high standards of commercial honor
       and just and equitable principles of trade.” See NASD Brief at 6-7, n.2.
2      The certificate of conference states: “On February [sic], 2006, Defense counsel phoned Plaintiffs' counsel office, and
       faxed Plaintiffs' counsel a letter regarding this Motion. As of this writing Defense counsel has not received any response
       from Plaintiff's [sic] counsel, in which event this motion will be presume [sic] to be opposed.” Motion for Sanctions at 16.
       The court assumes the plaintiffs' counsel mistakenly transposed the parties when writing this certificate.
3      “[The 1993] revision provides that the ‘safe harbor’ period begins to run only upon service of the motion. In most cases,
       however, counsel should be expected to give informal notice to the other party, whether in person or by a telephone call
       or letter, of a potential violation before proceeding to prepare and serve a Rule 11 motion.” FED. R. CIV. P. 11, 1993
       advisory committee's note.
4      Other factors support an award of attorney's fees to NASD. Although not required to do so, the court analyzed the motion
       for sanctions on its merits. Rather than finding the defendant's conduct misleading and fraudulent, the court finds that the
       plaintiffs' allegations consist of parsing the defendant's language for the purpose of delaying a ruling on NASD's motion
       to dismiss and perhaps even intimidating NASD to prevent use of Exhibit A in the disciplinary hearing. See Surreply at 4
       (describing the plaintiffs' “threat of seeking sanctions against Defendants' attorneys if Defendant did not withdraw ‘Exhibit
       A’ from consideration in the disciplinary proceeding” rather than requesting that the allegedly offending statements be
       withdrawn from the record in this case-the usual corrective action under Rule 11). The court remembers the TRO hearing,
       and upon rereading the proffered excerpts from the transcript, determines that it was not misled by the statements of
       NASD's counsel-in fact, the use (or exclusion) of Exhibit A in the disciplinary proceeding had little bearing on the court's
       ruling on the TRO when its jurisdiction over the matter was in serious question. See part II.B.2., infra. The fact that the
       plaintiffs filed this motion for sanctions on the day a response to the defendant's motion to dismiss was due-with a request
       that the court delay ruling on the motion to dismiss until after ruling on the plaintiffs' motion for sanctions-further buttresses
       the court's conclusion that the plaintiffs' motive was a delay-or worse, intimidation.
5      NASD also contends that this case should be dismissed because Congress has not provided an explicit private right of
       action under the Exchange Act, nor has any court held that an implied right of action to sue NASD under the Exchange
       Act exists. NASD Brief at 2; see also15 U.S.C. § 78o-3. Because the court concludes that NASD is absolutely immune
       from suit, it will not address this second ground for dismissal.
6      For a thorough discussion of the self-regulation of NASD, please see the discussion in part II of Merrill Lynch, 616 F.2d at
       1366-1368 (noting that NASD has been “delegated governmental power” to enforce compliance by its members; NASD's
       power “is subject to substantial oversight” by the Securities Exchange Commission (“SEC”); “the procedure of NASD
       disciplinary hearings is subject to close scrutiny by the SEC”; and the party subject to disciplinary proceedings can appeal
       first to the NASD Board of Governors, then the SEC, and finally to the United States courts of appeal). See also Austin
       Municipal Securities, 757 F.2d at 679-681 (same).
7      The court notes that it denied the plaintiffs' motion to remand in the same order in which it denied the plaintiffs' request for
       a TRO. See December 28, 2005, Order. There is no inconsistency in denying a motion to remand when the court would
       have exclusive jurisdiction over the case, then dismissing it because the plaintiff neglected to exhaust his administrative
       remedies. See15 U.S.C. § 78aa (giving federal courts exclusive jurisdiction suits arising from violations of the Exchange
       Act); McLaurin v. United States, 392 F.3d 774, 775-76 (5th Cir.2004) (affirming lower court's denial of remand and
       subsequent dismissal for failure to exhaust administrative remedies under Federal Tort Claims Act), cert. denied,545
       U.S. 1104, 125 S.Ct. 2549, 162 L.Ed.2d 275 (2005). Also, the court denied the motion to remand based on the assertion
       by the plaintiffs' counsel that this court had jurisdiction over the case pursuant to the Exchange Act-the court interpreted
       this statement as the plaintiffs' desire to withdraw the motion. NASD Brief at 7.


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                             Tab 3
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                                                                After three days of trial, on July 18, 2013, the fourth
                                                                day, the jury returned a verdict in favor of Carroll on her
                  2014 WL 549380
                                                                claim that Defendant Sanderson Farms, Inc. (Processing
    Only the Westlaw citation is currently available.
                                                                Division) (“Sanderson Farms”) discharged her for taking
             United States District Court,
                                                                leave under the Family Medical Leave Act (“FMLA”).
                     S.D. Texas,
                                                                The jury awarded Plaintiff compensatory damages in the
                  Houston Division.
                                                                amount of $25,000.00. # 74.
            Revena J. CARROLL, Plaintiff,
                          v.
              SANDERSON FARMS, INC.                                                  A. Relevant Law
           (Processing Division), Defendant.
                                                                The FMLA, 29 U.S.C. § 2615(a) provides,
               Civil Action No. H–10–3108.
                             |                                    (a) Interference with rights
                       Feb. 11, 2014.
                                                                    (1) Exercise of rights
Attorneys and Law Firms
                                                                    It shall be unlawful for any employer to interfere
G. Scott Fiddler, Andrew Wilson Reed, Law Office of G.              with, restrain, or deny the exercise of or the attempt
Scott Fiddler, P.C., Houston, TX, for Plaintiff.                    to exercise, any right under this subchapter.

Mark R. Flora, Ashlee Mann Ligarde, Constangy, Brooks               (2) Discrimination
& Smith, LLP, Austin, TX, for Defendant.
                                                                    It shall be unlawful for any employer to discharge
                                                                    or in any other manner discriminate against any
                                                                    individual for opposing any practice made unlawful
                OPINION AND ORDER                                   by this subchapter.

MELINDA HARMON, District Judge.                                 Regarding § 2615(a), 29 C.F.R. § 825.220 states, “An
                                                                employer is prohibited from discriminating against
 *1 Pending before the Court in the above referenced
                                                                employees or prospective employees who have taken or
cause are (1) Plaintiff Revena J. Carroll's (“Carroll'
                                                                used FMLA leave.”
s”) motion for judgment under Federal Rule of Civil
Procedure 58 (instrument # 62, correction # 64), including
                                                                Furthermore, 29 U.S.C. § 2617(a) provides,
back pay and benefits in the amount of $25,000.00,
prejudgment interest in the amount of $3,241.10 when              Civil action by employees
the motion was filed, liquidated damages in the amount
of $28,241.10 under 19 U.S.C. § 2617(a)(1)(A)(iii), and             (1) Liability
attorney's fees in the amount of $153,418.00, for a total
judgment of $209,900.20, plus post-judgment interest; and           Any employer who violates section 2615 of this title
(2) Plaintiff's motion for attorney's fees (# 63) in the            shall be liable to any employee affected—
amount of $153,418 for work through the trial of this
                                                                    (A) for damages equal to—
action, as well as for conditional appellate attorney's fees.
                                                                    (I) the amount of—
Because the attorney's fee request is raised summarily in
the first motion and in more depth in the latter, the Court         (I) any wages, salary, employment benefits, or other
will address it with the more detailed, second motion.              compensation denied or lost to such employee by
                                                                    reason of the violation; or

                                                                    (II) In a case in which wages, salary, employment
        I. Plaintiff's FMLA Claim and Judgment                      benefits, or other compensation have not been denied
                                                                    or lost to the employee, any actual monetary losses


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    sustained by the employee as a direct result of the         for retention of their pay. Firth v. Don McGill of
    violation, such as the cost of providing care, up to        West Houston, Ltd., No. Civ. A. H–04–0659, 2006 WL
    a sum equal to 12 weeks (or 26 weeks, in a case             846377, at *1 n. 2 (S.D.Tex. Mar.28, 2006) (liquidated
    involving leave under section 2612(a)(3) of this title)     damages provision is not penal in nature but intended
    of wages or salary for the employee;                        to “compensate for the retention of a workman's pay
                                                                which might result in damages too obscure and difficult
    (ii) the interest on the amount described in clause (I)     for estimate other than by liquidated damages”) (citing
    calculated at the prevailing rate;                          Snapp v. Unlimited Concepts, Inc., 208 F.3d 928, 934 (11th
                                                                Cir.2000)), aff'd, 233 Fed. Appx. 346 (5th Cir.2007).
    (iii) an additional amount as liquidated damages
    equal to the sum of the amount described in clause (I)
                                                                The FMLA does not define “good faith” for the purpose
    and the interest described in clause (ii), except that if
                                                                of avoiding the imposition of liquidated damages under
    an employer who has violated section 2615 of this title
                                                                29 U.S.C. § 2617(a)(iii). Nero v. Industrial Molding Corp.,
    provides to the satisfaction of the court that the act
                                                                167 F.3d 921, 928 (5th Cir.1999). The Fifth Circuit has
    or omission which violated section 2615 of this title
                                                                stated that Congress intended to model the enforcement
    was in good faith and the employer had reasonable
                                                                scheme in the FMLA on that in Fair Labor Standards
    grounds for believing that the act or omission was not
                                                                Act (“FLSA”) and made relief under the two statutes
    a violation of section 2615 of this amount, such court
                                                                parallel, so it has turned to the FLSA to interpret the
    may, in the discretion of the court, reduce the amount
                                                                remedial provisions in the FMLA. Id. See also Singer v.
    of the liability to the amount and interest determined
                                                                City of Waco, Tex., 324 F.3d 813, 823 (5th Cir.2003) (“We
    under clauses (I) and (ii), respectively; and
                                                                have held that an employer ‘faces a ‘substantial burden’
   *2 (B) for such equitable relief as may be appropriate,      of demonstrating good faith and a reasonable belief that
  including employment, reinstatement, and promotion.           its actions did not violate the FLSA.' ”), citing Bernard v.
                                                                IBP, Inc. of Neb., 154 F.3d 259, 267 (5th Cir.1998), quoting
Title 29 U.S.C. § 260 provides,                                 Mireles v. Frio Foods, Inc., 899 F.2d 1407, 1415 (5th
                                                                Cir.1990). Thus it determined that in deciding whether
           In any action commenced prior                        to award liquidated damages the trial court must first
           to or after May 14, 1947 to                          determine whether the employer has met its burden of
           recover any unpaid minimum wages,                    proving that it acted in good faith. Id. As under the FLSA,
           unpaid overtime compensation, or                     if the court finds that the employer proved it acted in good
           liquidated damages under the Fair                    faith and reasonably believed that its action was not a
           labor Standards Act of 1938, as                      violation of the FMLA, the court may reduce the damages
           amended [29 U.S.C. § 201 et                          award. Id.
           seq.], if the employer shows to
           the satisfaction of the court that                   To establish good faith, the employer must show his
           the act or omission giving rise to                   subjective intent was to comply with the statute and that
           such action was in good faith and                    its application of the Act was objectively reasonable.
           that he had reasonable grounds for                   Castro v. Chicago Housing Authority, 360 F.3d 721, 730
           believing that his act or omission                   (7th Cir.2004), cited for that proposition in Firth, 2006
           was not a violation of the Fair                      WL 846377 at *2. The employer must show that it took
           Labor Standards Act of 1938, as                      “ ‘active steps to ascertain the dictates of the FMLA.’
           amended, the court may, in its sound                 “ Firth, 2006 WL 846377 at *2, citing Reich v. S. New
           discretion, award no liquidated                      England Telecomm. Corp., 121 F.3d 58, 71 (2d Cir.1997).
           damages or award any amount                          See also Dalhiem v. KDFW–TV, 712 F.Supp. 533, 536
           thereof not to exceed the amount                     (N.Tex.1989) (it is the employer's burden, difficult to meet,
           specified in section 216 of this title.              to prove that “its failure to obey the statute was both
                                                                in good faith and was predicated upon such reasonable
Liquidated damages under the FMLA are not designed to           grounds that it would be unfair to impose more than a
be punitive, but compensatory, to compensate employees          compensatory verdict”) (citations omitted).



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 *3 On appeal, the Fifth Circuit will only reverse the
                                                                         B. Plaintiff's Motion for Judgment (# 62)
district court's finding of good faith if that finding is
clearly erroneous. Nero, 167 F.3d at 928. If it finds that the   Plaintiff argues that the jury awarded her $25,000 in back
employer satisfied its burden, the appellate court would         pay and benefits denied or lost because it found Sanderson
then decide if the district court abused its discretion in       Farms liable for violating the FMLA by discharging her
declining to reduce the damages award. Id. Even if the           in retaliation for having taken FMLA leave and implicitly
district court finds that the employer acted in good faith       rejected Sanderson Farms' contention that its decision to
and reasonably, the district court still has the discretion to   discharge her was based on her poor performance. Firth,
award liquidated damages in any sum up to the amount             2006 WL 846377 at *2 (jury's finding of FMLA retaliation
allowed by § 216(b). Id., citing Mireles v. Frio Foods, Inc.,    is an implicit rejection of the employer's proffered reason
899 F.2d 1407, 1416 n. 8 (5th Cir.1990). The Fifth Circuit,      for discharge).
along with other Courts of Appeals, has emphasized,
“Doubling of an award is the norm ... because a plaintiff is      *4 Plaintiff seeks liquidated damages equal to the
awarded liquidated damages in addition to compensation           amount of compensatory damages under 29 U.S.C. §
lost. The district court's discretion to reduce the liquidated   2617(a)(1)(A)(iii), specifically in the amount of $28,241.10
damages ‘must be exercised consistently with the strong          plus pre-judgment interest. Plaintiff maintains that the
presumption under the statute in favor of doubling.’ “ Id.,      “mandatory award of liquidated damages should not
quoting Shea v. Galaxie Lumber & Constr. Co ., Ltd., 152         be reduced” because “[o]ne cannot retaliate against an
F.3d 729, 733 (7th Cir.1998), and Bernard v. IBP, Inc. of        employee in good faith.” # 62 at p. 3. Hite, 446 F.3d at
Neb., 154 F.3d 259, 267 (5th Cir.1998) (“stating in FLSA         869 (“Showing good faith when a jury has determined
case that even if BP acted in good faith, ‘[g]iven IBP's         intentional retaliation is a very high bar to clear, if indeed
violation of the FLSA, we conclude that the district court       it can be.”). Ted Orman, who made the decision to
did not err in exercising its discretion to award liquidated     discharge Carroll, testified that it never crossed his mind
damages.’ ”). In accord, Firth, 2006 WL 846377, at *1 (“A        that he might be violating the FMLA in doing so. In Firth,
strong presumption exists in favor of liquidated damages,        the court awarded liquidated damages on similar facts.
which effectively results in a doubling of any award of          2006 WL 846377 at *2 (“At trial in the instant matter, Don
lost wages.”); Thom v. American Standard, Inc., 666 F.3d         McGill testified that he did not think about the FMLA
968, 973 (6th Cir.2012) (“There is a strong presumption in       requirements before terminating Firth.”). Plaintiff further
favor of awarded liquidated damages that are double the          points out that at trial Sanderson Farm did not present
amount of any compensatory damages. Thus, ‘[a]lthough            any evidence of either good faith or reasonable belief.
in the final analysis we review a district court's decision on
liquidated damages for abuse of discretion, that discretion      Carroll further asserts that prejudgment interest on the
must be exercised consistently with the strong presumption       amount of damages found by the jury is mandatory, not
under the statute in favor of doubling.’ ”) (emphasis in         discretionary. 29 U.S.C. § 2617(a)(ii); Dotson v. Pfizer, 558
the original) (citation omitted); Hite v. Vermeer Mfg.           F.3d 284, 302 (4th Cir.2009); Hite, 446 F.3d at 869; Nero,
Co., 446 F.3d 858, (8th Cir.2006) (“The district court           167 F.3d at 925 n. 2. Carroll represents that the current
should exercise its discretion ‘consistently with the strong
                                                                 prime rate is 3.25%, 1 there are 1,456 days between August
presumption under the statute in favor of doubling.’ ”),
quoting Shea v. Galaxie, 152 F.3d at 733 (7th Cir.).             24, 2009 (date of Carroll's termination) 2 and August
                                                                 19, 2013 (the submission date for the instant motion),
The FMLA requires that reasonable attorney's fees be             resulting in prejudgment interest amounting to $3,241.10,
awarded to a prevailing plaintiff. 29 U.S.C. § 2617(a)(3)        with an additional $2.23 each day thereafter until entry of
(“The court in such an action shall, in addition to any          judgment. The prejudgment interest amount is included in
judgment awarded to the plaintiff, allow a reasonable            the liquidated damages award.
attorney's fee, reasonable expert witness fees, and other
costs of the action to be paid by the defendant.”).              Carroll also seeks post-judgment interest on the entire
                                                                 judgment (compensatory damages, liquidated damages,
                                                                 and attorney's fees) pursuant to 28 U.S.C. § 1961 (post
                                                                 judgment interest “shall be calculated [daily] from the


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date of the entry of the judgment, at a rate equal to the     Carroll challenges as meritless and not relevant Sanderson
weekly average 1–year constant maturity Treasure yield,       Farms' arguments that its generous FMLA policy and
as published by the Board of Governors of the Federal         the fact that Carroll was not fired until she took her
Reserve System, for the calendar week preceding the date      second medical leave show that it acted in good faith.
of judgment”).                                                Moreover and significantly, the jury rejected Sanderson
                                                              Farms' arguments. The jury was specifically instructed
                                                              that Plaintiff had to prove by a preponderance of the
                                                              evidence that “she was discharged in retaliation for taking
   C. Sanderson Farms' Response in Opposition (# 66)
                                                              leave” and that “but for her taking Family Medical
Sanderson Farms responds that a liquidated damages            Leave Act leave, Sanderson [Farms] would not have
award is left to the discretion of the district court.        terminated her employment when they did.” In an FMLA
Although liability is determined by the jury, the court is    suit, when legal and equitable issues are decided in the
granted the power by the statute to determine good faith      same case and depend on common determinations of
and reasonableness for purposes of liquidated damages         fact, the questions of fact are submitted to the jury, and
and the employer bears the burden of proving both.            the court in resolving the equitable issues is bound by
Sanderson Farms argues that there is ample evidence           the jury's finding. Arban v. W. Pub. Corp., 345 F.3d
in the record to support a finding that it acted in           390, 408 (6th Cir.2003) (finding abuse of discretion in
good faith terminating Carroll: the record shows that         court's denial of liquidated damages where its finding
Sanderson Farms' FMLA and medical leave policy are            that defendant acted in good faith in firing plaintiff was
more generous than required by the statute and that           contrary to jury's factual determinations that defendant
Plaintiff took two periods of medical leave during her        knowingly retaliated against defendant; “When legal and
employment without question or complaint. Sanderson           equitable issues to be decided in the same case depend
Farms identified a legitimate, nondiscriminatory reason       on common determinations of fact, such questions of
for terminating Plaintiff, i.e., the repeated negative        fact are submitted to the jury, and the court in resolving
feedback from employees about her in her role as the          the equitable issues is then bound by the jury's findings
Waco plant's Field Employee Relations Manager, the            on them.”), citing Smith v. Diffee Ford–Lincoln–Mercury,
highest ranking human resources official at the Waco,         Inc., 298 F.3d 955, 965 (10th Cir.2002), citing Beaver
Texas plant. Division Manager of the Waco Processing          Theatres, Inc. v. Westover, 359 U.S. 500, 79 S.Ct. 948, 3
Plant Todd Ormon testified that he terminated her             L.Ed.2d 988 (1959) and Dairy Queen, Inc. v. Wood, 369
because of job performance and negative perceptions of        U.S. 469, 472–73, 82 S.Ct. 894, 8 L.Ed.2d 44 (1962). 3
how she treated employees, and that neither the FMLA
or her medical leaves were in his mind when he made the
decision to do so.
                                                                                 E. Court's Decision

                                                              The Court agrees with Plaintiff that pursuant to the
                 D. Carroll's Reply (# 68)                    jury's verdict she is entitled to compensatory damages
                                                              of $25,000.00, and, because Sanderson Farms has not
 *5 Disagreeing that an award of liquidated damages is        submitted any evidence since the trial to demonstrate that
discretionary, Carroll quotes the language of 29 U.S.C. §     it acted in good faith and had reasonable grounds for its
2617(a)(1)(A)(iii) to show that it is mandatory and that      discharge of Carroll, she is entitled to liquidated damages
a court may only exercise discretion to reduce liquidated     equal to the compensatory damages plus prejudgment
damages if the employer establishes that it acted in          interest. The Court agrees that the jury's verdict implies
good faith and with reasonable grounds for believing its      that it rejected Sanderson Farms' explanation that it
conduct did not violate the FMLA: “Any employer who           discharged Carroll because of her poor performance and
violates section 2615 of this title shall be liable ... for   numerous negative comments from employees. Much
damages equal to ... an additional amount as liquidated       of the circumstantial evidence presented by Plaintiff
damages ....” Nero, 167 F.3d at 928–29.                       can be interpreted, as it was by the jury, to question
                                                              Sanderson's articulated reason for firing her and to
                                                              show that Sanderson Farms acted in bad faith and


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unreasonably. Examples include the fact that there was           F.3d 1, 4 (1st Cir.2002). Carroll is a prevailing party in that
not a single document in Carroll's personal file to show         she obtained a judgment in her favor on her retaliation
that she was ever counseled or disciplined for hourly            claim for taking FMLA leave under the FMLA, ADA,
employee complaints about her or that she had any                and TCHRA. Counsel bears the burden of showing the
problems with hourly employees; the timing of her                reasonableness of his fee request and that he exercised
discharge on the day of returning from her medical leave         billing judgment. Saizan v. Delta Concrete Products Co.,
of absence for only a week 4 ; Ormon's claim that he             448 F.3d 795, 799 (5th Cir.2006).
had arranged for a performance improvement plan for
Carroll but canceled it before plaintiff was even informed       “That the plaintiff is a ‘prevailing party’ ... may say
of the employee complaints against her purportedly made          little about whether the expenditure of counsel's time
at the May 2009 anti-union training session and she              was reasonable in relation to the success achieved.”
was never given an opportunity to respond to them;               Hensley, 461 U.S. at 436. Where a plaintiff is only
Director of Organization Development and Corporate               partially successful on her claims, the court must consider
Communications Robin Robinson's deposition testimony             whether the unsuccessful claims were related to the
that individual performance improvement plans are time           successful claims, i.e., whether they were based on the
consuming and expensive for Sanderson Farms and                  same facts or legal theories, in other words, “inextricably
are not provided for employees in trouble or to be               related.”. Hensley, 461 U.S. at 434. Where the plaintiff
terminated; testimony that Ormon made angry comments             is unsuccessful on some of her claims and where the
and exhibited negative conduct each time the issue of            unsuccessful ones have different legal theories and the time
Carroll's FMLA leave came up; and the absence of any             spent on them related only to those unsuccessful ones, a
evidence that Plaintiff had previously taken excessive           reduction in the fee amount is required. Bertrand v. City
leave or was excessively absent. Plaintiff is entitled to        of Lake Charles, No. 2:10–CV–867, 2013 WL 1790089, at
liquidated damages since Sanderson Farms has failed to           *3–4 (W.D.La. Feb.25, 2013), report and recommendation
meet its substantial burden to show that it acted in good        adopted, 2013 WL 1789713 (W.D.La. May 3, 2012). See
faith and reasonably.                                            also McDonnell v. Miller Oil Co., Inc., 134 F.3d 638, 640
                                                                 (4th Cir.1998) (“Even when an award of attorneys' fees is
                                                                 mandatory, the district court may decrease the amount of
                                                                 fees that might otherwise be awarded in order to account
   II. Plaintiffs' Application for Attorney's Fees (# 63)        for the plaintiff's limited success.”).
 *6 Plaintiff requests an award of attorney fees in the
                                                                 The Supreme Court has acknowledged that “there is no
amount of $153,418.
                                                                 certain method of determining when claims are ‘related’
                                                                 or ‘unrelated,’ ” and counsel need not “record in detail
                                                                 how each minute of his time was expended ... [b]ut at
                      A. Relevant Law                            least counsel should identify the general subject matter
                                                                 of his time expenditures.” Hensley, 461 U.S. at 437 n.
The FMLA mandates that “a reasonable attorney's fee,
                                                                 12. Moreover, “ ‘ ‘even where a plaintiff's claims were
reasonable expert witness fees, and other costs of the
                                                                 interrelated, nonfrivolous, and raised in good faith,’ ' ” the
action” be awarded to a prevailing plaintiff. 29 U.S.C. §
                                                                 hourly rate requested may be an excessive amount. Saizan
2617(a)(3). While an award of fees under the FMLA is
                                                                 v. Delta Concrete Products Co., 448 F.3d 795, 801 (5th
nondiscretionary, the court has the discretion to determine
                                                                 Cir.2006), quoting Migis v. Pearle Vision, Inc., 135 F.3d
the amount of the fee. Jordan v. USPS, 379 F.3d 1196,
                                                                 1041, 1048 (5th Cir.1998), quoting Hensley, 461 U.S. at
1277 (10th Cir.2004); Dotson v. Pfizer, Inc., 558 F.3d 284,
                                                                 436. “ ‘When the documentation of hours is inadequate for
303 (4th Cir.2009). A plaintiff is a “prevailing party” when
                                                                 the court to identify those hours spent on prevailing claims
she “ ‘succeed[ ]s on any significant issue in litigation that
                                                                 which are separate and distinct from other claims, the
achieves some of the benefit the parties sought in bringing
                                                                 court may reduce the fee award accordingly.” Bertrand,
suit.’ ” Hensley v. Eckerhart, 461 U.S. 424, 433, 103 S.Ct.
                                                                 2013 WL 1790089 at *4, quoting Von Clark v. Butler, 916
1933, 76 L.Ed.2d 40 (1983), quoting Nadeau v. Helgemoe,
                                                                 F.2d 255, 259 (5th Cir.1990). In accord, Parton v. GTE
581 F.2d 275, 278–79 (1st Cir.1978), overruled in part on
                                                                 North, Inc., 971 F.2d 150, 156 (8th Cir.1992) (“A district
other grounds as explained by Richardson v. Miller, 279


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court may attempt to identify specific hours that should be     Hunting Energy Services, L.P., Civ. A. No. H–04–3411,
eliminated, or it may simply reduce the award to account        2006 WL 2882857, at *2 (S.D.Tex. Oct.4, 2006). Usually
for the limited success.”).                                     the fee applicant establishes the community's reasonable
                                                                rate through the affidavits of other attorneys of similar
 *7 “The initial estimate of a reasonable attorney's fee is     caliber practicing there. Tollett v. City of Kemah, 285 F.3d
properly calculated by multiplying the number of hours          357, 368 (5th Cir.2002); Watkins v. Fordice, 7 F.3d 453,
reasonably expended on the litigation times a reasonable        458 (5th Cir.1993).
hourly rate,” a sum commonly called the “lodestar.”
Blum v. Stenson, 465 U.S. 886, 888, 104 S.Ct. 1541, 79          In addition to the community rate, the district court must
L.Ed.2d 891 (1984). “[T]he fee applicant bears the burden       also consider the attorneys' regular rates. Louisiana Power
of establishing entitlement to an award and documenting         & Light Co. ., 50 F.3d at 328. Generally when an attorney's
the appropriate hours expended and hourly rates. The            requested hourly rate is his customary rate, when it is
applicant ... should maintain billing time records in a         within the range of prevailing market rates, and when the
manner that will enable a reviewing court to identify           rate is not contested, it is viewed as prima facie reasonable.
distinct claims.” There is a strong presumption that the        Id., 50 F.3d at 329. To establish the reasonableness
lodestar is a reasonable fee, and the fee applicant bears the   of his requested rate, the fee applicant should produce
burden of demonstrating that an upward adjustment by            satisfactory evidence beyond his own affidavit “that the
application of the Johnson factors is necessary to calculate    requested rates are in line with those prevailing in the
a reasonable fee. Walker v. Dept. of HUD, 99 F.3d 761, 771      community for similar services by lawyers of reasonably
(5th Cir.1996); Louisiana Power & Light Co. v. Kellstrom,       comparable skill, experience, and reputation.” Blum, 465
50 F.3d 319, 324 (5th Cir.1995), cert denied, 516 U.S. 862,     U.S. at 896 n. 11. Furthermore, the court may exercise
116 S.Ct. 173, 133 L.Ed.2d 113 (1995).                          its own expertise and judgment in making an independent
                                                                valuation of appropriate attorney fees. Davis v. Bd. of
A reasonable hourly rate is that rate in the community for      Sch. Comm'rs of Mobil County, 526 F.2d 865, 868 (5th
such legal services rendered by attorneys of comparable         Cir.1976).
skill, experience, and reputation. Alberti v. Klevenhagen,
896 F.2d 927, 936, vacated in part on other grounds, 903         *8 The court must determine whether the hours
F.2d 352 (5th Cir.1990); Heidtman v. County of El Paso,         expended by the prevailing party's counsel were
171 F.3d 1039, 1043 (5th Cir.1999). A reasonable hourly         “reasonably expended,” both as to the total number of
rate should be in accord with rates “prevailing in the          hours claimed and the specific hours claimed. Condon,
community for similar services by lawyers of reasonably         2006 WL 2882857, at *2, citing Louisiana Power &
comparable skill, experience and reputation.” Blum v.           Light Co., 50 F.3d at 329. The fee applicant bears the
Stenson, 465 U.S. 886, 895–96 n. 11, 104 S.Ct. 1541,            burden of showing that the hours claimed were reasonably
79 L.Ed.2d 891 (1984). “While the hourly rate must be           expended. Hensley, 461 U.S. at 437. Compensable hours,
‘adequate to attract competent counsel,’ the ‘measure is        reasonably spent, are determined from the attorney's
not the rates which lions at the bar may command.’              contemporaneous time or billing records or other
” Coleman v. Houston Independent School District, 202           documentation which the district court must examine and
F.3d 264 (5th Cir.1999) (Table) (available on Westlaw),         discern which hours are compensable and which are not.
citing Leroy v. City of Houston, 906 F.2d 1068, 1079            Hensley, 461 U.S. at 434; Louisiana Power & Light, 50
(5th Cir.1990); Hopwood v. Texas, 236 F.3d 256, 281 (5th        F.3d at 324.
Cir.2000). Furthermore, the relevant legal community
is the one in which the district court sits, no matter          The fee applicant should exercise “billing judgment”
how much of the work is done elsewhere. Green v.                and keep billing time records in a way that enables the
Administrators of Tulane Educational Fund, 284 F.3d 642,        reviewing court can “identify distinct claims.” Hensley,
662 (5th Cir.2002), abrogated on other grounds, Burlington      461 U.S. at 437. See also Gagnon v. United Technisource,
N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 126 S.Ct.          Inc., 607 F.3d 1036, 1044 (5th Cir.2010) (An applicant for
2405, 165 L.Ed.2d 345 (2006). The fee applicant bears           fees must submit documentation, e.g., contemporaneous
the burden of producing evidence that the requested rate        billing records or detailed invoices or affidavits, to permit
is appropriate within the relevant community. Condon v.         the court to identify noncompensable hours and to



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determine an appropriate amount of fees.). Counsel must         F.3d at 279 (25% reduction for lack of billing judgment
“exclude from a fee request hours that are excessive,           and vague and duplicative work); Johnson–Richardson v.
redundant, or otherwise unnecessary ....” Id. See also          Tangipahoa Parish School Bd., Civ. A. No. 12–0140, 2013
Saizan v. Delta Concrete Products Company, 448 F.3d 795,        WL 5671165, at *4 (E.D.La. Oct.15, 2013) (30% reduction
799 (5th Cir.2006) (“[P]laintiffs seeking attorney's fees are   for block billing 5 ), citing Verizon Business Global LLC v.
charged with the burden of showing the reasonableness           Hagan, No. 07–0415, 2010 WL 5056021, at *5 (E.D.La.
of the hours billed and, therefore, are also charged            Oct.22, 2010) (citing cases showing that reductions for
with proving that they exercised billing judgment. Billing      block billing between 15% and 35% have been found
judgment requires documentation of the hours charged            reasonable), vacated on other grounds, 467 Fed. Appx. 312,
and of the hours written off as unproductive, excessive,        2012 WL 1414448 (5th Cir. Apr.24, 2012).
or redundant. The proper remedy for omitting evidence
of billing judgment does not include a denial of fees            *9 In determining what is a reasonable fee, the courts
but, rather, a reduction of the award by a percentage           in the Fifth Circuit must consider the factors set out in
intended to substitute for the exercise of billing judgment.    Johnson v. Georgia Highway Express, Inc., 488 F.2d 714
[footnotes omitted]”). See also Louisiana Power, 50 F.3d        (5th Cir.1974), abrogated on other grounds, Blanchard v.
at 324–25 (“[T]he documentation must be sufficient for          Bergeron, 489 U.S. 87, 109 S.Ct. 939, 103 L.Ed.2d 67
the court to verify that the applicant has met its burden....   (1989) (holding that a fee award under § 1988 should
[A] district court may reduce the number of hours               not be capped by a contingent fee agreement between
awarded if the documentation is vague or incomplete....         the attorney and his client). The twelve Johnson factors
Failing to provide contemporaneous billing statements           are (1) the time and labor required; (2) the novelty and
does not preclude an award of fees per se as long as the        difficulty of the issues; (3) the skill required to perform
evidence produced is adequate to determine reasonable           the legal service adequately; (4) the preclusion of other
hours.”); Saizan, 488 F.3d at 799, 800 (billing judgment        employment by the attorney because he accepted this case;
requires documentation of the hours charged and of              (5) the customary fee for similar work in the community;
the hours written off as duplicative, unproductive or           (6) whether the fee is fixed or contingent; (7) time
excessive; finding the district court did not commit            limitations imposed by the client or the circumstances;
clear error in finding a failure to produce evidence of         (8) the amount involved and the results obtained; (9) the
billing judgment nor abuse its discretion by imposing           experience, reputation, and ability of the attorneys; (10)
a ten percent reduction in the lodestar because of that         the undesirability of the case; (11) the nature and length
failure). “Litigants take their chances when submitting fee     of the professional relationship with the client; and (12)
applications” without adequate information for the court        awards in similar cases. Johnson, 488 F.2d at 717–19.
to determine the reasonableness of the hours expended or
with vaguely described tasks such as “review pleadings,”        While the lodestar is relevant to determining a fee award,
“correspondence,” or documents. Louisiana Power, 50             it is not the sole basis for determining that award; the
F.3d at 327. The “ ‘contemporaneously created time              Johnson factors are applicable to deciding whether the
records [should] specify, for each attorney, the date, the      lodestar is reasonable, as well as to adjusting that award
hours expended, and the nature of the work done.’ ”             by a multiplier once the lodestar is calculated. Abrams
Hilton v. Executive Self Storage Associates, Civ. A. No.        v. Baylor College of Medicine, 805 F.2d 528, 536 (5th
H–06–2744, 2009 WL 1750121 at *10 (S.D.Tex. June 18,            Cir.1986) (“The time and hours spent on a case are
2009), quoting Kirsch v. Fleet St., Ltd., 148 F.3d 149,         a necessary ingredient in determining a fee award, but
173 (2d Cir.1998). When there is no evidence of billing         they should not be the sole basis for determining a
judgment, the appropriate remedy is to reduce the hours         fee. The Johnson factors govern the determination of
awarded by a percentage intended to replace the exercise        reasonableness itself; they are not merely factors to be
of billing judgment. Walker v. U.S. Dep't of Housing and        considered in adjusting the award once the lodestar is
Urban Development, 99 F.3d 761, 770 (5th Cir.1996), citing      calculated.”), citing Johnson v. Georgia Highway Express,
Leroy v. City of Houston, 831 F.2d 576, 586 (5th Cir.1987)      488 F.2d at 717.
(reducing award by 13%) See also Saizan, 448 F.3d at
799–800 & n. 25 (affirming district court's 10% reduction       As noted, based on one or more Johnson factors, the court
for lack of evidence of billing judgment); Hopwood, 236         may apply a multiplier to adjust the lodestar up or down if



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that factor or factors are not already taken into account by    the court should give special heed to the time and labor
the lodestar, itself. Strong, 137 F.3d at 850. An adjustment    involved, the customary fee, the amount involved and the
may only be made if the Johnson factor has not already          result obtained, and the experience, reputation and ability
been accounted for in the lodestar. In re Fender, 12 F.3d       of counsel.” Migis v. Pearle Vision, 135 F.3d 1041, 1047
480, 487 (5th Cir.), cert. denied, 511 U.S. 1143, 114 S.Ct.     (5th Cir.1998), citing Von Clark v. Butler, 916 F.2d 255,
2165, 128 L.Ed.2d 888 (1994); Shipes v. Trinity Indus.,         258 (5th Cir.1990); Saizan v. Delta Concrete Products Co.,
987 F.2d 311, 320 (5th Cir.) (“[T]he district court must be     448 F.3d at 799.
careful ... not to double count a Johnson factor already
considered in calculating the lodestar when it determines       “The most critical factor in determining an attorney's fee
the necessary adjustments.”), cert. denied, 510 U.S. 991,       award is the ‘degree of success obtained.’ “ Singer v. City of
114 S.Ct. 548, 126 L.Ed.2d 450 (1993).                          Waco, Texas, 324 F.3d 1038, 829 (5th Cir, 2003), quoting
                                                                Hensley v. Eckerhart, 461 U.S. 424, 436, 103 S.Ct. 1933,
Four of the Johnson factors are presumably included in          76 L.Ed.2d 40 (1983); Saizan, 448 F.3d at 800 & n. 19.
the lodestar calculation: the novelty and complexity of         “This factor is particularly crucial when, as in this case, a
the issues, the special skill and experience of counsel,        plaintiff is deemed ‘prevailing’ even though he succeeded
the quality of representation, and the results obtained         on only some of his claims.” Jason D.W. by Douglas
from the litigation. Blum v. Stenson, 465 U.S. 886, 898–        W. v. Houston Indep. Sch. Dist., 158 F.3d 205, 209 (5th
99, 104 S.Ct. 1541, 79 L.Ed.2d 891 (1984); Shipes, 987          Cir.1998), citing Hensley, 461 U.S. at 434.
F.2d at 320. 6 “Although upward adjustments of the
lodestar figure based on these factors are still permissible,   In 7B Federal Practice & Procedure Civ.3d § 1803.1
such modifications are proper only in certain rare and          (Database current through 2008), in discussing what
exceptional cases supported by specific evidence on the         factors may be taken into account to adjust a lodestar,
record and detailed findings by the lower courts.” Id.; see     Charles Alan Wright also identified as the most significant
also Walker, 99 F.3d at 771, citing Alberti v. Klevenhagen,     one the benefit (monetary or otherwise) conferred. Wright
896 F.2d 927, 936 (citing Pennsylvania v. Delaware Valley       further observed,
Citizens' Council for Clean Air (“Delaware Valley I”),
                                                                            In addition to the benefit conferred,
478 U.S. 546, 564–65, 106 S.Ct. 3088, 92 L.Ed.2d 439
                                                                            the district court should make
(1986)) (quoting Blum v. Stenson, 465 U.S. 886, 898–
                                                                            a qualitative appraisal of the
900, 104 S.Ct. 1541, 79 L.Ed.2d 891 (1984)); Dehoyos v.
                                                                            petitioning lawyer's professional
Allstate Corp., 240 F.R.D. 269, 323–24 (W.D.Tex.2007).
                                                                            services under each of the categories
The Fifth Circuit has also held that two other factors, time
                                                                            of work reflected in the time records.
limitations imposed by the client or the circumstances and
                                                                            This might include the following
preclusion of other employment, are generally subsumed
                                                                            series of inquiries, First, to what
in the lodestar calculation, too. Shipes, 987 F.3d at
                                                                            extent do the petitioning attorney's
321–22; Heidtman v. City of El Paso, 171 F.3d 1038,
                                                                            credentials and legal experience
1043 (5th Cir.1999). Increasing the fee award based on
                                                                            mark the attorney as someone
the eighth factor (the amount involved and the results
                                                                            above the qualitative medium of
obtained) is only proper when the applicant shows that
                                                                            those of comparable age practicing
“it is customary in the area for attorneys to charge an
                                                                            in the community? Second, what
additional fee above their hourly rates for an exceptional
                                                                            was the quality of the work the
result ....“ Shipes, 987 F.2d at 322. The Shipes panel did
                                                                            attorney actually performed in the
state that “enhancement due to the results obtained may
                                                                            case? Third, how efficient was the
be warranted.” Id. at 321.
                                                                            petitioning attorney in processing
                                                                            the lawsuit? This factor can only be
 *10 To enhance a lodestar, the court “ ‘must explain with
                                                                            considered by a careful examination
a reasonable degree of specificity the findings and reasons
                                                                            of the novelty of the issues presented
upon which the award is based, including an indication
                                                                            by the matter and the lawsuit's
of how each of the Johnson factors was applied.’ “ Id.,
                                                                            overall complexity.... Fourth, what
quoting Shipes, 987 F.2d at 320. “[O]f the Johnson factors,
                                                                            responsibility did the petitioning


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            attorney assume in the development                  Saizan, 448 F.3d at 802–03 (“It remains true that there
            and management of the case? ....                    is no per se proportionality rule. However the District
            All of these factors should help the                Court had ample reason to reduce the fee award, not
            court in evaluating the quality of the              relying solely on the low settlement amount but also
            representation.                                     on Plaintiffs' failure to establish billing judgment and
                                                                inability to prove any element of the case.”). Hernandez
Id.                                                             v. Hill Country Telephone Co-op., Inc., 849 F.2d 139,
                                                                144 (5th Cir.1988) (“There is no per se requirement of
Furthermore, “[i]f more than one attorney is involved, the      proportionality in an award of attorney fees under 42
possibility of duplication of effort along with the proper      U.S.C. § 1988.); Green v. Administrators of Tulane Educ.
utilization of time should be scrutinized. The time of          Fund, 284 F.3d 642, 663 (5th Cir.2002) (“The amount of
two or three lawyers in a courtroom or conference when          damages a plaintiff recovers is only one of many factors
one would do may be obviously discounted.” Abrams,              that a court must consider when calculating an award of
805 F.2d at 535. “[H]ours ... spent in the passive role of      attorneys' fees. An attorney's fee award does not need to be
an observer while other attorneys perform” are usually          commensurate with the actual amount of dollars awarded
not billable. Flowers v. Wiley, 675 F.2d 704, 705 (5th          to the plaintiff.”), overruled on other grounds, Burlington
Cir.1982), quoted in Coleman, 202 F.3d at 264 (Table,           N. v. Santa Fe Ry. v. White, 548 U.S. 53, 126 S.Ct. 2405,
available on Westlaw).                                          165 L.Ed.2d 345 (2006).

 *11 The hourly rate for attorneys should not be applied        Nevertheless the Fifth Circuit has held that in awarding
to clerical, secretarial or administrative work, since these    fees the district court must “give primary consideration
are part of office overhead. Reyes v. Spur Discount Store       to the amount of damages awarded as compared to
No. 4, Civ. A. No. 07–2717, 2007 WL 2571905, *3 & nn.           the amount sought,” particularly where the amount of
19–20 (E.D.La. Aug.31, 2007); Abrams, 805 F.2d at 536           recovery and the amount of attorney's fee awarded are
(court should consider whether the work performed was “         substantially out of proportion. Migis, 135 F.3d at 1048
‘legal work in the strict sense,’ or was merely clerical work   (reversing a fee award where plaintiff originally sought
that happened to be performed by a lawyer.”), quoting           $325,000 in compensatory damages, which was more
Johnson v. Georgia Highway Express, 488 F.2d at 717.            than twenty-six times the $12,233.32 in damages actually
“[I]nvestigation, clerical work, compilation of facts and       awarded by the jury), citing Farrar v. Hobby, 506 U.S.
statistics and other work which can often be accomplished       103, 114, 113 S.Ct. 566, 121 L.Ed.2d 494 (1992) (“Where
by non-lawyers, but which a lawyer may do because he            recovery of private damages is the purpose of ... civil rights
has no other help available ... may command a lesser rate.      litigation, a district court, in fixing fees, is obligated to give
Its dollar value is not enhanced just because a lawyer does     primary consideration to the amount of damages awarded
it.” Id. at 535. Work by paralegals may only be recovered       as compared to the amount sought.”), quoting City of
to the extent that it is similar to that typically performed    Riverside v. Rivera, 477 U.S. 561, 585, 106 S.Ct. 2686, 91
by attorneys; otherwise it is an unrecoverable overhead         L.Ed.2d 466 (1986) (Powell, J., concurring). In Migis the
expense. Coleman, 202 F.3d 264, citing Allen v. United          Fifth Circuit panel held that “the district court abused it
States Steel Corp., 665 F.2d 689, 697 (5th Cir. Unit B          discretion by failing to give adequate consideration to the
1982).                                                          result obtained relative to the fee award, and the result
                                                                obtained relative to the result sought.” 135 F.3d at 1048.
Where the award of attorney's fees is disproportionate
to the amount of damages awarded, that difference by             *12 While the FMLA allows a prevailing plaintiff to
itself does not require a reduction of fees. Proportionality    recover reasonable costs, Federal Rule of Civil Procedure
is a factor that may be considered in deciding the              54(d) “ ‘creates a presumption in favor of awarding
reasonableness of a fee request, but proportionality is         costs.” Coyne–Delany Co., Inc. v. Capital Dev. Bd. of
not necessarily required. City of Riverside v. Rivera,          State of Ill., 717 F.2d 385, 390 (7th Cir., 1983). The costs
477 U.S. 561, 106 S.Ct. 2686, 91 L.Ed.2d 466 (1986);            permitted in an FMLA action are basically the same as for
Hensley, 461 U.S. at 436 (“There is no precise rule             taxable items for a bill of costs under 28 U.S.C. § 1920.
or formula” for determining the reasonableness of the           Alcazar–Anselmo v. City of Chicago, 2011 WL 3236024,
relation between the fee requested and the relief obtained);


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at *8 (N.D.Ill. July 27, 2011), citing Vaccaro v. Custom            when he accepted the case. Although the contingent
                                                                    nature of the fee arrangement may be considered in
Sounds, Inc., No. 3:08–CV–776, 2010 WL 1223907, at *6
                                                                    determining whether to reduce the lodestar, a lodestar
(M.D.Fla. Mar.4, 2010) (award costs under the FLSA
                                                                    enhancement cannot be based on that factor.
using a similar analysis to that used in a motion under §
                                                                    Migis, 135 F.3d at 1057, citing Blanchard v. Bergeron,
1920). The Court must decide if the requested costs are
                                                                    489 U.S. 87, 92, 109 S.Ct. 939, 103 L.Ed.2d 67 (1989),
reasonable and necessary. Id.
                                                                    and Dague, 505 U.S. at 567.
                                                                 Plaintiff's counsel seeks fees for his own services (at a
                                                                 billing rate of $375.00 per hour), his associate Andrew
             B. Plaintiff's Application for Fees                 W. Reed's (currently $150.00 per hour as an associate
                                                                 from August 2010, previously $75.00 per hour as a law
Plaintiff's counsel, G. Scott Fiddler, states that he was
                                                                 clerk from June 2009–May 2010), and his paralegal or
employed on a contingency fee basis and has thus far not
                                                                 legal assistant E. Denise Chatham's ($125.00 per hour).
been paid anything for his work, but he also provides the
                                                                 He claims that these fees are reasonable, even low, based
information for a calculating a lodestar. In an affidavit,
                                                                 on Texas Lawyer's most recent survey of hourly rates in
Ex. 1 to # 63, he describes the contingency fee agreement
                                                                 Houston, Texas.
under which he has represented Plaintiff since December
1, 2009: if the case settled before counsel filed her suit, he
                                                                  *13 To explain his request for a fee award of $153,418,
would recover 33.3%; if collection or settlement occurred
                                                                 counsel attaches his own affidavit (Ex. 1), a resume (Ex.
after the suit was filed, the fee would be 40%; and after
                                                                 A), an article on Texas Lawyer's fee survey (Ex. B),
notice of appeal, the fee would be 45%. # 63, Ex. 1, Affid.
                                                                 his billing records (Ex. C) for work up to the date of
of G. Scott Fiddler.
                                                                 the filing of his fee application, amounting to $130,043,
                                                                 and a Declaration from Houston attorney Peter Costea
This Court concludes that because the United States
                                                                 (Ex.2) stating that the fees requested are reasonable given
Supreme Court has rejected contingency enhancement
                                                                 the qualifications of Fiddler, Reed and Chatham. Ex. 1,
awards in fee-shifting awards and characterized the
                                                                 Fiddler Aff ., p. 3, ¶ 11; Ex. C. Fiddler states,
lodestar analysis as “the guiding light of our fee-shifting
jurisprudence,” and that there is a “strong presumption                      To date, the bill reflects $130,042.50
that the lodestar represents the reasonable fee,” this Court                 in reasonable and necessary
will apply that method here. City of Burlington v. Dague,                    attorney's fees (including paralegal
505 U.S. 557, 562, 112 S.Ct. 2638, 120 L.Ed.2d 449 (1992)                    and law clerk fees), using the
(ruling out contingency enhancements to the lodestar);                       lodestar method. In my opinion,
Perdue v. Kenny A. ex rel. Winn, 599 U.S. 542, 551 (2010)                    Plaintiff will likely file a reply
(the loadstar approach has “ ‘achieved dominance in the                      to Defendant's response to this
federal courts.’ ”). 7 The Fifth Circuit has opined that                     application and will file a response
while a contingent-fee arrangement                                           to the post-trial motion filed by
                                                                             Defendant. [# 1, Fiddler Affid.,
                                                                             p. 4, ¶ 12.] Therefore Plaintiff
  does not automatically limit the fee award, ... ‘[t]he                     will reasonably incur the following
  presence of a pre-existing fee arrangement may aid in                      additional fees for work until the
  determining reasonableness [because] [t]he fee quoted                      filing, if any, of a notice of appeal,
  to the client or the percentage of recovery agreed to is                   totaling $23,375:
  helpful in demonstrating the attorney's fee expectation
 G. Scott Fiddler (Attorney)                                     $375.00/hr. [x] 30 hrs. = $11,250
 Andrew W. Reed (Associate)                                      $150.00/hr. [x] 60 hrs. = $9,000
 E. Denise Chatham (Legal Ass.)                                  $125.00/hr. [x] 25 hrs. = $3,125




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# 63 at p. 6; Fiddler Aff., p. 4, ¶ 12. He does not seek
an upward adjustment from the lodestar amount and                            C. Sanderson Farms' Objections (# 67)
contends that no downward adjustment is warranted.
                                                                   Sanderson Farms highlights the fact that counsel has
Without explaining why, counsel concedes that he did
                                                                   failed to exercise billing judgment. Moreover, the invoices
not drop his claims against Defendants Sanderson Farms,
                                                                   he submitted are largely block-billed, obstructing the
Inc., Sanderson Farms, Inc. (Production Division) and
                                                                   Court's ability to accurately discount hours that were
Sanderson Farms, Inc. (Food Division) until the morning
                                                                   unreasonably billed.
of trial, but maintains that those claims were based on the
same common core of facts and legal theories as Plaintiff's
                                                                   Sanderson Farms also questions Fiddler's hourly rate and
FMLA retaliation claims against Defendant Sanderson
                                                                   states that the State Bar of Texas publishes an “Hourly
Farms, Inc. (Processing Division), as evidenced by the fact
                                                                   Rate Fact Sheet,” relied upon by attorneys and courts
that the initial set of discovery requests for all three was the
                                                                   in Texas: http://www.texasbar.com/AM/T emplate.cfm?
same. Fiddler Aff., p. 4, ¶ 13. He also asserts that the work
                                                                   Section=Demographic_and_EconomicTrends                 &
performed in this case for claims of discrimination under
                                                                   Template=/CM/ContentDisplay.cfm                        &
the ADA and the TCHRA “were so intertwined with the
                                                                   ContentID=20499 (last visited August 5, 2013). # 67,
work on the claim for retaliation under the FMLA that it
                                                                   Ex. 1, Declaration of Mark R. Flora, one of Sanderson
is not practical to attempt to separate them.” # 63 at p.
                                                                   Farm's attorneys. It shows that a reasonable hourly rate
7. As examples he states that the work to establish that
                                                                   for attorneys with Scott Fiddler's years of experience
Carroll was “disabled” under the ADA and TCHRA was
                                                                   practicing employment law in small Houston firms is $275.
the same as establishing that she suffered from a “serious
                                                                   In his application, Mr. Fiddler relies on Texas Lawyer's
medical condition” under the FMLA. He further states
that Plaintiff's FMLA retaliation claim was based on the           rate survey's 9 average hourly rate for an “equity partner”
same core of facts and legal theories as Plaintiff's ADA           in Houston of $388/hour. The magazine does not break
and TCHRA claims and that it would be “difficult, if               down the average rate by practice areas, but includes
not impossible to divide them on a claim-by-claim basis.”          more lucrative areas of legal practice such as mergers and
Id.; Ex. 1 at p. 4. He also claims, without any supporting         acquisitions, antitrust, taxation, and intellectual property;
facts or documents or specificity, “The time spent on              it therefor does not represent the community's rate for
pleading and motion matters pertaining strictly to non-            employment law services as required by Blum, 465 U.S.
FMLA and related causes of action and any work relating            at 896 n. 11. It also does not distinguish rates based on
exclusively to defamation, tortious interference, and/or           firm size; courts recognize that rates at larger firms tend
to the dismissed defendants is essentially de minimis              to be higher than those at smaller firms. Chambless v.
and is more than offset by the time I and my staff                 Masters, Mates & Pilots Pension Plan, 885 F.2d 1053,
worked on the case and never billed,” and he estimates             1058–59 (2d Cir.1989) (Case law does not compel “district
“that lost time to be at least 22 hours.” Ex. 1 at p. 4.           courts to assign the same hourly rate to every law
Counsel further maintains, “Because of the intricacies of          firm in the city .... [S]everal market rates may prevail
employment discrimination law, including United States             in a given area.”); Wilcox v. Sisson, No. Civ. A. 02–
Supreme Court opinions issued in June 2013 in Univ. of             1455(RMC), 2006 WL 1443981, at *2 (D.D.C. May 25,
Tex. Sw. Med. Ctr. v. Nassar, ––– U.S. ––––, 33 S.Ct. 2517         2006) (“The market generally accepts higher rates from
(2013) [sic ], this case required more skill than the ordinary     attorneys at firms with more than 100 lawyers than
                                                                   those at smaller firms-presumably because of their greater
wrongful discharge case.” Id. at 5. 8
                                                                   resources and investments, such as attorneys, librarians,
                                                                   researchers, support staff, information technology, and
 *14 In addition counsel seeks a conditional award of
                                                                   litigation services.”); Murray ex rel. Murray v. Mills, 354
attorney's fees in the event of an appeal: (1) prevailing in
                                                                   F.Supp.2d 231, 236 (E.D.N.Y.2005) (noting that hourly
appeal, $75,000; (2) prevailing in petition for certiorari to
                                                                   rates tend to be higher at larger firms to compensate for
the Supreme Court, $20,000; and (3) prevailing in appeal
                                                                   higher overhead costs).
before the Supreme Court, $75,000.

                                                                   Finally, the key factor in a fee award is the degree of
                                                                   success obtained by the plaintiff. Farrar v. Hobby, 506


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U.S. 103, 114, 113 S.Ct. 566, 121 L.Ed.2d 494 (1992). In        must be adjusted substantially downward given his limited
Hensley, the Supreme Court opined, if                           success.

            a plaintiff has achieved only partial               Sanderson Farms points out that Plaintiff's Amended
            or limited success, the product                     Complaint asserted six causes of action (FMLA
            of hours reasonably expended on                     interference, FMLA retaliation, ADA discrimination,
            the litigation as a whole times a                   TCHRA discrimination, defamation, and tortious
            reasonable hourly rate may be an                    interference), but she prevailed only on one, the FMLA
            excessive amount. This will be true                 retaliation claim. She also sought between $109,180 and
            even where the plaintiff's claims
                                                                $474,068.32 in lost wages and benefits, 10 approximately
            were interrelated, nonfrivolous, and
                                                                $300,000 in non-economic compensatory damages, and at
            raised in good faith. Congress
                                                                least $300,000 in punitive damages, for a total amount
            has not authorized an award of
                                                                between $709,280 and $1,074,068.32. The jury awarded
            fees whenever it was reasonable
                                                                her only $25,000, just 2.3% to 3.5% of the total amount
            for a plaintiff to bring a lawsuit
                                                                that she sought. In other words, Carroll sought over
            or whenever conscientious counsel
                                                                twenty-eight times the damages actually awarded to her.
            tried the case with devotion and
                                                                Furthermore Plaintiff requests fees in an amount about
            skill. Again the most critical factor is
                                                                6.14 times the size of the jury award. The Fifth Circuit
            the degree of success obtained.
                                                                struck down similar ratios in Migis and reduced the
 *15 Hensley, 461 U.S. at 436. The Fifth Circuit requires       award where the plaintiff “sought over twenty-six times
the district court to consider “whether the plaintiff failed    the damages actually awarded” and the “attorney's fee
on alternative claims and whether the award is excessive in     award was over six and one-half times the amount of
light of the plaintiff's overall level of success.” Romaguera   damages awarded.” 135 F.3d at 1048. 11 Although the
v. Gergenheimer, 162 F.3d 893, 896 (5th Cir.1998). See also     district court in Migis had reduced the lodestar amount
Migis, 135 F.3d at 1047 (“ ‘[T]he most critical factor’ in      that it calculated by ten percent based on the results it
determining the reasonableness of a fee award in a civil        achieved, the Fifth Circuit found that it did not give
rights suit ‘is the degree of success obtained.’ ”).            sufficient consideration to the “degree of [monetary]
                                                                success obtained,” that the “ratios are simply too large
In Migis the fees awarded were more than 6.5 times the          to allow the fee award to stand.” The panel reversed the
amount of damages awarded, which the Fifth Circuit              district court's fee award and remanded the issue. 135 F.3d
found to be unreasonable. It reversed and remanded,             at 1048. In the instant case, Sanderson Farms suggests a
ruling, “Regardless of the effort and ability of her lawyers,   50% reduction of the lodestar amount as appropriate.
we conclude that these ratios are simply too large to
allow the fee award to stand. We hold that the district          *16 Sanderson Farms also objects to counsel's failure to
court abused its discretion by failing to give adequate         exercise billing judgment and distinguish hours that are
consideration to the results obtained relative to the fee       insufficiently described, duplicative, clerical, and block-
award and the result obtained relative to the results           billed, notes the lack of documentation that it did so, and
sought.” Id. See also Jason D.W. v. Houston I.S.D., 158         urges the court to look for duplication of effort, improper
F.3d 205 (5th Cir.1998) (per curiam ) (where plaintiff          use of the lawyer's time, and differentiation of legal work
prevailed on three of nineteen issues, but did not prevail      traditionally performed by attorneys and clerical work. It
on an issue upon which the parties spent over 50% of            points out that Fiddler's affidavit does not show that he
their time, the Fifth Circuit affirmed the district court's     or any other attorney exercised billing judgment regarding
reduction of fees by 75%); Dodge v. Hunt Petrol Corp., 174      the Application for Attorney's Fees. Nor do the invoices
F.Supp.2d 505 (N.D.Tex.2001) (where plaintiff prevailed         demonstrate the exercise of billing judgment in their use of
on one of two claims, court reduced fee request by 75%);        vague descriptions in entries such as “trial preparation” or
Hilton v. Executive Self Storage Assoc., Inc., Civ. A. H–       “prepare for deposition,” which appear a number of times
06–2744, 2009 WL 1750121, at *14–16 (S.D.Tex. June 18,          in the invoices submitted. Louisiana Power & Light Co.,
2009) (court reduced fees by 67% for limited success in an      50 F.3d at 326 (“The district court may properly reduce
FLSA case). Sanderson Farms argues that counsel's fees          or eliminate hours when the supporting documentation


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is too vague to permit meaningful review,” e.g., citing                      paralegal; review records request;
cases that have done so for not identifying the subject                      review emails from opposing
matter or what was done, using entries such as “legal                        counsel; begin preparing cross
research,” “trial preparation,” and “met with client.”);                     examination of T Ormon; review
Von Clark v. Butler, 916 F.2d 255, 259 n. 6 (5th Cir.1990);                  documents to finish compiling
Wright v. Blythe–Nelson, Civ. A. 3:99CV2522–D, 2004                          exhibit list; review draft of
WL 2870082 (N.D.Tex. Dec.13, 2004); Nassar v. Univ.                          Trial Memorandum-make revisions;
of Tex. Sw. Med. Ctr., No. 3:08–CV–1337–B, 2010 WL                           review revisions to JPO, make
3000877, at *4 (N.D.Tex. July 27, 2010) (“Court has                          revisions; email opposing counsel;
the discretion to reduce or eliminate those hours” using                     conference with associate; review,
conclusory phrases). Moreover, many time entries do                          revise    and     finalize   Witness
not provide sufficient detail for the court to determine                     List, Plaintiff's Proposed Jury
if they were reasonable and necessary, e.g., “research                       Instructions, etc[.], Voir Dire, Trial
and review of cases,” “library research,” “analyzing                         Memorandum, Joint Pretrial Order,
documents,” “reading background documents,” “phone                           email opposing counsel.
interviews,” “revise memorandum,” “review documents,”
and “correspondence,” all of which courts have held to            The Court cannot determine how much time is reasonable
be inadequate. See, e.g., League of United Latin Am.              when an entry includes both compensable and non-
Citizens No. 4552 v. Roscoe I.S.D., 119 F.3d 1228, 1233           compensable tasks. For instance, in an entry for 2.6
(5th Cir.1997); Walker, 99 F.3d at 773; Louisiana Power,          hours clerical work performed by counsel on August 28,
50 F.3d at 326. Sanderson Farms notes that Fiddler                2010 he stated, “Review TWC–CRD Notice of Right
made duplicative entries on December 2, 2011 (“Draft              to Sue; research; review, revise and finalize Complaint;
additional requests” for discovery (# 63, Ex. C at 36))           e-file complaint.” Time spent e-filing the complaint is
and on May 14, 2013 (to review medical records and                clerical and cannot be reasonably billed to a client; time
conference with paralegal (# 63, Ex. C at 56)). Attorneys         spent on “research” without specification should not
Fiddler and Reed both billed for attorney conferences on          be included in the lodestar; time spent reviewing and
November 16, 2011, October 4, 2011, and July 3, 2013.             revising the complaint is reasonable and compensable.
“The billing judgment rule does not permit the plaintiffs         The block billing, however, prevents the Court from being
to bill for both attorneys' participation in an attorney-to-      able to separate the tasks and determine the appropriate
attorney conference. Hilton, 2009 WL 1750121, at *11.             reasonable number of hours. The proper remedy for such
“If there is no evidence of billing judgment, ... the proper      vague block billing is an across-the-board reduction in
remedy is not a denial of fees, but a reduction of ‘the hours     the attorney's hours. Hensley, 461 U.S. at 433 (“Where
awarded by a percentage intended to substitute for the            documentation of hours is inadequate, the district court
exercise of billing judgment.’ ” Walker v. City of Mesquite,      may reduce the award accordingly.”); Role Models Am.,
Texas, 313 F.3d 246, 251 (5th Cir.2002); Saizan, 448 F.3d         Inc. v. Brownlee, 353 F.3d 962, 973 (D.C.Cir.2004) (“In
at 799. Sanderson Farms further urges the Court that              view of all this inadequate documentation, failure to
because Plaintiff's attorney sued Sanderson Farms three           justify the number of hours sought, inconsistencies, and
times in the last three years, without specificity in counsel's   improper billing entries-we will allow reimbursement
entries the Court cannot be sure that the fees sought here        for only fifty percent of the attorney hours that Role
were necessary and reasonable for the prosecution of this         Models requests.”); Sun Trust Mortgage, Inc. v. AIG
case as opposed to that of the other unsuccessful actions.        United Guar. Corp., 3:09CV529, 2013 WL 870093 at *14
                                                                  (E.D.Va. Mar.7, 2013) (20% time reduction “for block
 *17 Sanderson Farms also complains that most of                  billing and for the inconsistent time descriptions”); EEOC
Plaintiff's entries are block billed, setting out multiple        v. AutoZone Inc., CIV. A. 10–11648–WGY, 2013 SL
tasks for each period of time billed. For example (# 63–1         1277873, at *8 (D.Mass. Mar. 29, 2013) (“twenty percent
at 53), on May 6, 2013 Fiddler entered the following for          global reduction” to lodestar for block billing).
five hours and forty-five minutes:
                                                                  Sanderson contends that courts regularly reduce
            Review        medical    release                      compensable hours by 10–15% for a lack of billing
            authorization; conference with                        judgment. They also reduce compensable hours by up


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to 20% when entry descriptions are block billed. Both           that no fee-paying client would consider appropriate:
circumstances exist here, so Sanderson Farms requests           references to calendaring deadlines and reminds, Bates
that the Court reduce the number of hours billed by             stamping documents, communicating with Court staff
Fiddler and Reed by 20%.                                        and vendors (court reporters, etc.), reviewing Court-
                                                                generated notices and orders, preparing documents for
Sanderson Farms also questions whether the work                 filing/filing documents with the Court, reviewing emails
performed by Fiddler's legal assistant, Denise Chatham,         or correspondence without an apparent legal purpose.
was legal or clerical. The Supreme Court has held that          Sanderson Farms identifies the dates of such entries in
regarding paralegal hours, the court must differentiate         # 63–1, Ex. C.; # 67 at p. 22–23 & nn. 7–11. Sanderson
between tasks that are usually included in an attorney's        Farms also charges that Chatham's time entries indicate
hourly rate as overhead and tasks usually billed separately     a lack of billing judgment and most are block billed.
at market rates to a fee-paying client. Missouri v. Jenkins,    Because courts have held that the costs of clerical work
491 U.S. 274, 285–86, 109 S.Ct. 2463, 105 L.Ed.2d               performed by staff members constitute an “overhead cost”
229 (1989) (addressing attorney's fees under fee-shifting       built into the attorney's hourly rates and a separate charge
42 U.S.C. § 1988) (reasonable attorney's fee “should            for their staff's clerical time would be an unreasonable
compensate the work of paralegals, as well as that of           double recovery and because the vast majority of her
attorneys”). Only tasks of a paralegal billed separately at     recorded time was spent on clerical tasks, insufficiently
market rates to a fee-paying client qualify for inclusion       described, and/or block billed, Sanderson Farms urges the
in a fee award, rather than their cost to the attorney.         Court to reduce her time by 75%.
See Vela v. City of Houston, 276 F.3d 659, 681 (5th
Cir.2001) (“Paralegal work can only be recovered as             Sanderson Farms further asks the Court to deny counsel's
attorney's fees if the work is legal rather than clerical.”).   request for conditional fees for possible appeals. If there
Thus Chatham's work can be recovered “only to the               should be an appeal and Plaintiff prevails and requests a
extent that [she] performs work traditionally done by           fee award for services relating to the appeal and the Fifth
an attorney. Otherwise [legal assistant] expenses are           Circuit agrees, “the Fifth Circuit remands the appropriate
separately unrecoverable overhead expenses.” Allen v.           fee determination to the district court once the claim for
U.S. Steel Corp., 665 F.2d 689, 697 (5th Cir.1982). The         fees is ripe for adjudication.” Watkins v. Input/Output,
court in Au v. Funding Grp. ., Inc., 933 F.Supp.2d 1264,        Inc., 531 F.Supp.2d 777, 786 (S.D.Tex.2007). Any award
1276 (D.Haw. Mar.21, 2013), compiled a nonexhaustive            for appellate fees at this stage would be speculative and
list of ministerial, non-compensable tasks:                     likely subject to challenge, thus undermining judicial
                                                                economy.
             *18 reviewing Court-generated
            notices; scheduling dates and                       In sum, Sanderson Farms urges the Court to reduce
            deadlines; calendaring dates and                    counsel's hours by 20% from 214 hours to 171 hours, his
            deadlines; notifying a client of dates              hourly rate from $375.00 to $275.00, for a total amount of
            and deadlines; preparing documents                  $47,000, rather than the $80,000 he requested. Similarly,
            for filing with the Court; informing                Andrew Reed's hours by 20%, from the requested 173
            a client that a document has                        to 138, for a total award of $20,700 instead of the
            been filed; personally delivering                   $26,000 requested. It asks the court to reduce Chatham's
            documents; bates stamping and                       compensable hours by 75%, from the 192 hours requested
            other labeling of documents;                        to approximately 48, for a total of $6,000 instead of the
            maintaining and pulling files;                      $24,000 requested. Once the totals are added, Sanderson's
            copying, printing, and scanning                     Farm's proposed lodestar of $73,7000 rather than the
            documents; receiving, downloading,
                                                                $130,000 requested, 12 it seeks a 50% reduction for lack of
            and emailing documents; and
                                                                success on all but the FMLA retaliation claim, for a total
            communicating with Court staff.
                                                                attorney fee award of $36,850.

Sanderson Farms argues that the vast majority of
time entries for Chatham are non-legal, clerical tasks



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                                                                 to settle the case, first for $50,000 and subsequently for
                                                                 $97,500, and now seeks to limit her award.
                  Plaintiff's Reply (# 69)

 *19 Insisting that counsel's lodestar calculation               Carroll argues that the Johnson factors do not warrant
is presumptively reasonable, Plaintiff argues that               a downward adjustment here because success at trial is
Defendant's designated expert, Mark Flora, has not               only one factor in deciding if the time spent on the case
stated in his Declaration that Fiddler's regular hourly          was necessary. Furthermore, without specifying which,
rate of $375.00 is unreasonable, or that the number of           she maintains any downward adjustment is more than
hours spent on the case were unnecessary or excessive,           offset by factors meriting an upward adjustment.
or that Flora is familiar with the rates in Houston
since he is from Austin, and she asks the Court to               Carroll contends that the “allegations of vague entries,
                        13                                       block billing, and billing judgment are exaggerated and
strike the Declaration. Plaintiff continues that because
                                                                 overblown and ignore the fact that such issues go to the
Defendant has not provided any controverting evidence,
                                                                 necessity of the time spent on the case, a fact on which
the affidavits of Plaintiff's two experts (Fiddler and
Costea, another experienced employment law attorney              Defendant has failed to offer any evidence.” 16 # 69 at
practicing in the Southern District of Texas) that $375.00       p. 2. Carroll claims that Sanderson Farms' objections
per hour is a reasonable rate and lower than the average         to the fee award requested for paralegal Chatham are
                                                                 unsupported by evidence and misstate the nature of the
rate of $388 per hour, should be accepted as true. 14
                                                                 work she performed. She also argues that conditional
Fiddler emphasizes that he is an equity partner in his
                                                                 appellate fees should be awarded now because Sanderson
firm, not an associate. Carroll insists that Defendant's
                                                                 Farm has refused to make a settlement offer and should be
proposed reduction of fees to 24% of what counsel sought
                                                                 given notice that “if it attempts to appeal from this clean
is not supported by the evidence. Defendant also ignores
                                                                 and fair trial, it will not be able to use its vast financial
the more than $23,000 in fees being incurred in post-
                                                                 resources to grind Plaintiff into submission by further
trial motions when it claims that she is seeking only
                                                                 delaying resolution of the case with a frivolous appeal.” #
$130,000 in fees and imposes its reduction on that figure.
                                                                 69 at p. 2. She adds that the appellate fees request is also
Carroll also complains that Sanderson Farms manipulates
                                                                 “completely unrefuted and uncontroverted and should be
the amount of damages that she sought in order to
                                                                 awarded, conditionally, in their entirety.” Id.
create a larger disparity compared with the amount she
recovered; it claims that Carroll sought $474,068.32 in
                                                                  *20 Regarding Sanderson Farms' reliance on the State
compensatory damages (# 67, p. 9), as stated in the First
                                                                 Bar of Texas' “Hourly Rate Fact Sheet,” counsel
Supplemental Initial Disclosures, filed February 17, 2011,
                                                                 emphasizes that (1) he is double board certified by
when she was at a job earning much less than she made
                                                                 the Texas Board of Legal Specialization in Labor and
at Sanderson Farms and therefore included $398,199 in
                                                                 Employment Law and Civil Trial law, a status shared by
potential front pay damages (# 17, p. 3). Once she started
                                                                 only approximately twenty-five of the 90,000 attorneys
earning more money, she amended her disclosure to
indicate that she was not seeking front pay damages (# 46,       in Texas 17 ; he has been selected to the Texas “Super
                                                                 Lawyers” every year since 2007, selected to “Super
Plaintiff's Fifth Supplemental Initial Disclosure at p. 3). 15
                                                                 Lawyers” top 100 attorneys in Houston in 2012, and
Sanderson Farms took Carroll's disclosures that she was
                                                                 named to H Texas Magazine's “Top Lawyers” list every
seeking $300,000 in compensatory damages and $300,000
                                                                 year since 2008; and he has served as the Chair of the
in punitive damages for a total of $600,000 when its
                                                                 Houston Bar Association Labor and Employment Section
attorneys knew that the ADA and the TCHRA had caps
                                                                 during the 2011–12 term. An attorney's worth or skill
of $300,000 on what Plaintiff can recover from Sanderson
                                                                 does not depend on the number of attorneys in his firm,
Farms, in compensatory, nonpecuniary, and punitive
                                                                 he argues. Moreover Fiddler states that he is an equity
damages under each statute. 42 U.S.C. § 1981a(b) and Tex.
                                                                 partner in his firm, not an associate.
Labor Code § 21.2585(d)(4). Thus Sanderson erroneously
uses the number of $1,074.068. She also complains that
                                                                 Fiddler summarily contends that he and his staff were
Sanderson Farms' attorney failed to respond to her efforts
                                                                 precluded from working on other cases by the work on
                                                                 this case.


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                                                                   *21 Counsel did not drop Plaintiff's claims against
He also objects to Sanderson Farm's objections to the             Defendants Sanderson Farms, Inc., Sanderson Farms,
vagueness of Fiddler's billing entries, even though there         Inc. (Production Division) and Sanderson Farms, Inc.
is substantial case law supporting Sanderson's arguments.         (Food Division), which were not her employers, until
He charges that Sanderson Farms is impugning the                  the morning of the first day of trial, July 12, 2013,
integrity of his firm. He complains if Sanderson Farm's           almost three years after filing his suit, and then without
complaints of double billing, even though the Court notes         explanation or excuse for his lengthy delay. His conduct
that it is Fiddler's obligation to identify the billing entries   hardly constitutes efficient processing of this litigation.
sufficiently that the subject matter can be distinguished.        Moreover, the only one of Plaintiff's claims that survived
Fiddler objects to the 75% reduction of Chatham's fees,           to go to trial and on which Plaintiff prevailed was her
summarizing the services she performed and her nineteen           claim of retaliation for taking FMLA leave under the
years of experience as a legal assistant.                         FMLA, ADA, and TCHRA against Sanderson Farms,
                                                                  Inc. (Processing Division).
Without identifying any of the factors that went into
the courts' determination, Fiddler cites a couple of cases        Several of Carroll's claims failed as a matter of law because
giving high fee awards in employment discrimination cases         they are not legally cognizable or because Plaintiff failed
to argue that his request is in line with others and is “in       to present sufficient evidence to raise genuine issues of
fact quite modest.” # 69 at p. 20. He further contends that       fact about them on summary judgment. These claims are
reducing his fee award by over 75% would have a severe            not based on the same facts or legal theories, i.e., are not
chilling effect on attorneys' taking civil rights cases on a      inextricably related, to the claim on which she prevailed.
contingency fee.
                                                                  First, in the Court's lengthy November 5, 2012 Opinion
                                                                  and Order of Partial Summary Judgment (# 42), it
                                                                  determined as a matter of law that under the federal
                      Court's Decision
                                                                  statutes Plaintiff's post-termination retaliation claim that
As noted, as a matter of law the most important                   Ormon refused to give her a reference for prospective
factor in an award of attorney's fees is the degree of            employment, specifically with the City of Houston, failed
success. Initially in Carroll's complaint filed on August         as a matter of law because she did not timely exhaust her
28, 2010 and her First Amended Complaint (# 3) filed              administrative remedies as to that claim. # 42 at pp. 55–56.
a few day later, Plaintiff sued Sanderson Farms, Inc.,
Sanderson Farms, Inc. (Production Division), Sanderson            The Court further concluded that Carroll's FMLA claim
Farms, Inc. (Processing Division) and Sanderson Farms,            that she was not restored to the same job or an equivalent
Inc. (Food Division) for (1) violations of the FMLA,              position in violation of 29 U.S.C. § 2614 after returning
i.e., interfering with her rights under the statute, and          from leave failed because she was discharged immediately
retaliating against her by failing to restore her to              upon her return. # 42 at pp. 54–55.
the same job she had before taking leave, terminating
her, and interfering with her attempts to find a new              As discussed # 42 at pp. 49–51, Plaintiff has not and
job after termination; (2) violation of the Americans             could not state or could not avoid summary judgment on
with Disability Act, i.e ., discriminating against her            Texas common-law claims for defamation and tortious
by terminating her because of her knee problems                   interference on the grounds that Sanderson Farms (and/
(disability, “regarded as” disability, and/or record of           or Todd Orman) refused to provide a reference to a
disability); (3) violations of the Texas Commission               prospective employer or that Sanderson Farms (and/or
on Human Rights Act because of her disability,                    Todd Orman) gave a negative reference. Under Texas
“regarded as” disability, and/or record of disability; (4)        law a former employer is not required to provide job-
defamation after her termination in preventing her from           related information to a prospective employer, but if he
obtaining other employment; and (5) tortious interference         does, he has immunity from civil liability unless the former
with prospective contract/employment and/or business              employee shows with clear and convincing evidence that
relations after her termination. # 1, Complaint.                  the former employer provided information about a former
                                                                  employee that the employer knew was false or made



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with malice and reckless disregard for the truth. Carroll          that the hours billed are reasonable. Hensley, 461 U.S.
failed to make such a showing in response to Defendant's           at 427; Saizan, 448 F.3d at 799. With regard to hourly
motion for summary judgment. Counsel's conclusory                  fees in the community for services rendered by attorneys
statement that “[t]ime spent on pleading and motion                of comparable skill, experience and reputation, the Court
matters pertaining strictly to non-FMLA and related                agrees with Sanderson Farms that Fiddler's request is high
causes of action and any work relating exclusively to              for a firm the size of his and that the State Bar of Texas'
defamation, tortious interference, and/or to the dismissed         Hourly Rate Fact Sheet” is a more specific measure of fees
defendants is essentially de minimis and is more than offset       for employment law legal specialists in the Houston area
by the time I and my staff worked on the case and never            than is the very general Texas Lawyer survey.
billed,” is an ineffectual and futile effort to conceal the fact
that it is his burden to expressly exercise billing judgment       While he claims his expertise and achievements warrant
in written records, which, as Sanderson Farms points out,          the higher fee, this Court did not find that the quality of
he has completely failed to satisfy. Nor are these Texas           his performance throughout the trial supports so high a
state-law claims in any way intertwined with the legal             fee. That Carroll, who in essence was the head Human
theories and facts of the federal statutory discrimination         Resource person at Sanderson Farms' Waco plant, was
claims.                                                            awarded only $25,000 (when Plaintiff sought at trial for
                                                                   over $100,000) in back pay for what the jury found was a
 *22 Based on Plaintiff's failure to prevail on these claims       retaliatory discharge reflects, at least in part, that counsel
the Court finds that counsel's fee award shall be reduced          was not very effective.
by 20%.
                                                                   Moreover, as noted, usually the fee applicant establishes
The Court disagrees with counsel's assertion that this             a community's reasonable rate through the affidavits of
case required “more skill than the ordinary wrongful               other attorneys practicing there. Mr. Fiddler submitted
discharge case” because of “the intricacies of employment          two affidavits: one is his own, self-serving affidavit; the
discrimination law, including ... Nassar.” This Court              other from Peter Costea, who the record shows graduated
has addressed the inapplicability of Nassar to this case           from the same law school in the class as Mr. Fiddler and
at length in footnote 8, and finds that counsel, as an             who public records show over the years has worked with
attorney specializing in employment law and requesting             Mr. Fiddler. See, e.g., Persons v. Jack in the Box, Inc.,
as substantial a fee, should have known it. Moreover, the          Civ. A. H–03–4501, 2006 WL 846356, (S.D.Tex. Mar.31,
Court finds that this case was clearly not complicated or          2006). The Court cannot accord these affidavits as much
novel, nor was the applicable law complex, but the issues          weight as it would to independent, objective attorney's
were essentially questions of credibility.                         affidavits.

Although counsel argues that Carroll's claims of disability         *23 Furthermore, a review of the invoices submitted
discrimination based on her knee problems under the                by counsel ((# 63–1, Ex. C) demonstrates that counsel
FMLA, the ADA, and the ADA were intertwined and                    has completely failed to demonstrate that he exercised
based on a common core of fact, he did not have to spend           billing judgment. Furthermore the majority of his entries
significant time on briefing that issue because Sanderson          are vague, failing to identify the nature and subject
Farms did not argue that the condition of her knee                 matter of the work, therefore preventing the Court from
failed to satisfy the requirements for a disability under          determining whether the hours were reasonably expended
the FMLA, ADA, and TCHRA, nor did it deny Carroll                  on the claims on which Carroll prevailed. The Court
FMLA leave based on that injury.                                   agrees with Sanderson Farms that it is unclear whether
                                                                   Chatham's fees are for clerical work or legal work.
The Court next addresses whether counsel's requested
hourly fee of $375, plus lesser sums for his associate and         In addition, regarding the eighth Johnson factor, the
legal assistant's services, for the hours the three expended,      amount requested for fees is substantially out of
plus an estimated $23,375 more for services since his filed        proportion to the amount of damages sought for two
his application, for total of $153,418, were reasonable; as        and a half years, up to the eve of the trial setting at
noted, Plaintiff's attorney bears the burden of showing            that time, i.e., May 17, 2013. Migis v. Pearle Vision,



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Inc., 135 F.3d 1041, 1048 (1998). In her Initial Disclosure         (S.D.Tex. June 25, 2013); Edwards v. Aaron Rents, Inc.,
                                                                    482 F.Supp.2d 803, 814 (W.D.Tex.2006). Plaintiff can
(# 14 at p. 3), filed November 11, 2010, Carroll sought
                                                                    apply to the Fifth Circuit for such a fee award if and when
Back Pay Damages in the amount of # 64,790.24, and
                                                                    appropriate. Gagnon, 607 F.3d at 1045.
Front Pay Damages in the amount of $398,199.00. In
her First Supplemental Initial Disclosures (# 17 at p. 3),
                                                                    Based on all these deficiencies, the Court finds that
filed February 17, 2011 she sought back pay of $75,869.32
                                                                    Plaintiff's fee request should be reduced by another 30%,
and front pay in the amount of $398,199.00. She did not
                                                                    for a total reduction of the fee award by 50%. Thus the
abandon her claim until May 2, 2013. See footnote 15.
                                                                    Court awards $76,709.00 in fees to Plaintiff.
While Fiddler accuses Sanderson Farm of manipulative
tactics, it appears to the Court that the shoe fits his own
                                                                    Because Plaintiff has not yet moved for costs, the Court
foot.
                                                                    does not award them here, and counsel may seek them
                                                                    after entry of judgment.
Although beyond the $130,043 requested for work up to
filing of his fee application, Fiddler requests an additional,
                                                                    Accordingly, the Court
but speculative, $23,375 in fees for subsequent work after,
he has not submitted any additional time records or other
                                                                    ORDERS that Plaintiff's motion for judgment (# 62)
documentation to support his request.
                                                                    is GRANTED as to compensatory and liquidated
                                                                    damages and prejudgment and post-judgment interest, as
Because an award under the FMLA is only for a
                                                                    indicated. Plaintiff's application for attorney's fees (# 63)
prevailing party and the Court cannot know if Plaintiff
                                                                    is GRANTED IN PART as explained in this order. Final
will prevail above and because the request for conditional
                                                                    judgment shall issue by separate instrument.
appellate attorney fees is merely a speculative dollar
figure without any information by which the Court could
determine whether the amount requested is reasonable,               All Citations
the Court denies counsel's request for such an award
without prejudice. Preston Exploration Co., L.P. v. GSP,            Not Reported in F.Supp.3d, 2014 WL 549380
LLC, No. Civ. A. H–08–3341, 2013 WL 3229678, at *12


Footnotes
1      The FMLA does not set out a specific rate but requires that prejudgment interest on compensatory damages be calculated
       at “the prevailing rate.” 29 U.S.C. § 2617(a)(1)(A)(ii). The Court observes that 3.25% is the federal prime rate and an
       appropriate rate for an FMLA case. See. e.g., E.E.O.C. v. Service Temps, No. 3:08–CV–1552–D, 2010 WL 5108733, at
       *6 (N.D.Tex. Dec.9, 2010), aff'd, 679 F.3d 323 (5th Cir.2012); see also Gutierrez v. Grant County, No. CV–10–48–LRS,
       2011 WL 5279017, at *2 (E.D.Wash. Nov.2, 2011) (applying a 3.25% interest rate from the date of plaintiff's termination
       to the date of final judgment); Neel v. Mid–Atlantic of Fairfield, LLC, No. SAG–10–CV–405, 2012 WL 3264965, at *12
       (D.Md. Aug.9, 2012). Sanderson Farms has not objected to this rate nor suggested an alternative. Id. “ ‘Setting the rate
       of interest on a judgment is within the broad discretion of the district court.’ ” Id., quoting Miles–Hickman v. David Powers
       Homes, Inc., Civ. A. No. H–07–0754, 2009 WL 1797872, at *1 (S.D.Tex. June 24, 2009), citing United States v. Cent.
       Gulf Lines, Inc., 974 F.2d 621, 630 (5th Cir.1992).
2      The court should calculate prejudgment interest on back pay and past damages beginning on the date of the adverse
       employment action. Thomas v. Tex. Dep't of Criminal Justice, 297 F.3d 361, 372 (5th Cir.2002).
3      In accord, Hometown Folks, LLC v. S & B Wilson, Inc., No. 1:06–cv–81, 2008 WL 918519, at *4 (E.D.Tenn. Apr.3, 2008),
       aff'd, 643 F.3d 520 (6th Cir.2011); Case v. Graduate Medical Educ. Inc., No. 1:09–cv–897, 2010 WL 1744888, at *1
       (W.D.Mich. Apr.28, 2010). The Tenth Circuit explained in Ag. Servs. of America, Inc. v. Nielsen, 231 F.3d 727, 730 (10th
       Cir.2000),
                      “The strictures of the Seventh Amendment are particularly applicable in a case where, due to
                      the presence of both equitable and legal issues, trial is both to the jury and to the court. In such
                      a situation, when a case involves both a jury trial and a bench trial, any essential factual issues
                      which are central to both must first be tried to the jury, so that the litigants' Seventh Amendment




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                     jury trial rights are not foreclosed on common factual issues. Moreover, the court is bound by
                     the jury's determination of factual issues common to both the legal and equitable claims.”
         Diffee Ford, 298 F.3d at 965, quoting Ag. Servs. of America, 231 F.3d at 730, and Brinkman v. Dep't of Corrections,
         21 F.3d 370, 372–73 (10th Cir.) (“ ‘We have held that when fact issues central to a claim are decided by a jury upon
         evidence that would justify its conclusion, the Seventh Amendment right to a jury trial prohibits the district court from
         reaching a contrary conclusion.’ ”), cert denied, 513 U.S. 927, 115 S.Ct. 315, 130 L.Ed.2d 277 (1994).
4     Carroll took her first leave of absence for knee surgery on July 28, 2009, and returned to work on August 12, 2009. When
      her knee swelled up, she took her second leave of absence on August 18, 2009 and returned to work on August 24,
      2009, when she was discharged.
5     “ ‘Block billing’ is a ‘time-keeping method by which each lawyer and legal assistant enters the total daily time working on a
      case, rather than itemizing the time expended on specific tasks.” Fralick v. Plumbers and Pipefitters Nat. Pension Fund,
      2011 WL 487754, at *4 (N.D. Feb. 11.2011), quoting Glass v. U.S., 335 F.Supp.2d 736, 739 (N.D.Tex.2004). See also
      Humphrey v. United Way of Texas Gulf Coast, 802 F.Supp.2d 847, 864–65 (S.D.Tex.2011) (A block-billed entry “lists the
      tasks performed during that period, giving some detail about the kinds of work performed on a particular day, but does
      not itemize the amount of time spent on each.”). Block billing can impede the court's ability to determine whether the
      amount of time spent on the different tasks is reasonable and some courts have reduced the hours block billed across
      the board. Davis v. Perry, ––– F.Supp.2d ––––, Nos. SA–11–CA–788–OLG, etc., 2014 WL 106990, at *19 (W.D.Tex.
      Jan.8, 2014); Miller v. Raytheon Co., 2013 WL 6838302, at *10 (N.D.Tex. Dec.27, 2013) (and cases cited therein). A
      reduction for block billing is not automatic. Id.; id.
6     For example, in Shipes, the Fifth Circuit reviewed a district court's enhancement of the “lodestar amount based on the
      novelty and difficulty of the case because it found that there were over three hundred plaintiffs, an entire spectrum of
      employment decisions was being challenged, the case was complex and highly technical, and Trinity's obstinate conduct
      caused additional difficulties.” 987 F.2d at 321. The panel opined,
            These factors—not so uncommon in much present-day litigation-simply do not render a case “rare” or “exceptional”
            for purposes of enhancing the lodestar amount. All counsel competent to handle a case such as this one are expected
            to be able to deal with complex and technical matters; this expertise is reflected in their regular hourly rate, based on
            fees for counsel of similar experience and ability. Still further, the difficulty in the handling of the case is adequately
            reflected in the number of hours billed—hours for which the attorney is compensated in the lodestar amount. Similarly,
            obstinate conduct by opposite counsel is compensated by the additional number of hours that are required to prevail
            over such obstinacy.
         Id.
7     The Supreme Court has made clear that a plaintiff may contract freely with her attorney to pay an additional contingency
      fee while seeking a lodestar award under the fee-shifting statute. Giesbrecht v. Barnhart, 535 U.S. 789, 806, 122 S.Ct.
      1817, 152 L.Ed.2d 996 (2002) (“nothing prevents the attorney for the prevailing party from gaining additional fees,
      pursuant to contract, from his own client”); Vanegas v. Mitchell, 495 U.S. 82, 86–89, 110 S.Ct. 1679, 109 L.Ed.2d 74(1990)
      (“[T]here is nothing in [§ 1988] to regulate what plaintiffs may or may not promise to pay their attorneys if they lose of if they
      win”; “[w]e have ... accepted, at least implicitly, that statutory awards of fees can coexist with private fee arrangements ...
      [J]ust as we have recognized that it is the party's entitlement to receive the fees in the appropriate case, so we have
      recognized that as far as § 1988 is concerned, it is the party's right to waive, settle, or negotiate that eligibility.”).
8     Not only did counsel incorrectly cite this case (it should be ––– U.S. ––––, 133 S.Ct. 2517, 186 L.Ed.2d 503), issued on
      June 24, 2013, but it is a Title VII suit in which a physician of Middle Eastern descent alleged that a state university with
      which his hospital was affiliated revoked a job offer because he complained that he was racially and religiously harassed
      by a superior. 133 S.Ct. at 2524. Below, the Fifth Circuit had denied the defendant's motion for summary judgment on
      the grounds that a reasonable jury could find that the plaintiff's protected activity was a “motivating factor” for the adverse
      action. 133 S. St. at 2524. Reversing the appellate court, the Supreme Court held that a plaintiff must prove “but-for”
      causation (i.e., the plaintiff's injury would not have occurred in the absence of the alleged wrongful action of the employer),
      and not merely that retaliation was a substantial or motivating factor, for a Title VII or ADA retaliation claim.
         Nassar was issued less than a month before Carroll's trial. The Fifth Circuit has since stated that it has not yet decided
         whether Nassar applies to FMLA-retaliation claims. Ion v. Chevron USA, Inc., 731 F.3d 379, 389–90 (5th Cir.2013).
         Moreover, even if it applies to an FMLA retaliation claim, it should not have caused counsel increased work and
         challenge, nor does it warrant increased fees. The Fifth Circuit has always distinguished between the standard used
         for a prima facie case of retaliation or on summary judgment, which requires only the less stringent standard, and that
         at trial; it has always required “but-for” standard for a jury verdict, so counsel's argument is not persuasive. See, e.g.,



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        Montemayor v. City of San Antonio, 276 F.3d 687, 692 (5th Cir.2001) (on prima facie case ); Kanida v. Gulf Coast
        Medical Personnel, LP, 363 F.3d 568, 580 (5th Cir.2004) (“This Court has repeatedly stated that in retaliation cases
        the employee must prove that the adverse employment action would not have occurred ‘but for’ plaintiff's protected
        activity.' ”), citing Rios v. Rossotti, 252 F.3d 375, 380 (5th Cir.2001) (“For retaliation claims this final burden requires the
        plaintiff to demonstrate that the adverse employment action would not have occurred ‘but for’ the protected activity.”);
        Richardson v. Monitronics Intern., Inc., 434 F.3d 327, 332–33 (5th Cir.2005) (applying mixed motive framework on
        summary judgment); Johnson County Southwestern Institute of Forensic Science, Civ. A. No. 3:12–CV–1461–D, 2014
        WL 177284, at *7 (N.D.Tex. Jan.16, 2014) (“As to the third element [of a prima facie case of retaliation under Title VII],
        the requirement that a plaintiff show at the prima facie case stage a ‘causal link’ between a protected activity and an
        adverse employment action is ‘much less stringent’ than the ‘but for’ causation that a jury must find.”); Long v. Eastfield
        College, 88 F.3d 300, 305 n. 4 (5th Cir.1996) (“The ultimate determination in an unlawful retaliation case is whether
        the conduct protected by Title VII was a ‘but-for’ cause of the adverse employment decision.”).
        Carroll's FMLA retaliation claim went to trial before a jury, and the proper “but-for” standard applied, as reflected in the
        jury charge, which expressly stated (# 73 at p. 5),
           To prevail in this case Ms. Carroll must prove by a preponderance of the evidence that:
           a. She took Family Medical Leave Act leave; and,
           b. She was discharged in retaliation for taking leave.
           Ms. Carroll must prove that but for her taking Family Medical Leave Act leave Sanderson would not have terminated
           her employment when they did.
9     # 63–1, Ex. B.
10    Carroll objects that while she sought that amount in the First Supplemental Initial Disclosures, filed on February 17, 2011
      when she was at a job earning substantially less that she did at Sanderson Farms and included $398,199 in potential front
      pay damages, when she began earning more prior to trial she amended her disclosure and indicated that she was not
      seeking front pay damages. # 69 at pp. 7–8. Sanderson Farms argued from her disclosures that she is seeking $300,000
      in non-economic compensatory damages and $300,000 in punitive damages, for a total of $600,000 (coming up with the
      figure of $1,074,068, when Sanderson Farms' attorneys knew that under the damage caps applicable to the ADA and
      TCHRA, the maximum amount a plaintiff can recover for compensatory and punitive damages combined is $300,000.
      42 U.S.C. § 1981a; Tex. Labor Code § 21.2585.
         Plaintiff further argues that she demanded $50,000 to settle the case on November 16, 2011, also indicating that
         attorney's fees at that time amounted to $30,000, but warning that by the time of trial they might amount to $150,000.
         Sanderson Farms did not offer anything. In the spring of 2012 she again tried to settle the case, this time for $97,500,
         but Sanderson Farms did not offer anything. She complains, “Now having refused to even respond to any offer and
         forced Carroll's attorneys to incur more than $150,000 in fees, Sanderson Farms has the audacity to ask the district
         court to award only $36,850, claiming, unbelievably, that Carroll has not been successful in light of what she sought.”
         # 69 at p. 8.
         The Court would remind Plaintiff that Sanderson Farms had the right to refuse to settle if it believed her claims lacked
         merit. The fact that only one of her claims survived until trial indicates Defendant was not completely wrong. Moreover,
         Plaintiff cites no authority, and the Court knows of none, that considers a refusal to settle to be a factor for consideration
         in determining an award of attorney's fees to a prevailing plaintiff.
11    The Migis panel made clear that prejudgment and post-judgment interest are not subject to the same analysis because
      “[t]he award of interest is automatic and bears no relation to the effort or skill of the attorneys or any other Johnson factor.
      It merely adjusts the damage award to reflect the time value of money.” 135 F.3d at 1048 n. 6.
12    Carroll objects that she seeks $153,418 in fees as the lodestar amount and that Sanderson Farms ignores the fees
      sought for post-trial motions, already amount to # 12,000. # 69 at p. 7 & nn. 16–18.
13    The Court finds that these reasons do not warrant striking the declaration. It is Plaintiff's counsel's burden to prove that
      his fees and hours expended are reasonable, not Sanderson Farms'.
14    This decision is for the Court, not for designated experts, to be determined from the numerous factors discussed above.
15    The Court observes that # 46 was filed on May 2, 2013, when trial was scheduled for May 17, 2013. (The trial was reset
      to July to allow the Court to rule on a recently filed motion for summary judgment). In # 46 Plaintiff stated that she was
      seeking $102,840 in back pay plus $6,340 in lost benefits, and liquidated damages in an equal amount; non-economic
      damages in the amount of $300,000; and possibly $300,000 in punitive damages. While Fiddler charges that Sanderson
      Farms must have known that these requested amounts for compensatory and punitive damages were not available
      because of $300,000 statutory caps under § 1981a(b) and Texas Labor Code § 21.2585(d)(4), and that Sanderson Farms



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      was trying to deceptively manipulate Plaintiff, that knowledge (which Fiddler clearly had) apparently did not keep Fiddler
      from filing a document stating at that late date that Plaintiff was seeking them.
16    The Court notes, as indicated supra, that under the law the fee applicant bears the burden of showing that his requested
      fee award is reasonable.
17    # 63–1. p. 1; http://www . texasbar.com/AM/Template.cfmSection=About Us FAQs# many, visited Aug. 25, 2013.


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                             Tab 4
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Causeway Medical Suite v. Foster, Not Reported in F.Supp.2d (2000)
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                                                              II. ANALYSIS
                 2000 WL 533515
   Only the Westlaw citation is currently available.             A. Prevailing Party
    United States District Court, E.D. Louisiana.             On any motion for attorney's fees in a civil rights case, a
                                                              court must determine whether the moving party was the
         CAUSEWAY MEDICAL SUITE, et al.                       “prevailing party” in the suit. See 42 U.S.C. § 1988(b).
                        v.                                    The United States Supreme Court has held that “ ‘[t]he
             Murphy J. FOSTER, et al.                         touchstone of the prevailing party inquiry must be the
                                                              material alteration of the legal relationship of the parties.”
                    No. Civ.A. 99-509.                        ’ Farrar v. Hobby, 506 U.S. 103, 111, 113 S.Ct. 566, 573,
                             |                                121 L.Ed.2d 494 (1992) (alteration in original) (quoting
                      May 2, 2000.                            Texas State Teachers Ass'n v. Garland Independent School
                                                              District, 489 U.S. 782, 792-93, 109 S.Ct. 1486, 1494, 103
                                                              L.Ed.2d 866 (1989)).
               ORDER AND REASONS
                                                              In Farrar, the Supreme Court explained the concept of
BERRIGAN, J.
                                                              “prevailing party” as follows:
 *1 Plaintiffs move the Court for an award of attorneys'                [T]o qualify as a prevailing party, a
fees and costs. Defendants, hereinafter referred to as the              civil rights plaintiff must obtain at
State, oppose Plaintiffs' motion. For the reasons explained             least some relief on the merits of
herein, the Court GRANTS IN PART Plaintiffs' motion                     his claim. The plaintiff must obtain
and awards attorneys' fees and costs as specified below.                an enforceable judgment against the
                                                                        defendant from whom fees are sought,
                                                                        or comparable relief through a consent
I. FACTS                                                                decree or settlement. Whatever relief
The governor issued an executive order, MJF 99-5,                       the plaintiff secures must directly
and the State promulgated a regulation, HB 1925, and                    benefit him at the time of the judgment
amended a statute, La. R.S. 40:5, all of which Plaintiffs               or settlement. Otherwise, the judgment
argued could deny the full protection of the Fourth                     or settlement cannot be said to
Amendment to the United States Constitution to medical                  affect the behavior of the defendant
facilities in which abortions are performed. Plaintiffs                 toward the plaintiff. Only under these
contended that the order, the regulation, and the amended               circumstances can civil rights litigation
statute authorized inspections of abortion clinics by State             effect the material alteration of the
health officials without the guarantees of the Fourth                   legal relationship of the parties and
Amendment. Plaintiffs moved this Court for a temporary                  thereby transform the plaintiff into a
restraining order (“TRO”) and a preliminary injunction                  prevailing party. In short a plaintiff
to bar enforcement of the order, the regulation, and the                “prevails” when actual relief on the
amended statute. The Court partially granted Plaintiffs'                merits of his claim materially alters the
requested relief and thereby enjoined the State from                    legal relationship between the parties
conducting the inspections ostensibly allowed under the                 by modifying the defendant's behavior
various State mandates. See Rec. Doc. 24. Thereafter, the               in a way that directly benefits the
State and Plaintiffs reached a settlement resolving that                plaintiff.
any inspections of medical facilities performing abortions
would comply with the full protections of the Fourth
Amendment. The settlement, however, left open the issue        *2 506 U.S. at 111-112, 113 S.Ct. at 573 (internal
                            1                                 quotations and citations omitted).
of attorneys' fees and costs. The parties are now before
the Court to resolve that open issue.
                                                              In the instant case, the State takes the position that
                                                              Plaintiffs did not prevail since no health inspections absent


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consent or a warrant took place or would have ever                 relief: (1) that fees for calls between Plaintiffs' New
occurred. This is the same “good intentions” defense               York and New Orleans counsel should only be billed
that was raised in response to the motion for TRO and              once rather than by both attorneys; (2) that billing in
preliminary injunction. However, neither the language              standard increments for calls that took considerably less
of the original executive order, nor its amendment,                time should be reduced accordingly; and (3) that billing
nor the subsequently enacted statutes, restricted the              at standard rates for counsel filing court documents is
application of those state mandates in a manner consistent         inappropriate where runners or other staff could have
with Fourth Amendment constitutional requirements.                 easily accomplished the same.
Instead of requiring probable cause, for example, the
language of amended La. R.S. 40:5 authorized state
officials to conduct safety inspections when they received            1. Calls Between Co-Counsel
a complaint that “shows appropriate and sufficient                  *3 In another case, this Court previously addressed the
grounds” to indicate a code violation or health hazard.            argument that fees should be reduced for calls between
As this Court found in partially granting the TRO/                 co-counsel. See Feinberg v. Hibernia Corp., 966 F.Supp.
preliminary injunction, the language in those mandates             442, 448 (E.D.La.1997). The Court refused to reduce
could be construed to authorize searches absent consent            the full billing by each attorney and observed that
or a warrant issued by a court of law and therefore                “[c]onsultation and ‘sound-boarding’ among attorneys is
permit unconstitutional searches in violation of the               valuable to effective litigation ...” Id. The Court finds
Fourth Amendment. The Court therefore enjoined the                 the same reasoning applies here. Furthermore, there has
State from conducting such inspections absent those                been no representation that the phone calls were excessive.
requirements. Apparently, the settlement subsequently              Therefore, the Court will not reduce the fees requested by
reached embodies the same commitment to refrain                    Plaintiffs for calls between co-counsel.
from searches without the protections of the Fourth
Amendment.
                                                                      2. Standard Billing Increments
                                                                   In Roubideaux v. Cox, 601 F.Supp. 174 (D.S.D.1985),
This was the relief that Plaintiffs sought, and it
                                                                   the court found that “[d]efendants' detailed objections
was entirely achieved. Whether the State would have
                                                                   to each time entry of plaintiff's counsel, in some cases
conducted constitutionally illegal searches had Plaintiffs
                                                                   going so far as to demand that a request for twelve
not filed this suit to enjoin them is open to speculation.
                                                                   minutes work be reduced to two minutes, is nothing
What is not open to speculation is that the language of
                                                                   more than carping.” Id. at 176. This Court similarly
the executive orders and the statutes could have been
                                                                   rejects the State's request to reduce standard billing
interpreted to allow them to do so. That is why they were
                                                                   increments in this case. Furthermore, the Local Rule on
enjoined.
                                                                   attorney's fees awards, LR 54.2, provides no requirement
                                                                   regarding billing increments. Law firms routinely bill
Accordingly, because Plaintiffs achieved the relief they
                                                                   in standard increments, most often six minutes (tenths
sought through settlement and affected a material
                                                                   of hours), ten minutes (sixths of hours), or fifteen
alteration of their legal relationship with the State by
                                                                   minutes (quarters of hours). It would be inappropriate
insuring that the State mandates could not be used to
                                                                   judicial micro-management to mandate billing practices
permit unconstitutional searches, the Court finds that
                                                                   by reducing a private firm's properly and adequately
Plaintiffs did in fact prevail in this lawsuit and are thus
                                                                   documented attorney's fees from the standard billing
entitled to attorney's fees.
                                                                   increment employed by the firm. Accordingly, the Court
                                                                   will not reduce the standard billing increments as urged by
   B. Determination of Fees Due                                    the State.
The State stated in its opposition memorandum that
it does not challenge Plaintiffs' requested hourly billing
                                                                      3. Filing Fees
rates, representations of counsels' level of expertise and
                                                                   Unlike the State's other two arguments, the Court does
experience in the field, or Plaintiff's stated costs in general.
                                                                   find merit in the State's contention that Plaintiffs should
See Defs' Mem. Opp., at 1. However, the State does
                                                                   not recover full attorney billing rates for filing court
challenge three specific aspects of Plaintiffs' requested


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documents when runners or other staff could have easily               $50 per hour. Accordingly, the Court reduces the overall
                                                                      claim for attorneys' fees and costs by $875.
accomplished the same. “ ‘It is appropriate to distinguish
between legal work, in the strict sense, and investigation,
clerical work, compilation of facts and statistics and other             4. Other Claimed Fees Not Objected To
work which can often be accomplished by non-lawyers                    *4 The Court finds all the other fees and costs claimed
but which a lawyer may do because he has no other help                by Plaintiffs to be reasonable, compensable and fully and
available. Such non-legal work may command a lesser                   adequately documented. Accordingly, the Court exercises
rate.” ’ Cruz v. Hauch, 762 F.2d 1230, 1235 (5th Cir.1985)            its discretion to award those fees and costs to Plaintiffs.
(quoting Johnson v. Georgia Highway Express, Inc., 488
F.2d 714, 717 (5th Cir.1974)).
                                                                      III. CONCLUSION
The State requests that the Court reduce the billing rates            For the reasons stated above, the Court awards Plaintiffs
for 4.75 hours claimed by Plaintiffs for court filings. Of            attorneys' fees and costs in the amount of $52,631.36,
that time however, 1.25 hours was spent filing TROs and/              which represents the $53,506.36 claimed by Plaintiffs less
or preliminary injunctions, 0.75 hours on February 19,                the $875 by which the Court reduced the claim.
1999 and 0.50 hours on July 16, 1999. It is common
practice in this courthouse for attorneys to file TROs and            Accordingly, IT IS ORDERED that Plaintiffs' Motion
preliminary injunctions in person so that the attorneys can           for Attorneys' Fees and Costs (Rec.Doc. 34) is hereby
speak with chambers staff and generally be available to               GRANTED IN PART. IT IS FURTHER ORDERED
set hearing on these requests for expedited extraordinary             that Defendants owe Plaintiffs $52,631.36 in attorneys'
relief as soon as possible. Therefore, the Court finds that           fees and costs.
the 1.25 hours billed at full attorney billing rates for filing
TROs/preliminary injunctions should not be reduced.
However, the Court does find it proper to reduce the other            All Citations
3.50 hours billed for court filing from the full attorney
                                                                      Not Reported in F.Supp.2d, 2000 WL 533515
billing rate of $250 per hour to a reasonable clerical rate of


Footnotes
1      Plaintiffs challenged state action, i.e., the order, regulation, and statute, as unconstitutional under the provisions of 42
       U.S.C. § 1983. Accordingly, attorney's fees are available under 42 U.S.C. § 1988(b), which provides in part:
       In any action or proceeding to enforce a provision of section [ ] ... 1983 [and other various civil rights statutes], the court,
       in its discretion, may allow the prevailing party, other than the United States, a reasonable attorney's fee as part of the
       costs ...
       Id.


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                             Tab 5
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                                                               2013 (“Sanction Order”). In the Sanction Order, Judge
                 2014 WL 1326576
                                                               Kobayashi found that Plaintiff failed to comply with the
   Only the Westlaw citation is currently available.
                                                               requirements of Rule 11 and that Plaintiff's motion for
            United States District Court,
                                                               sanctions was without merit. Sanction Order at 21. She
                    D. Hawai‘i.
                                                               therefore concluded that Defendants were the prevailing
             Jack CRAWFORD, Plaintiff,                         parties entitled to an award of reasonable attorneys' fees,
                           v.                                  pursuant to Rule 11(c)(2) of the Federal Rules of Civil
           JAPAN AIRLINES; Jalways Co.,                        Procedure (“FRCP”), that were incurred directly as a
                                                               result of Plaintiff's filing. Id. Judge Kobayashi specified
            Ltd.; Hawaii Aviation Contract
                                                               that the amount to be awarded should be sufficient to
        Services, Inc.; Does 1–10, Defendants.
                                                               deter repetition of Plaintiff's conduct. Id.
             Civil No. 03–00451 LEK–KSC.
                             |                                 Defendant Japan Airlines (“JAL”) timely filed a Motion
                   Signed Jan. 21, 2014.                       for Attorney's Fees on June 24, 2013. JAL filed a
                             |                                 Statement of Consultation on July 3, 2013. Plaintiff Jack
                    Filed Jan. 22, 2014.                       Crawford (“Plaintiff”) did not file a response. On July 31,
                                                               2013, JAL filed a Reply. 1
Attorneys and Law Firms
                                                               At the direction of the Court, Plaintiff filed a
James Frechter, Forest Hills, NY, Michael Jay Green,
                                                               memorandum concerning the propriety of addressing
Honolulu, HI, for Plaintiff.
                                                               JAL's Motion (or any other matters) when questions
Albert H. Ebright, Steven M. Egesdal, William Matsujiro        concerning the existence of subject matter jurisdiction
Harstad, Carlsmith Ball LLP, Los Angeles, CA, Andrew           have been raised. See Doc. No. 505.
L. Pepper, Bronster Hoshibata, Attorneys at Law, A Law
Corporation, Gary G. Grimmer, Gary G. Grimmer &                On September 11, 2013, JAL filed a motion to dismiss.
Associates, Jennifer B. Lyons, Roeca, Louie & Hiraoka,         This Court deferred ruling on this Motion until the
Joseph F. Kotowski, III, Carl H. Osaki, Honolulu, HI, for      disposition of JAL's motion to dismiss.
Defendants.
                                                               On December 31, 2013, Judge Kobayashi issued an
                                                               Order Granting Defendant's Motion to Dismiss Plaintiff
                                                               Jack Crawford's Complaint For Lack of Subject Matter
      FINDINGS AND RECOMMENDATION
                                                               Jurisdiction, concluding that federal diversity jurisdiction
       TO GRANT IN PART AND DENY IN
                                                               was lacking from the outset of this case.
      PART DEFENDANT JAPAN AIRLINES'
        MOTION FOR ATTORNEY'S FEES

KEVIN S.C. CHANG, United States Magistrate Judge.                                    DISCUSSION
 *1 On May 31, 2013, U.S. District Judge Leslie
Kobayashi issued an Order (1) Denying Plaintiff                  Insofar as Judge Kobayashi has already concluded
Jack Crawford's Motion for Sanctions Against JAL                    that Defendants were the “prevailing parties”
Defendants, HACS, Carlsmith Ball, Certain Carlsmith                pursuant to FRCP 11(c)(2), the Court need not
Ball Attorneys and Carl Osaki; (2) Denying Defendant             determine whether JAL is entitled to fees. However,
Japan Airlines' Motion For the Court to Issue an Order              the Court must, as an initial matter, ascertain
Requiring Plaintiff Jack Crawford to Show His Medical           whether it has the authority to issue this Findings and
Fitness to Litigate; and (3) Granting Japan Airlines'           Recommendation when Judge Kobayashi concluded
Motion to Strike Plaintiff Jack Crawford's Supplemental            that subject matter jurisdiction is lacking and in
Statement of Authorities Filed Pursuant to LR 7.8               fact, never existed. The Court concludes that it does.
in Support of Plaintiff Jack Crawford's Motion for
Sanctions Against JAL Defendants, Filed February 28,



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The Supreme Court has held that although a final                  sanctions issue was premature. This finding actually
                                                                  bolsters this Court's determination to proceed with
determination of lack of subject matter jurisdiction
                                                                  evaluating JAL's fee request. Plaintiff should not have
precludes all further adjudication of a case in federal court,
                                                                  filed his sanction motion, as it was not only premature,
“such a determination does not automatically wipe out all
                                                                  but also deficient. Plaintiff's conduct provided Judge
proceedings had in the district court at a time when the
                                                                  Kobayashi with a legal basis to conclude that JAL is
district court operated under the misapprehension that it
                                                                  entitled to fees.
had jurisdiction.” Willy v. Coastal Corp., 503 U.S. 131,
137 (1992); In re Exxon Valdez, 102 F.3d 429, 431 (9th
                                                                  Finally, Plaintiff argues that this case is distinguishable
Cir.1996). Because the imposition of Rule 11 sanctions
                                                                  from Willy because this is not a case where the Court's
is a collateral matter that does not involve judgment
                                                                  jurisdiction was later found to be lacking. To the contrary,
on the merits of an action, a district court does not
                                                                  that is precisely what happened here. At the time Judge
adjudicate the merits of a “case or controversy” over
                                                                  Kobayashi adjudicated Plaintiff's sanction motion, JAL
which it lacks jurisdiction by imposing sanctions. Willy,
                                                                  had yet to file its motion to dismiss. Notably, Judge
503 U.S. at 138. District courts have the authority to
                                                                  Kobayashi made the legal determination about JAL's
determine whether an attorney abused the judicial process
                                                                  entitlement to fees before the filing of the motion to dismiss
and assess appropriate sanctions. Id.
                                                                  and prior to dismissing this action for lack of subject
                                                                  matter jurisdiction. This Court is not deciding a new legal
 *2 Plaintiff attempts to distinguish this case from Willy v.
                                                                  issue or revisiting Judge Kobayashi's Sanction Order; this
Coastal Corp., arguing that “there is no Rule 11 sanction
                                                                  Court is merely assessing the reasonableness of the fee
against any party or attorney nor a finding that any
                                                                  request and recommending the amount to be awarded.
party or attorney abused the judicial process.” Pl.'s Memo.
                                                                  The legal basis for the award has already been established
at 4. The Court is not persuaded. Plaintiff abused the
                                                                  by the Sanction Order. Accordingly, the Court finds that
judicial process by filing an improper Rule 11 sanction
                                                                  it may address JAL's Motion notwithstanding the fact
motion that was premature, procedurally defective, and
                                                                  that this action has been dismissed, as this Findings and
substantively specious. Sanction Order at 17. FRCP 11
                                                                  Recommendation merely recommends the amount of the
specifically contemplates and provides for the recovery
                                                                  award to which JAL is entitled.
of reasonable expenses, including attorneys' fees, by the
prevailing party. Fed.R.Civ.P. 11(c)(2). JAL successfully
opposed Plaintiff's motion for sanctions and has been             I. Attorneys' Fees
deemed the prevailing party.                                      JAL requests $74,441,48 in attorneys' fees and tax, as
                                                                  reflected in the following table:
Plaintiff additionally asserts that the fee issue is not
collateral because Judge Kobayashi found that the
         NAME                                                    HOURS          RATE                      TOTAL
                                                                                 %

         Lawrence Okinaga                                         41.6         $395.00                 $16,432.00

         Steve Egesdal                                           113.1         $360.00                 $40,716.00

         William Harstad                                          50.5         $210.00                 $10,605.00

         Michael Scanlon                                          1.1          $200.00                    $220.00

         Lesa Douglas–Wong                                        20           $150.00                  $3,000.00
         (paralegal)

         Rodney Nagasako (office                                  1.2          $100.00                    $120.00
         clerk)

         Subtotal                                                                                      $71,093.00


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         TAX (4.71%)                                                                                    $3,348.48

         TOTAL                                                                                        $74,441.48
                                                                                                                      2

                                                                  U.S. 711, 728 (1987); see also Fischer, 214 F.3d at 1119 n.
  A. Calculation of Fee Award                                     4 (stating that the lodestar figure should only be adjusted
Under federal law, reasonable attorneys' fees are generally       in rare and exceptional cases).
based on the traditional “lodestar” calculation set forth
in Hensley v.. Eckerhart, 461 U.S. 424, 433 (1983). See
                                                                     1. Hourly Rate
Fischer v. SJB–P.D., Inc., 214 F.3d 1115, 1119 (9th
                                                                  JAL requests the following hourly rates for its counsel,
Cir.2000). The court must determine a reasonable fee by
                                                                  paralegal, and office clerk: 1) Mr. Okinaga—$395.00;
multiplying “the number of hours reasonably expended
                                                                  2) Mr. Egesdal—$360.00; 3) Mr. Harstad—$210.00; 4)
on the litigation” by “a reasonable hourly rate.” Hensley,
                                                                  Mr. Scanlon—$200.00; 5) Ms. Douglas–Wong—$150.00;
461 U.S. at 433. Second, the court must decide whether
                                                                  and 6) Mr. Nagasako—$100.00. In determining the
to adjust the lodestar amount based on an evaluation of
                                                                  reasonableness of an hourly rate, the experience, skill, and
the factors articulated in Kerr v. Screen Extras Guild, Inc.,
                                                                  reputation of the attorney requesting fees are taken into
526 F.2d 67, 70 (9th Cir.1975), which have not already
                                                                  account. See Webb v. Ada County, 285 F.3d 829, 840 & n.6
been subsumed in the lodestar calculation. See Fischer,
                                                                  (9th Cir.2002). The reasonable hourly rate should reflect
214 F.3d at 1119 (citation omitted).
                                                                  the prevailing market rates in the community. See id.;
                                                                  Gates v. Deukmejian, 987 F.2d 1392, 1405 (9th Cir.1992),
 *3 The factors articulated by the Ninth Circuit in Kerr
                                                                  as amended on denial of reh'g, (1993) (noting that the rate
are as follows:
                                                                  awarded should reflect “the rates of attorneys practicing in
  (1) the time and labor required, (2) the novelty and            the forum district”). It is the burden of the fee applicant to
  difficulty of the questions involved, (3) the skill requisite   produce satisfactory evidence, in addition to an affidavit
  to perform the legal service properly, (4) the preclusion       from the fee applicant, demonstrating that the requested
  of other employment by the attorney due to acceptance           hourly rate reflects prevailing community rates for similar
  of the case,                                                    services. See Jordan v. Multnomah County, 815 F.2d 1258,
                                                                  1263 (9th Cir.1987).
  (5) the customary fee, (6) whether the fee is fixed or
  contingent, (7) time limitations imposed by the client          This Court is well aware of the prevailing rates in the
  or the circumstances, (8) the amount involved and the           community for similar services performed by attorneys
  results obtained, (9) the experience, reputation, and           of comparable experience, skill and reputation. Based
  ability of the attorneys,                                       on this Court's knowledge of the community's prevailing
                                                                  rates, the hourly rates generally granted by the Court,
  (10) the “undesirability” of the case,
                                                                  the Court's familiarity with this case, and JAL's counsel's
  (11) the nature and length of the professional                  submissions, this Court finds that with the exception of
  relationship with the client, and (12) awards in similar        Mr. Harstad's hourly rate, the requested hourly rates are
  cases.                                                          excessive.


Kerr, 526 F.2d at 70. 3                                           In addition, although JAL requests fees for Mr.
                                                                  Nagasako, “only the reasonable hours incurred by
For Rule 11 sanctions, “[t]here is no need to rigidly             attorneys and paralegals [are] compensable. This Court
apply the factors set forth in [Kerr ], but the court must        does not compensate for the time expended by other
make some evaluation of the fee breakdown submitted by            professionals such as librarians, litigation specialists,
counsel.” Yagman, 796 F.2d at 1185. Once calculated, the          litigation coordinators, or legal assistants.” HRPT
“lodestar” is presumptively reasonable. See Pennsylvania          Props. Trust v. Lingle, 775 F.Supp.2d 1225, 1239–40
v. Delaware Valley Citizens' Council for Clean Air, 483           (D.Haw.2011). According to JAL, Mr. Nagasako has a
                                                                  certificate in paralegal studies. However, just as someone


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with a law degree acting in the capacity of a paralegal
would not be treated as an attorney, Mr. Nagasako's             The following is a list of tasks previously deemed clerical
credentials will not alone transform him into a paralegal if    or ministerial in this district and therefore deemed non
Carlsmith employs him as an office clerk. Thus, the Court       compensable:
will not designate an hourly rate for Mr. Nagasako. 4
                                                                            reviewing Court-generated notices;
                                                                            scheduling dates and deadlines;
 *4 In view of the foregoing, the Court reduces the
                                                                            calendering dates and deadlines;
requested hourly rates and concludes that the following
                                                                            notifying a client of dates and
hourly rates are reasonable: 1) Mr. Okinaga—$375.00; 2)
                                                                            deadlines; preparing documents
Mr. Egesdal—$300.00; 3) Mr. Harstad—$210.00; 4) Mr.
                                                                            for filing with the Court;
Scanlon—$150.00; and 5) Ms. Douglas–Wong—$85.00.
                                                                            filing documents with the Court;
                                                                            informing a client that a document
   2. Hours Reasonably Expended                                             has been filed; personally delivering
Beyond establishing a reasonable hourly rate, a prevailing                  documents; bates stamping and
party seeking attorneys' fees bears the burden of proving                   other labeling of documents;
that the fees and costs taxed are associated with the relief                maintaining and pulling files;
requested and are reasonably necessary to achieve the                       copying, printing, and scanning
results obtained. See Tirona v. State Farm Mut. Auto.                       documents; receiving, downloading,
Ins. Co., 821 F.Supp. 632, 636 (D.Haw.1993) (citations                      and emailing documents; and
omitted). The court must guard against awarding fees                        communicating with Court staff. 5
and costs which are excessive, and must determine which
fees and costs were self-imposed and avoidable. Id. at          Haw. Motorsports Inv., Inc. v. Clayton Group Servs., Inc.,
637 (citing INVST Fin. Group v. Chem–Nuclear Sys., 815          Civ. No. 09–00304 SOM–BMK, 2010 WL 4974867, at
F.2d 391, 404 (6th Cir.1987), cert. denied, 484 U.S. 927        *5 (D.Haw. Dec. 1, 2010), adopted by Haw. Motorsports
(1987)). This Court has “discretion to ‘trim fat’ from,         Inv., Inc. v. Clayton Group Servs., NC, Civ. No. 09–00304
or otherwise reduce, the number of hours claimed to             SOM–BMK, 2010 WL 5395669 (D.Haw. Dec. 22, 2010)
have been spent on the case.” Soler v.. G & U, Inc., 801        (also deeming clerical identification and organization of
F.Supp. 1056, 1060 (S.D.N.Y.1992) (citation omitted).           exhibits); see also, e.g., Yamada v. Weaver, Civil No. 10–
Time expended on work deemed “excessive, redundant,             00497 JMS–RLP, 2012 WL 6019363, at *10 (D.Haw.
or otherwise unnecessary” shall not be compensated. See         Aug. 30, 2012), adopted in pertinent part by Yamada v.
Gates, 987 F.2d at 1399 (quoting Hensley, 461 U.S. at 433–      Weaver, Civil No. 10–00497 JMS–RLP, 2012 WL 6019121
34).                                                            (D.Haw. Nov. 30, 2012) (deeming clerical work completed
                                                                on table of authorities).
After careful review of JAL's submissions, the Court finds
that reductions for clerical work, insufficient descriptions,    *5 Here, counsel worked on clerical tasks such as
and duplication are necessary and appropriate.                  communicating with the court, reviewing court notices,
                                                                preparing hearing binders, and communicating about
                                                                word count and table of authorities. Counsel expended
              a. Clerical or Ministerial Tasks                  the following hours on clerical tasks: 1) Mr. Egesdal
                                                                —1.8 hours; 2) Mr. Harstad—3.1 hours; and 3) Ms.
Some of counsel's time entries reflect billing for clerical/    Douglas–Wong—2.2 hours. Therefore, 7.1 hours should
ministerial work, and must be reduced accordingly.              be excluded from JAL's fee award.
“[C]lerical or ministerial costs are part of an attorney's
overhead and are reflected in the charged hourly rate.”
Jeremiah B. v. Dep't of Educ., Civil No. 09–00262 DAE–
                                                                               b. Insufficient Descriptions
LEK, 2010 WL 346454, at *5 (D.Haw. Jan. 29, 2010)
(citing Sheffer v. Experian Info. Solutions, Inc., 290          Although counsel's time entries are in large part
F.Supp.2d 538, 549 (E.D.Pa.2003)).                              sufficiently descriptive, certain entries must be excluded



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due to the inadequacy of the descriptions. Local Rule          The Court additionally reduces the attorneys' hours for
                                                               meetings and discussions for which multiple attorneys
54.3(d)(2) requires that the “party seeking an award of fees
                                                               billed. The general rule is that two professionals cannot
must describe adequately the services rendered, so that the
                                                               bill for attending the same meeting. Brandon E. v. Dep't
reasonableness of the requested fees can be evaluated.”
                                                               of Educ., State of Hawaii, No. CV 07–00536 ACK–LEK,
Local Rule 54.3(d)(2). The rule further provides:
                                                               2008 WL 4602533, at *3 (D.Haw. Oct. 16, 2008). Thus,
            [C]ounsel should be sensitive to                   when a party's counsel meet with one other, the Court
            matters giving rise to attorney-client             deducts the duplicative time billed. Id.; In re Mullins,
            privilege and attorney work product                84 F.3d 459, 467 (D.C.Cir.1996) (deducting fees incurred
            doctrine, but must nevertheless                    by the two lowest-billing attorneys where three attorneys
            furnish an adequate non-privileged                 billed time spent attending a meeting together)). After
            description of the services in                     reviewing counsel's time entries, the Court notes that not
            question. If the time descriptions are             all communications between JAL's counsel resulted in
            incomplete, or if such descriptions                duplicate billings, but reductions are warranted in those
            fail to describe adequately the                    instances where multiple attorneys submitted billings for
            services rendered, the court may                   the same discussions/meetings. 6
            reduce the award accordingly. For
            example, the time entries for                      Similarly, the Court finds duplicative the hours billed for
            telephone conferences must include                 multiple attorneys attending the hearing on the motion
            an identification of all participants              for sanctions. Mr. Egesdal and Mr. Harstad submitted
            and the reason for the call.                       time entries for the hearing. The Court will allow Mr.
                                                               Egesdal's time, but will exclude Mr. Harstad's time. Co-
Local Rule 54.3(d)(2) (emphasis added). Here, multiple
                                                               counsel's attendance at hearings and status conferences is
entries do not contain the subjects or participants of
                                                               understandable, but the resulting duplicative fees should
emails or discussions/meetings, and the Court is therefore
                                                               not be taxed against Plaintiff. The reductions are as
unable to determine whether the entries resulted directly
                                                               follows: 1) Mr. Egedsal—3.4 hours; 2) Mr. Harstad—1.6
from Plaintiff's motion for sanctions. Sanction Order at
                                                               hours; and 3) Mr. Scanlon—0.2 hours. As a result, the
21. The following hours can be attributed to insufficient
                                                               Court further reduces counsel's hours by 5.2.
entries: 1) Mr. Okinaga—21.9 hours; 2) Mr. Egesdal—
2.3 hours; and 3) Mr. Harstad—1.4 hours. The Court
consequently recommends a total reduction of 25.6 hours
for insufficient descriptions.                                                    d. Total Fee Award

                                                                *6 The Court is satisfied that JAL has established the
                                                               appropriateness of the following attorneys' fees incurred
                      c. Duplication                           in the present action:

        NAME                                                      HOURS          RATE                TOTAL

        Lawrence Okinaga                                          19.7           $375.00             $7,387.50

        Steve Egesdal                                             105.6          $300.00             $31,680.00

        William Harstad                                           44.8           $210.00             $9,408.00

        Michael Scanlon                                           0.9            $150.00             $135.00

        Lesa Douglas–Wong                                         18.1           $85.00              $1,538.50
        (paralegal)

        Rodney Nagasako (office clerk)                            0              $0.00               $0.00


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        Subtotal                                                                                             $50,149.00

        TAX (4.71%)                                                                                          $2,362.02

        TOTAL                                                                                                $52,511.02
                                                                                 and the use of or intended purpose
The Court accordingly recommends that JAL recover
                                                                                 for the items copied. As of the
$52,511.02 in fees and tax. There is no basis to adjust this
                                                                                 effective date of these rules, the
lodestar.
                                                                                 practice of this court is to allow
                                                                                 taxation of copies at $.15 per
II. Costs                                                                        page or the actual cost charged by
JAL also requests $4,947.12 in costs, which includes                             commercial copiers, provided such
$42.94 in international telephone charges, $4,537.93 in                          charges are reasonable. The cost of
electronic research, and $366.25 for photocopies. FRCP                           copies obtained for the use and/
11(c)(2) authorizes recovery of reasonable expenses.                             or convenience of the party seeking
Fed.R.Civ.P. 11(c)(2) (“[ T] he court may award to                               recovery and its counsel is not
the prevailing party the reasonable expenses, including                          taxable.
attorney's fees, incurred for the motion.”). The Sanction
Order did not expressly award costs, but given the Order's         Local Rule 54.2(f)(4). 7 Without information about what
citation to and reliance on FRCP 11(c)(2), this Court              copies were made and for what purpose, the Court
believes that reasonable costs are also recoverable.               is unable to assess the reasonableness of the request.
                                                                   Consequently, the Court declines to recommend that the
The Court finds that the international telephone charges           copying costs be awarded. The Court concludes that JAL
and the research charges were reasonably incurred.                 reasonably incurred $4,580.87 in costs.
Jackson v. McKay–Davis Funeral Home, No. 07–C–1037,
2013 WL 627055, at *1 (E.D.Wis. Feb. 20, 2013) (finding
reasonable Westlaw charges incurred in opposition to                                      CONCLUSION
the plaintiff's Rule 11 motion). However, JAL has
not provided sufficient information for the Court to               In accordance with the above analysis, the Court
ascertain whether the copying costs were reasonable, and           HEREBY FINDS AND RECOMMENDS that JAL's
the copying rate was $0.25 per page, when this Court               Motion for Attorney's Fees be GRANTED IN PART
authorizes copying at $0.15 per page. Local Rule 54.2(f)           AND DENIED IN PART and that JAL be awarded
(4) provides:                                                      $52,511.02 in attorneys' fees and tax and $4,580.87 in
                                                                   costs.
            The cost of copies necessarily
            obtained for use in the case is taxable                 *7 IT IS SO FOUND AND RECOMMENDED.
            provided the party seeking recovery
            submits an affidavit describing the
            documents copies, the number of                        All Citations
            pages copied, the cost per page,
                                                                   Not Reported in F.Supp.2d, 2014 WL 1326576


Footnotes
1      In its Reply, JAL argues that because Plaintiff failed to timely respond to its Motion, Plaintiff waived any right to contest
       the Motion, and that its fees and costs should be awarded in full. The Court agrees that Plaintiff has waived any right
       to challenge the Motion, but the Court will not summarily grant the Motion. Even in the absence of objections by an
       opposing party, the Court conducts its own evaluation of reasonableness. Matter of Yagman, 796 F.2d 1165, 1184–85
       (9th Cir.1986) (“When the sanctions award is based upon attorney's fees and related expenses, an essential part of




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      determining the reasonableness of the award is inquiring into the reasonableness of the claimed fees. Recovery should
      never exceed those expenses and fees that were reasonably necessary to resist the offending action.”).
2     The Court's calculations differ from those set out in the time sheets. For example, Mr. Harstad's total hours in his 4/2/13
      entry under “Case Development” was 2.2 hours, but the total of the itemized time entries in the narrative section is 2.1
      hours. The itemized narrative reflects that Ms. Douglas–Wong expended 5.4 hours on 4/2/13 (under “Motions Practice”),
      but the calculation provided by counsel is 5.1 hours. The Court will rely on its own calculations.
3     Factors one through five have been subsumed in the lodestar calculation. See Morales v. City of San Rafael, 96 F.3d
      359, 364 n. 9 (9th Cir.1996). Further, the Ninth Circuit, extending City of Burlington v. Dague, 505 U.S. 557, 567 (1992),
      held that the sixth factor, whether the fee is fixed or contingent, may not be considered in the lodestar calculation. See
      Davis v. City & County of San Francisco, 976 F.2d 1536, 1549 (9th Cir.1992), vacated in part on other grounds, 984
      F.2d 345 (9th Cir.1993).
4     Even if an office clerk's time was compensable, Mr. Nagasako's time would be excluded because the tasks he completed
      were clerical. The Court later discusses reductions for time expended on clerical tasks.
5     This list is a sampling and is not exhaustive.
6     For example, on January 18, 2013, Mr. Okinaga and Mr. Egesdal billed time for a conference. Mr. Okinaga's time is
      allowable, but Mr. Egesdal's time is duplicative.
7     The Court recognizes that this rule pertains to taxable costs. However, this is the standard the Court employs in assessing
      taxable and non-taxable copying costs to ensure consistency.


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                             Tab 6
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                                                               and Deny in Part Defendant Hawaii Aviation Contract
                                                               Services, Inc.'s Motion for Award of Attorney's Fees
                 2014 WL 1326580
                                                               (“HACS F & R”) and the Findings and Recommendation
   Only the Westlaw citation is currently available.
                                                               to Grant in Part and Deny in Part Defendant Japan
            United States District Court,
                                                               Airlines' Motion for Attorney's Fees (“JAL F & R”).
                    D. Hawai‘i.
                                                               [Dkt. nos. 531, 532.] Before the Court are Plaintiff Jack
            Jack CRAWFORD, Plaintiff,                          Crawford's (“Crawford”) objections to the HACS F &
                          v.                                   R (“HACS Objections”), filed on February 4, 2014,
  JAPAN AIRLINES; Jalways Co., Ltd., a subsidiary              and Crawford's objections to the JAL F & R (“JAL
                                                               Objections”), filed on February 5, 2014. [Dkt. nos. 533,
    of Japan Airlines; Hawaii Aviation Contract
                                                               534.] HACS and JAL (collectively “Defendants') each
     Services, Inc.; and Does 1–10, Defendants.
                                                               filed its response on February 18, 2014. [Dkt. nos. 536,
             Civil No. 03–00451 LEK–KSC.                       535.] The Court finds these matters suitable for disposition
                           |                                   without a hearing pursuant to Rule LR7.2(e) of the
                 Signed March 28, 2014.                        Local Rules of Practice of the United States District
                                                               Court for the District of Hawaii (“Local Rules”). After
Attorneys and Law Firms                                        careful consideration of the objections, responses, and the
                                                               relevant legal authority, this Court HEREBY GRANTS
James Frechter, Forest Hills, NY, Michael Jay Green,           the HACS Objections and REJECTS the HACS F &
Honolulu, HI, for Plaintiff.                                   R, and HEREBY DENIES the JAL Objections and
                                                               ADOPTS the JAL F & R, for the reasons set forth below.
Albert H. Ebright, Carlsmith Ball LLP, Los Angeles,
CA, Andrew L. Pepper, Bronster Hoshibata, Attorneys
at Law, A Law Corporation, Gary G. Grimmer, Gary
G. Grimmer & Associates, Jennifer B. Lyons Roeca,                                   BACKGROUND
Louie & Hiraoka, Joseph F. Kotowski, III, Steven M.
Egesdal, William Matsujiro Harstad, Carlsmith Ball LLP,        In December 2002, Crawford and then-co-plaintiff Martin
Honolulu, HI, for Defendants.                                  Ventress (“Ventress”) filed their Complaint for Damages
                                                               (“Complaint”) against JAL, its subsidiary, JALways, Co.,
                                                               Ltd. (“JALways”), 1 and HACS in the United States
       ORDER: 1) GRANTING PLAINTIFF'S                          District Court for the Central District of California. 2
  OBJECTIONS TO THE MAGISTRATE JUDGE'S                         [Dkt. no. 23.] The Complaint alleged diversity jurisdiction.
      FINDINGS AND RECOMMENDATION                              [Id. at ¶ 8.] According to the Complaint, at the time of
    TO GRANT IN PART AND DENY IN PART                          filing, Crawford, who was a pilot for JAL and HACS, was
  DEFENDANT HAWAII AVIATION CONTRACT                           a United States citizen domiciled in California. [Id . at ¶¶ 5,
   SERVICES, INC.'S MOTION FOR AWARD OF                        11.] Crawford later repudiated that assertion and claimed
    ATTORNEY'S FEES AND REJECTING THE                          that his domicile at the time he filed the Complaint was
   FINDINGS AND RECOMMENDATION; AND                            Alabama. [Pltf.'s Decl. of Domicile, filed 8/7/13 (dkt. no.
     2) DENYING PLAINTIFF'S OBJECTIONS                         500), at ¶ 1.]
   TO THE MAGISTRATE JUDGE'S FINDINGS
    AND RECOMMENDATION TO GRANT IN                             On September 13, 2013, JAL filed its Motion to Dismiss
     PART AND DENY IN PART DEFENDANT                           Plaintiff Jack Crawford's Complaint for Lack of Subject
         JAPAN AIRLINES' MOTION FOR                            Matter Jurisdiction (“Motion to Dismiss”). [Dkt. no. 510.]
    ATTORNEY'S FEES AND ADOPTING THE                           JAL argued that there was no diversity of citizenship
      FINDINGS AND RECOMMENDATION                              in this case because, at the time Crawford filed the
                                                               Complaint, he was an expatriate residing in Thailand,
LESLIE E. KOBAYASHI, District Judge.                           and therefore he was “stateless” for purposes of diversity
                                                               jurisdiction. On December 31, 2013, this Court issued
 *1 On January 21, 2014, the magistrate judge filed
                                                               an order granting the Motion to Dismiss (“Dismissal
the Findings and Recommendation to Grant in Part
                                                               Order”). [Dkt. no. 528.] Although this Court found that


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it was not necessary to determine exactly where Crawford       to Dismiss. [EO, filed 9/12/13 (dkt. no. 512).] Thus, the
was domiciled at the time he filed the Complaint, this         magistrate judge issued the HACS F & R and the JAL F
Court found that Crawford failed to identify a genuine         & R after the Dismissal Order.
issue of material fact as to the issue of whether Alabama
was his domicile. This Court therefore concluded that          In the HACS F & R, the magistrate judge recommended
there was no federal diversity jurisdiction over this case     granting the HACS Fee Motion in part and denying
from the outset.                                               it in part. The magistrate judge recommended reducing
                                                               the requested award of $12,796.79 to $7,972.61. In the
On January 18, 2013, well before this Court ruled              JAL F & R, the magistrate judge recommended reducing
that it did not have subject matter jurisdiction over          the requested award of $74,441.48 in attorneys' fees and
Crawford's case, Crawford filed his “Motion for Sanctions      $4,947.12 in costs to $52,511.02 in attorneys' fees and
Against JAL Defendants, HACS, Carlsmith Ball, Certain          $4,580.87 in costs.
Carlsmith Ball Attorneys, and Carl Osaki” (“Sanctions
Motion”). 3 [Dkt. no. 405] Crawford asked this Court to        The instant objections followed.
“impose appropriately severe sanctions under Rule 11 of
the Federal Rules of Civil Procedure, 28 U.S.C. § 1927
and the Court's inherent authority to sanction bad faith                             STANDARD
litigation, and also refer the responsible attorneys to the
Hawaii State Bar and the Bar of this Court for appropriate     This district court reviews a magistrate judge's findings
disciplinary action.” [Mem. in Supp. of Sanctions Motion       and recommendations regarding an award of attorneys'
at 4.] This Court denied the Sanctions Motion in a May         fees under the following standard:
31, 2013 order (“Sanctions Order”). [Dkt. no. 453 . 4 ]
                                                                 When a party objects to a magistrate judge's findings
This Court found that, to the extent that the Sanctions
                                                                 or recommendations, the district court must review
Motion was based on Crawford's qualification to fly,
                                                                 de novo those portions to which the objections are
that issue had not been fully litigated, and Crawford's
                                                                 made and “may accept, reject, or modify, in whole
argument that Defendants' position was frivolous was
                                                                 or in part, the findings or recommendations made by
premature. This Court also found that his “request for
                                                                 the magistrate judge.” 28 U.S.C. § 636(b)(1); see also
Rule 11 sanctions [was] both procedurally defective and
                                                                 United States v. Raddatz, 447 U.S. 667, 673 (1980);
substantively specious” and denied the request. Sanctions
                                                                 United States v. Reyna–Tapia, 328 F.3d 1114, 1121 (9th
Order, 2013 WL 2420715, at *7. Further, this Court
                                                                 Cir.2003) (en banc) (“[T]he district judge must review
concluded that Crawford failed to meet “the more
                                                                 the magistrate judge's findings and recommendations de
stringent subjective bad faith standard” of § 1927 and that
                                                                 novo if objection is made, but not otherwise.”).
sanctions pursuant to this Court's inherent power were not
warranted. Id. at *8–9.                                          Under a de novo standard, this Court reviews “the
                                                                 matter anew, the same as if it had not been heard before,
 *2 Based on its findings that Crawford failed to comply         and as if no decision previously had been rendered.”
with Rule 11's procedural requirements and that the              Freeman v. DirecTV, Inc., 457 F .3d 1001, 1004 (9th
Sanctions Motion was “substantively without merit,” this         Cir.2006); United States v. Silverman, 861 F.2d 571,
Court concluded that “Defendants, and any additional             576 (9th Cir.1988). The district court need not hold a
sanctions targets, are the prevailing parties” and, pursuant     de novo hearing; however, it is the court's obligation
to Fed.R.Civ.P. 11(c)(2), “these responding parties and          to arrive at its own independent conclusion about
counsel are entitled to their reasonable attorneys' fees         those portions of the magistrate judge's findings or
resulting directly from Plaintiff's filing, in an amount         recommendation to which a party objects. United States
sufficient to deter repetition of such conduct.” Id. at *9.      v. Remsing, 874 F.2d 614, 616 (9th Cir.1989).
Pursuant to the Sanctions Order, JAL and HACS each
filed a motion for attorneys' fees (“JAL Fee Motion” and       Valencia v. Carrington Mortg. Servs., LLC, Civil No. 10–
“HACS Fee Motion”) on June 24, 2013. [Dkt. nos. 469,           00558 LEK–RLP, 2013 WL 3223628, at *5 (D. Hawai‘i
470.] The magistrate judge deferred ruling on the motions      June 25, 2013).
for attorneys' fees pending the disposition of the Motion


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                                                               “DEFENDANTS AND THEIR COUNSEL” [id. at 34].
                                                               These indicate that Crawford only sought § 1927 and
                     DISCUSSION
                                                               inherent authority sanctions against HACS and HACS's
I. Whether Crawford Sought Sanctions Against HACS              counsel.
At the outset, the HACS Objections argue that the
magistrate judge should not have considered the HACS           In its Response to the HACS Objections, HACS argues
Fee Motion because Crawford never sought Rule 11               that the Sanctions Motion did seek Rule 11 sanctions
sanctions against HACS or HACS's counsel. In the               against it and its counsel. [Response to HACS Objections
Sanctions Order, this Court denied Crawford's request for      at 3–4 (quoting Mem. in Supp. of Sanctions Motion at 4,
Rule 11 sanctions in its entirety, 2013 WL 2420715, at *7,     30, 37).] The first passage that HACS relies on stated:
and awarded attorneys' fees pursuant to Rule 11(c)(2) to,
                                                                           “Given (a) the severity of the
inter alia, HACS and HACS's counsel:
                                                                           collusive misconduct by Defendants
            *3 The Court finds that Plaintiff                              and their counsel, (b) that
           failed to comply with the procedural                            the attorneys involved are all
           requirements of Rule 11 and that the                            experienced, senior attorneys, and
           Plaintiff's Motion is substantively                             (c) the evidence of calculated,
           without merit. The Court therefore                              deliberate bad faith and utter lack
           concludes that Defendants, and any                              of concern for the consequences
           additional sanctions targets, are                               of their misconduct, the Court
           the prevailing parties. Accordingly,                            should impose appropriately severe
           these responding parties and counsel                            sanctions under Rule 11 of the
           are entitled to their reasonable                                Federal Rules of Civil Procedure,
           attorneys' fees resulting directly                              28 U.S.C. § 1927 and the Court's
           from Plaintiff's filing, in an amount                           inherent authority to sanction bad
           sufficient to deter repetition of such                          faith litigation....
           conduct....
                                                               [Mem. in Supp. of Sanctions Motion at 4.] Similarly, the
Id. at *9. Thus, Crawford's first objection to the HACS F      conclusion of the Sanctions Motion argued:
& R is essentially an untimely objection to the Sanctions
                                                                           Plaintiff's motion for an order
Order, which this Court filed on May 31, 2013. See Local
                                                                           levying sanctions, pursuant to Rule
Rule LR60.1 (stating that motions asserting “[m]anifest
                                                                           11 of the Federal Rules of Civil
error of law or fact” pursuant to subsection (c) “must be
                                                                           Procedure, 28 U.S.C. § 1927 and
filed not more than fourteen (14) days after the court's
                                                                           the Court's inherent authority,
written order is filed.”). Although Crawford filed the
                                                                           against the JAL Defendants, HACS,
HACS Objections on February 4, 2014, this Court, in its
                                                                           Carlsmith Ball, Anna M. Elento–
discretion, will still consider Crawford's argument.
                                                                           Sneed, Andrew Pepper, Steven
                                                                           Egesdal, Matthew M. Matsunaga
According to the pertinent section headings in the
                                                                           and Carl Osaki, should be granted in
Sanctions Motion, Crawford asked this Court to
                                                                           its entirety....
impose: Rule 11 sanctions “JOINTLY ON THE JAL
DEFENDANTS, CARLSMITH BALL AND ANNA                            [Id. at 37.] These passages do not indicate that Crawford
M. ELENTO–SNEED;” [Mem. in Supp. of Sanctions                  sought Rule 11 sanctions against HACS and HACS's
Motion at 18 (emphasis in original);] sanctions pursuant       counsel. They are merely summaries of his arguments for
to 28 U.S.C. § 1927 against “CARLSMITH BALL                    sanctions in general, and Rule 11 was only one basis of his
AND CARLSMITH BALL PARTNERS ANDREW                             request for sanctions.
PEPPER, STEVEN EGESDAL AND MATTHEW
MATSUNAGA, AND UPON HACS ATTORNEY                              *4 HACS also relies upon the section of the Sanctions
CARL OSASKI [sic];” [id. at 30;] and sanctions                 Motion discussing the “Appropriate Rule 11 Sanctions.”
pursuant to this Court's inherent authority against


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Crawford stated, “Defendants and their counsel have              misapprehension that it had jurisdiction.” Willy v.
unwaveringly insisted that their reason and basis for            Coastal Corp., 503 U.S. 131, 137 (1992); In re Exxon
terminating Crawford was precisely that ..., as Carlsmith        Valdez, 102 F.3d 429, 431 (9th Cir.1996).
Ball attorney Matsunaga put it, Crawford had ‘lost his
license to fly.’ “ [Mem. in Supp. of Sanctions Motion            Because the imposition of Rule 11 sanctions is a
at 30 (emphasis added).] Although in portions of the             collateral matter that does not involve judgment on the
Sanctions Motion, Crawford used the term “Defendants”            merits of an action, a district court does not adjudicate
to refer to JAL, JALways, and HACS and the term                  the merits of a “case or controversy” over which it lacks
“JAL Defendants” to refer to JAL and JALways, see,               jurisdiction by imposing sanctions. Willy, 503 U.S. at
e.g., Mem. in Supp. of Sanctions Motion at 2, the                138. District courts have the authority to determine
quotation that HACS relies upon in its Response to               whether an attorney abused the judicial process and
the HACS Objections appeared in section III.C., which            assess appropriate sanctions. Id.
was titled “Appropriate Rule 11 Sanctions,” id. at 28.
                                                               [JAL F & R at 4–5.] In the JAL Objections, Crawford
The previous two sections were III.A., “THE COURT
                                                               argues that Willy is inapplicable to the instant case
SHOULD IMPOSE RULE 11 SANCTIONS JOINTLY
                                                               because the instant case “involves only a prevailing party
ON THE JAL DEFENDANTS, CARLSMITH BALL
                                                               fee award under Rule 11(c)(2) and does not involve a Rule
AND ANNA M. ELENTO–SNEED,” and III.B., “The
                                                               11(b) sanction.” [JAL Objections at 3 (emphasis omitted).]
JAL Defendants and their Attorneys Violated Rule
                                                               Crawford, however, cites no case law supporting such a
11.” [Id. at 18, 24 (emphasis in original).] Thus, while not
                                                               narrow interpretation of Willy.
the model of clarity, it appears that Crawford used the
term “Defendants” in III.C. to refer to JAL and JALways.
                                                               *5 Crawford argues that:

Based on further review of the Sanctions Motion, this                      Other cases finding that district
Court concludes that Crawford did not seek Rule 11                         courts properly exercise jurisdiction
sanctions against HACS and HACS's counsel, and this                        to award attorneys' fees where
Court erroneously awarded attorneys' fees pursuant to                      subject matter jurisdiction is
Rule 11(c)(2) to HACS and HACS's counsel. This                             found to have been lacking
Court therefore WITHDRAWS the award of attorneys'                          are generally limited to instances
fees to HACS and HACS's counsel. In light of the                           involving    statutory    provisions
withdrawal, this Court GRANTS the HACS Objections                          specifically authorizing an award
and REJECTS the HACS F & R.                                                of attorneys' fees where subject
                                                                           matter jurisdiction is lacking, i.e.
                                                                           improvident removal pursuant to 28
II. Jurisdiction
                                                                           U.S.C. § 1447(c).
As a threshold matter in the JAL Objections, Crawford
argues that this Court does not have the authority to          [JAL Objections at 3–4 (citing Moore v. Permanente
award “statutory prevailing party attorneys' fees” because     Medical Group, Inc., 981 F.2d 443 (9th Cir.1992); Mints
this Court has ruled that it does not have subject matter      v. Education Testing Service, 99 F.3d 1253 (3d Cir.1996)).]
jurisdiction over Crawford's Complaint. [JAL Objections        Although Willy involved an action that the Fifth Circuit
at 2.]                                                         Court of Appeals held was improperly removed, 503 U.S.
                                                               at 132–33, the United States Supreme Court did not rely
In finding that he could address the JAL Fee Motion, the       on § 1447(c) in holding that the district court had the
magistrate judge stated:                                       authority to impose Rule 11 sanctions. Ultimately, the
                                                               Supreme Court held that:
  The Supreme Court has held that although a final
  determination of lack of subject matter jurisdiction                     The interest in having rules
  precludes all further adjudication of a case in federal                  of    procedure   obeyed    ...
  court, “such a determination does not automatically                      does not disappear upon a
  wipe out all proceedings had in the district court at                    subsequent determination that
  a time when the district court operated under the                        the court was without subject-


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            matter jurisdiction.... [T]here is                    *6 Crawford's next objection is that the magistrate judge
            no constitutional infirmity under                    should have excluded the attorneys' fees and costs incurred
            Article III in requiring those                       in responding to: his request for § 1927 sanctions; his
            practicing before the courts to                      request for sanctions pursuant to this Court's inherent
            conduct themselves in compliance                     authority; his request for sanctions against Carlsmith
            with the applicable procedural rules                 Ball; and his request for sanctions against Elento–Sneed.
            in the interim, and to allow the                     Crawford is correct that the award of attorneys' fees was
            courts to impose Rule 11 sanctions                   limited to the fees incurred in responding to the request
            in the event of their failure to do so.              for Rule 11 sanctions, as opposed to responding to the
                                                                 § 1927 or inherent powers request. Crawford, however,
Id. at 139. Thus, this Court had the authority to enforce        has not identified any specific hours of the fee request
the rules of procedure during the pendency of this case          that were attributable solely to the § 1927 issue or the
even though this Court ultimately ruled that it did not          inherent powers issue. Further, this Court concludes that
have subject matter jurisdiction over the case. This Court       a percentage apportionment of fees attributable only
therefore DENIES Crawford's objection that this Court            to the Rule 11 request is not warranted in this case
lacks jurisdiction to award attorneys' fees to JAL pursuant      because Crawford's requests for sanctions, based on three
to Fed.R.Civ.P. 11(c)(2).                                        different legal theories, shared the same factual basis.
                                                                 See, e.g ., Mem. in Supp. of Sanctions Motion at 2
                                                                 (arguing that JAL, JALways, HACS, and their respective
III. Objections to the Calculation of the Total Award
                                                                 counsel, “have defended this wrongful termination action
Crawford argues that the magistrate judge failed to
                                                                 for nearly ten years on the grounds—now exposed as
evaluate the reasonableness of the work that JAL's
                                                                 utter fabricated—that the Japan Civil Aviation Bureau
counsel performed. This objection is DENIED because
                                                                 (the “JCAB”) revoked Plaintiff Capt. Jack Crawford's
the magistrate judge clearly reviewed the reasonableness
                                                                 pilot credentials and that Capt. Crawford was necessarily
of the hours reflected in the requested fee award within the
                                                                 terminated as a consequence”).
lodestar analysis.

                                                                 As to Crawford's argument that JAL is not entitled to
This Court next turns to Crawford's objection that
                                                                 fees attributable to responding to his request for sanctions
the magistrate judge's “award of $2,362.02 in tax and
                                                                 against Carlsmith Ball and against Elento–Sneed, this
$4,580.87 in costs, pursuant to Fed.R.Civ.P. 11(c)(2),
                                                                 Court notes that, during the events at issue in the
is unsupported and without a basis in law.” [JAL
                                                                 Sanctions Motion, Elento–Sneed was an attorney with
Objections at 7.] Rule 11(c)(2) states, in pertinent part: “If
                                                                 Carlsmith Ball, which represented JAL. JAL filed a single
warranted, the court may award to the prevailing party the
                                                                 memorandum in opposition to the Sanctions Motion,
reasonable expenses, including attorney's fees, incurred
                                                                 and the memorandum in opposition addressed both the
for the motion.” An award of reasonable costs is clearly
                                                                 request for sanctions against JAL and the request for
within the meaning of the term “reasonable expenses.”
                                                                 sanctions against JAL's counsel. Assuming, arguendo, that
Further, it is common practice in this district court to
                                                                 some of the award of attorneys' fees is due to JAL as
award the associated general excise tax with an award of
                                                                 reimbursement of attorneys' fees it paid and some of the
reasonable attorneys' fees. See, e.g., Hawaii Tapers Health
                                                                 award is due directly to JAL's counsel, that distribution is
& Welfare Fund v. B & A Builders Inc., Civ. No. 13–00208
                                                                 JAL's responsibility and is not grounds for Crawford to
JMS–RLP, 2014 WL 957457, at *5 (D. Hawai‘i Mar. 12,
                                                                 object to the award itself.
2014); Hawaii Glaziers Trust Funds v. Island Glazing, Inc.,
No. CV 13–00448 SOM–RLP, 2014 WL 819208, at *6 &
                                                                 This Court therefore DENIES Crawford's objection that
n. 4 (D. Hawai‘i Mar. 3, 2014); Au v. Republic State Mortg.
                                                                 the magistrate judge should have reduced the award of
Co., Civ. No. 11–00251 JMS–KSC, 2014 WL 770291,
                                                                 attorneys' fees to JAL to reflect only work on the Rule 11
at *9 (D. Hawai‘i Feb. 25, 2014). This Court therefore
                                                                 issue and should have excluded work on the request for
DENIES Crawford's objection to the legal basis for the
                                                                 sanctions against JAL's counsel.
recommended award of taxes and costs.




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Finally, Crawford objects to the recommended fee award          IV. Award in Favor of JAL
to JAL on the ground that the award should only be a            Having denied all of Crawford's objections to the JAL
minimal amount sufficient for deterrence. Fed.R.Civ.P.          F & R, this Court ADOPTS the JAL F & R in its
11(c)(4) states, in pertinent part:                             entirety. Further, this Court ORDERS Crawford to pay
                                                                fifty percent of the $57,091.89 total award ($28,545.94)
            A sanction imposed under this rule
                                                                and ORDERS Crawford's counsel to pay fifty percent of
            must be limited to what suffices
                                                                the $57,091.89 total award ($28,545.95). Michael Green,
            to deter repetition of the conduct
                                                                James Frechter, and Martin Sterenbuch shall be jointly
            or comparable conduct by others
                                                                and severally liable for the portion of the total award
            similarly situated. The sanction may
                                                                attributable to Crawford's counsel.
            include ..., if imposed on motion and
            warranted for effective deterrence,
            an order directing payment to the
            movant of part or all of the                                              CONCLUSION
            reasonable attorney's fees and other
            expenses directly resulting from the                On the basis of the foregoing, Crawford's Objections
            violation.                                          to the magistrate judge's Findings and Recommendation
                                                                to Grant in Part and Deny in Part Defendant Hawaii
 *7 Michael J. Green, Esq., James A. Frechter, Esq., and        Aviation Contract Services, Inc.'s Motion for Award of
Martin Sterenbuch, Esq., signed the Sanctions Motion.           Attorney's Fees, filed February 4, 2014, are HEREBY
[Sanctions Motion at 3.] Crawford's pro hac vice counsel,       GRANTED, and Crawford's Objections to the magistrate
Mr. Frechter and Mr. Sterenbuch, apparently authored            judge's Findings and Recommendation to Grant in Part
the Sanctions Motion, and Crawford's local counsel, Mr.         and Deny in Part Defendant Japan Airlines' Motion for
Green, argued the motion at the hearing before this Court.      Attorney's Fees, filed February 5, 2014, are HEREBY
[Trans. of 4/8/13 Hrg., filed 6/4/13 (dkt. no. 456), at 7       DENIED. This Court therefore REJECTS the magistrate
(Mr. Green states, “I agreed to argue this motion for           judge's HACS F & R and ADOPTS the magistrate judge's
counsel.”) .] Crawford submitted an extensive declaration       JAL F & R as the order of this Court.
in support of the Sanctions Motion.
                                                                This Court ORDERS Crawford's counsel to arrange the
Under the circumstances of this case, where the request for     transmission of the total award to JAL, through JAL's
Rule 11 sanctions was “procedurally defective,” as well as      counsel, by May 27, 2014.
“substantively specious” and “without merit,” Sanctions
Order, 2013 WL 2420715, at *7, *9, this Court finds that        There being no other pending matters, this Court directs
the recommended award of $52,511.02 in attorneys' fees          the Clerk's Office to enter judgment and close the case.
and $4,580.87 in costs, for a total award of $57,091.89,
is an appropriate amount to deter Crawford, Crawford's          IT IS SO ORDERED.
counsel, and other similarly situated parties and their
counsel, from filing similar motions. This Court therefore
DENIES Crawford's objection that the recommended                All Citations
award is more than is necessary for deterrence.
                                                                Not Reported in F.Supp.2d, 2014 WL 1326580



Footnotes
1      Where appropriate, this Court will refer to JAL and JALways collectively as “the JAL Defendants.” On December 3, 2010,
       the JAL Defendants filed a Supplemental Corporate Disclosure Statement stating that, “[a]s of December 1, 2010, JAL
       and JALways merged into a single Japan corporation, with JAL the surviving corporation.” [Dkt. no. 394.] Thus, JALways
       is not an active Defendant in this case.




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2     On November 14, 2007, the magistrate judge approved the parties' Stipulation for Complete Severance under
      Fed.R.Civ.P. 21 of Plaintiffs' Cases for All Purposes. [Dkt. no. 267.] Ventress's claims were adjudicated in CV 07–00581
      LEK–RLP.
3     The Carlsmith Ball firm represents JAL, and Mr. Osaki represents HACS.
4     The Sanctions Order is also available at 2013 WL 2420715.


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                             Tab 7
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                                                             award of attorneys' fees. “The law is clear that in suits
                                                             to compel one party to submit to arbitration ..., fees
                 2006 WL 2589114
                                                             are generally awarded if the ... party resisting arbitration
   Only the Westlaw citation is currently available.
                                                             did not have a ‘reasonable chance to prevail.” ’ Hires
            United States District Court,
                                                             Parts Service, Inc. v. NCR Corp., 859 F.Supp. 349, 355
           E.D. Texas, Sherman Division.
                                                             (N.D.Ind.1994), citing Chauffeurs, Teamsters and Helpers,
       Ralph S. DANIELS, Daniels Plant Food                  Local No. 765 v. Stroehmann Brothers, 625 F.2d 1092, 1094
        Inc., Carrie Lee Mahoney as Trustee of               (3d Cir.1980); International Association of Machinists v.
         RDR Trust and RDR Trust, Plaintiffs,                Texas Steel Co., 538 F.2d 1116, 1121 (5th Cir.1976).
                          v.
                                                             Here, the law is clear that the license agreement's broad
       PROGRESSIVE TURF, LLC, Defendant.
                                                             arbitration provision encompassed the Plaintiffs' claims
                    No. 4:05-CV-394.                         against the Defendant. Further, in 2004, the Plaintiffs filed
                            |                                a similar lawsuit against the Defendant under the license
                     Sept. 7, 2006.                          agreement on virtually identical grounds. Def. Mtn. to
                                                             Dismiss, p. 5, ¶ 17; Aff. of Richard B. Bradshaw, Jr.
Attorneys and Law Firms                                      (Attached to Def. Mtn. to Dismiss), p. 3, ¶ VI. That
                                                             lawsuit was referred to arbitration as well. Id. As such, the
Thomas Scott Smith, Smith & Smith, Sherman, TX, for          court finds that the Plaintiffs did not have a reasonable
Plaintiffs.                                                  chance of prevailing against the Defendant's motion to
                                                             dismiss.
Millard Othello Anderson, Jr., Millard Anderson
Attorney at Law, McKinney, TX, for Defendant.
                                                             Additionally, the license agreement provides as follows:

                                                                         11.7 Attorneys' Fees. In the event of
     MEMORANDUM OPINION AND ORDER                                        any action, suit or other proceeding
      GRANTING DEFENDANT'S MOTION                                        instituted to remedy, prevent or
      FOR AWARD OF ATTORNEYS' FEES                                       obtain relief from a breach of
                                                                         this Agreement, or arising out of
SCHELL, J.                                                               a breach of this Agreement, the
                                                                         prevailing party shall recover all of
 *1 Pending before the court is the Defendant's motion
                                                                         such party's reasonable attorneys'
for award of attorneys' fees (docket entry # 17).
                                                                         fees and costs, including expert fees,
Having considered the Defendant's motion, the Plaintiffs'
                                                                         incurred in each and every action,
response (docket entry # 18), the Defendant's reply
                                                                         suit or other proceeding, including
(docket entry # 19) and the Defendant's supplemental
                                                                         any and all appeals or petitions
affidavit (docket entry # 21), the court is of the opinion
                                                                         therefrom.
that the Defendant's motion for attorneys' fees should be
granted.                                                     Pls. Comp., Exh. A, p. 10, ¶ 11.7. The court finds
                                                             that the Defendant prevailed in its efforts to dismiss
                                                             the Plaintiffs' lawsuit. Accordingly, the Defendant is a
                  ATTORNEYS' FEES                            “prevailing party” entitled to an award of reasonable
                                                             attorneys' fees.
On December 2, 2005, the court granted the Defendant's
motion to dismiss and dismissed the Plaintiffs' case         “The determination of what is a ‘reasonable attorney's
with prejudice. The court concluded that (1) the license     fee’ is left to the discretion of the trial court.” Nelson,
agreement contained a valid agreement to arbitrate the       967 F.Supp. at 931. The computation of a reasonable
disputes between the Plaintiffs and the Defendant, and       attorneys' fee award is a two-step process. Rutherford v.
(2) the Plaintiffs' claims fell within the scope of the      Harris County, Texas, 197 F.3d 173, 192 (5th Cir.1999)
arbitration clause. The Defendant is now seeking an          (citation omitted). First, the court must utilize the


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“lodestar” analysis to calculate a “reasonable” amount
of attorneys' fees. Id. The “lodestar” is equal to the           1. Hours Expended
number of hours reasonably expended multiplied by the         The Defendant seeks $9,200.00 in attorneys' fees for 46
prevailing hourly rate in the community for similar work.     hours expended by its counsel, Millard O. Anderson,
Id. Second, in assessing the “lodestar” amount, the court     Jr. (“Anderson”). The Plaintiffs argue that Anderson's
must consider the twelve Johnson factors before final fees    affidavit is insufficient to support a claim for 46 hours
can be calculated. Id.                                        of work in that the affidavit fails to set forth any
                                                              details supporting the number of hours claimed. Anderson
*2 The Johnson factors are:                                   subsequently corrected the insufficiency by providing the
                                                              court with a detailed summary of the number of hours
            (1) time and labor required; (2)                  claimed. 1 The Plaintiffs did not file any objections to
            novelty and difficulty of issues; (3)             Anderson's detailed summary. After reviewing Anderson's
            skill required; (4) loss of other                 explanation of the number of hours billed, and in
            employment in taking the case; (5)                light of the fact that the Plaintiffs did not object
            customary fee; (6) whether the fee                to Anderson's detailed summary, the court finds that
            is fixed or contingent; (7) time                  Anderson expended a reasonable number of hours on this
            limitations imposed by client or                  case.
            circumstances; (8) amount involved
            and results obtained; (9) counsel's
            experience, reputation, and ability;                2. Prevailing Hourly Rate
            (10) case undesirability; (11) nature             Anderson seeks to be compensated at $200 per hour. The
            and length of relationship with the               Plaintiffs do not contest Anderson's hourly rate. Based
            client; and (12) awards in similar                on Anderson's level of experience, the court finds that the
            cases.                                            hourly rate submitted by Anderson is reasonable.

Id. at 192 n. 23, citing Johnson v. Georgia Highway           Accordingly, pursuant to the lodestar analysis, the
Express, Inc., 488 F.2d 714, 717-19 (5th Cir.1974).           attorneys' fees are $9,200.00.

After considering the twelve Johnson factors, the court
may adjust the “lodestar” upward or downward. Shipes          B. THE JOHNSON FACTORS
v. Trinity Indus., 987 F.2d 311, 320 (5th Cir.1993).          In analyzing the Johnson factors, the court finds that the
“If the plaintiff obtained limited success, the hours         requested fee is reasonable. The court further notes that
reasonably spent on the case times the reasonable hourly      the Plaintiffs did not object to Anderson's analysis of the
rate may be excessive.” Verginia McC v. Corrigan-             Johnson factors. Accordingly, the court will briefly review
Camden Independent School District, 909 F.Supp. 1023,         the Johnson factors.
1032 (E.D.Tex.1995)(Heartfield, J.). “[T]he most critical
factor” in determining the reasonableness of an attorney's
fee award “is the degree of success obtained.” Giles          1. Time and Labor
v. General Electric Co., 245 F.3d 474, 491 n. 31 (5th          *3 The time and labor expended on this relatively
Cir.2001), quoting Farrar v. Hobby, 506 U.S. 103, 114, 113    straightforward lawsuit was not excessive.
S.Ct. 566, 121 L.Ed.2d 494 (1992); see also Migis v. Pearle
Vision, Inc., 135 F.3d 1041, 1047 (5th Cir.1998). “ ‘The
                                                              2. Novelty and Difficulty of Issues
district court may attempt to identify specific hours that
                                                              This case was not particularly difficult. None of the issues
should be eliminated, or it may simply reduce the award
                                                              presented were novel or difficult.
to account for the limited success.” ’ Verginia McC, 909
F.Supp. at 1032, quoting Hensley, 461 U.S. at 436, 103
S.Ct. at 1941.                                                3. Skill Required
                                                              The court finds that counsel was adequately skilled and
                                                              otherwise qualified to pursue this case.
A. LODESTAR



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4. Preclusion of Other Employment                                 10. Undesirability of the Case
Counsel's work on this case did not preclude him from             This case was not undesirable.
accepting new employment opportunities.

                                                                  11. Nature and Length of the Professional Relationship
5. Customary Fee                                                  with the Client
This factor is part of the “lodestar” analysis and need not       Anderson has represented the Defendant since June 2001.
be considered again.

                                                                  12. Awards in Similar Cases
6. Whether the Fee is Fixed or Contingent                         This factor is not applicable to the instant action.
Counsel billed the Defendant at the hourly rate of $200.00.


7. Time Limitations Imposed by the Client or                                            CONCLUSION
Circumstances
Counsel was not burdened by any significant time                  Based on the foregoing, the Defendant's motion for award
limitations.                                                      of attorneys' fees (docket entry # 17) is GRANTED. The
                                                                  Defendant is awarded attorneys' fees in the amount of
                                                                  $9,200.00. The Plaintiffs shall tender payment of $9,200.00
8. Amount Involved and Results Obtained                           to counsel for the Defendant on or before October 6, 2006.
Counsel achieved the intended results for the Defendant,
i.e. dismissal of the Plaintiffs' lawsuit.                        IT IS SO ORDERED.

                                                                                    SIGNED this the 6th day of
9. Experience, Reputation and Ability of the Attorneys                              September, 2006.
The court has already considered this factor in
determining the “lodestar.”
                                                                  All Citations

                                                                  Not Reported in F.Supp.2d, 2006 WL 2589114


Footnotes
1      Defendant's counsel actually expended 47.5 hours on this case. However, counsel is apparently only seeking
       compensation for 46 of those hours.


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                             Tab 8
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                                                             cessation of the Fund's efforts to collect sums previously
                                                             paid to him. See Fralick v. Plumbers & Pipefitters Nat'l
                  2011 WL 487754
                                                             Pension Fund, 2010 WL 2563429, at *22 (N.D.Tex. June
   Only the Westlaw citation is currently available.
                                                             22, 2010) (Fitzwater, C.J.). The court also concluded that
            United States District Court,
                                                             the Fund's trustees abused their discretion in denying
                    N.D. Texas,
                                                             Fralick plan benefits. Id. at *19. Fralick moves for an
                  Dallas Division.
                                                             award of attorney's fees under ERISA § 502(g).
   Patricia Ann FRALICK as Executrix of the Estate
  of Fred Fulton Fralick, Plaintiff-counterdefendant,        Fralick requests attorney's fees totaling $114,475.00 for
                           v.                                the services of attorneys James M. Klancnik, Esquire
                                                             (“Klancnik”) and David S. Jones, Esquire (“D.Jones”),
     PLUMBERS AND PIPEFITTERS NATIONAL
                                                             and for the paralegal services of Brian C. Jones
    PENSION FUND, Defendant-counterplaintiff.
                                                             (“B.Jones”). Klancnik has been a practicing attorney
           Civil Action No. 3:09–CV–0752–D.                  since 1967 and currently maintains his own private
                             |                               practice, primarily involving employee benefits and
                       Feb. 11, 2011.                        executive compensation matters. According to Klancnik's
                                                             declaration, he handled the pleadings, discovery, and
Attorneys and Law Firms                                      pretrial motions related to this litigation. Fralick seeks
                                                             compensation for Klancnik's 177.75 hours of recorded
David Stanley Jones, Law Offices of David S.                 legal work, at the rate of $350.00 per hour, for a
Jones, James Michael Klancnik, Law Offices of                total of $62,212.50. D. Jones is a solo practitioner who
James M. Klancnik, P. C., Dallas, TX, for Plaintiff–         has handled employment and labor law matters since
counterdefendant.                                            1976. According to D. Jones's declaration, he researched,
                                                             drafted, consulted, and filed litigation documents and
Andrew G. Jubinsky, Joshua J. Iacuone, Figari &
                                                             served as the “litigation point person” and “lead attorney”
Davenport LLP, Dallas, TX, R. Richard Hopp,
                                                             for notification purposes. For D. Jones's legal services,
O'Donoghue & O'Donoghue LLP, Washington, DC, for
                                                             reportedly amounting to 133.75 hours at the rate of
Defendant–counterplaintiff.
                                                             $350.00 per hour, Fralick requests $46,812.50. B. Jones
                                                             worked for his father, D. Jones, as a legal assistant in
                                                             this case. According to D. Jones's declaration, B. Jones
     MEMORANDUM OPINION AND ORDER                            provided research, drafting, and cite-checking assistance.
                                                             Fralick requests fees for 54.5 hours of work performed
SIDNEY A. FITZWATER, Chief Judge.
                                                             by B. Jones, at the hourly rate of $100.00, for a total of
 *1 Following the court's decision granting plaintiff-       $5,450.00.
counterdefendant Fred Fulton Fralick (“Fralick”) relief
in this ERISA 1 action against defendant-counterplaintiff    The parties do not contest whether Fralick is entitled to
Plumbers and Pipefitters National Pension Fund (the          attorney's fees or that $350.00 per hour is a reasonable rate

“Fund”) under ERISA § 502, Fralick 2 applies for an          for an attorney of Klancnik's or D. Jones's experience. 3
award of attorney's fees. For the reasons that follow, the   And neither side requests an upward or downward
court grants the application to the extent of awarding the   adjustment to a properly computed lodestar. Instead, the
sum of $53,123.00 for the services of two attorneys and a    parties dispute whether all the time for which Fralick is
paralegal.                                                   seeking fees was adequately documented and reasonably
                                                             incurred.

                                                             The Fund maintains that Klancnik's invoices include
                            I                                hours that are unproductive, excessive, or redundant. It
                                                             specifically cites the number of hours that Klancnik spent
In the court's prior memorandum opinion and order, it
                                                             on clerical work, the complaint, the motion to compel,
held that Fralick is entitled to retirement benefits and
                                                             and the motion for judgment on the pleadings. The Fund



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also argues that Klancnik engaged in “block billing” and        F.3d 1448, 1459 (5th Cir.1995); see Bellaire Gen. Hosp. v.
that he did not sufficiently itemize the time expended on       Blue Cross Blue Shield, 97 F.3d 822, 833 (5th Cir.1996)
specific tasks, so that it is impossible to determine whether   (holding that district court abused its discretion by failing
the time actually spent on each task was reasonable.            to discuss Bowen factors and lodestar calculation method
The Fund posits that some entries are too vague and             in determining attorney's fees). 4 A court may award
that Klancnik's time entries are not sufficiently specific,     attorney's fees if an administrator abused its discretion in
using 15–minute increments instead of smaller units. The        denying benefits. See Vega v. Nat'l Life Ins. Servs., Inc.,
Fund also argues that the court should reduce the hours         188 F.3d 287, 302 (5th Cir.1999) (en banc).
included in Klancnik's fee request by 45% to account
for unproductive hours, block billing, and vague entries,       After determining whether attorney's fees are warranted,
make deductions for clerical work and excessive time spent      the court calculates how much it should award, using
on pleadings and pretrial motions, and award fees for only      the lodestar method. Under this method, the court
63.02 of the 177.75 requested hours.                            determines the “reasonable number of hours expended
                                                                on the litigation and the reasonable hourly rates for the
 *2 The Fund challenges D. Jones's time entries for             participating attorneys, and then multipl [ies] the two
similar reasons. It alleges that none of D. Jones's entries     figures together to arrive at the ‘lodestar.’ ” Wegner v.
gives a contemporaneous account of the amount of                Standard Ins. Co., 129 F.3d 814, 822 (5th Cir.1997) (citing
time expended. The Fund contends that D. Jones's                La. Power & Light Co. v. Kellstrom, 50 F.3d 319, 324 (5th
invoice relies on “terse and vague” descriptions of tasks       Cir.1995); Forbush v. J .C. Penney Co., 98 F.3d 817, 821
performed, and it merely provides a lump sum of all             (5th Cir.1996)). After determining the lodestar amount,
the time he spent on the case over a 17–month period,           the court may adjust the figure upward or downward after
without specifying the time he devoted to particular            assessing the twelve Johnson factors:
tasks. The Fund argues that the court should entirely
reject such “block billing” because it cannot evaluate the                  (1) the time and labor required for
reasonableness of the 133.75 claimed hours. The Fund                        the litigation; (2) the novelty and
challenges B. Jones's invoice for similar reasons, noting                   complication of the issues; (3) the
that his entries are identical to his father's on the days he               skill required to properly litigate the
reported work. The Fund maintains that the court should                     issues; (4) whether the attorney had
disallow the entire fee requested for D. Jones's and B.                     to refuse other work to litigate the
Jones's services.                                                           case; (5) the attorney's customary
                                                                            fee; (6) whether the fee is fixed or
Fralick responds that the Fund's arguments are misplaced,                   contingent; (7) whether the client
and he submits supplemental documents that provide                          or case circumstances imposed any
more specific accounts of the time expended on each task.                   time constraints; (8) the amount
                                                                            involved and the results obtained;
                                                                            (9) the experience, reputation, and
                                                                            ability of the attorneys; (10) whether
                             II
                                                                            the case was “undesirable;” (11) the
ERISA § 502, 29 U.S.C. § 1132(g)(1), permits the court,                     type of attorney-client relationship
in its discretion, to award a reasonable attorney's fee                     and whether that relationship was
to either party in an ERISA action. See, e.g., Salley                       long-standing; and (12) awards
v. E.I. DuPont de Nemours & Co. ., 966 F.2d 1011,                           made in similar cases.
1016 (5th Cir.1992). The court applies a twostep analysis
                                                                *3 Wegner, 129 F.3d at 822 n. 17 (citing Johnson v.
when awarding attorney's fees: “The court must first
                                                                Ga. Highway Express, Inc., 488 F.2d 714, 717–19 (5th
determine whether the party is entitled to attorneys' fees by
applying the five factors enumerated in Bowen. If the court     Cir.1974)). 5
concludes that the party is entitled to attorneys['] fees, it
must then apply the lodestar calculation to determine the
amount to be awarded.” Todd v. AIG Life Ins. Co., 47



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                                                                  indication that any hours of the 177.75 claimed were
                                                                  written off as redundant, unproductive, or excessive.
                              III
                                                                  Klancnik responds that he did exercise billing judgment
Because the Fund does not challenge Fralick's entitlement         but that, as a sole practitioner, he had no need to
to attorney's fees under the Bowen factors, the court will        document non-billable hours and he only recorded
not discuss its assessment of these factors at length and         hours he intended to bill. In other words, he maintains
                                                                  that he exercised billing judgment contemporaneously,
will instead turn to a determination of the lodestar. 6
                                                                  before recording his hours, reporting only time that he
                                                                  determined was productive, necessary, and not redundant.
As noted, see supra note 3, the $350.00 hourly rate for
Klancnik and D. Jones and the $100 hourly rate for B.
                                                                  The court finds that a percentage reduction is necessary
Jones are not at issue. The court therefore finds that these
                                                                  to reflect the lack of evidence of the exercise of billing
rates are reasonable, and it proceeds to analyze the hours
                                                                  judgment. A fee applicant must prove that he exercised
claimed. See Islamic Ctr. of Miss., Inc. v. City of Starkville,
                                                                  billing judgment. See Walker v. U.S. Dep't of Housing
876 F.2d 465, 469 (5th Cir.1989) (“When th[e] rate is
                                                                  & Urban Dev., 99 F.3d 761, 770 (5th Cir.1996). “Billing
not contested, it is prima facie reasonable.”); Cookston v.
                                                                  judgment requires documentation of the hours charged
Freeman, Inc., 1999 WL 714760, at *1 (N.D.Tex. Sept.14,
                                                                  and of the hours written off as unproductive, excessive,
1999) (Fitzwater, J.) (applying uncontested rate, except
                                                                  or redundant.” Saizan v. Delta Concrete Prods. Co., 448
where adjusted for clerical work).
                                                                  F.3d 795, 799 (5th Cir.2006); see Walker, 99 F.3d at
                                                                  769 n. 9 (quoting Alberti v. Klevenhagen, 896 F.2d 927,
The party seeking fees bears the burden of proving that
                                                                  930 (5th Cir.1990)) (recommending that fee applications
the hours claimed were reasonably expended on the
                                                                  document “not only hours claimed, but also hours written
litigation, and he can meet this burden only by presenting
                                                                  off”); Leroy v. City of Houston, 831 F.2d 576, 585 &
evidence that is adequate for the court to determine what
                                                                  n. 15 (5th Cir.1987) (holding that district court erred
hours should be included in the reimbursement. See Bode
                                                                  in accepting faulty records with no reduction of hours
v. United States, 919 F.2d 1044, 1047 (5th Cir.1990)
                                                                  and disapproving billing records that were “completely
(applying Supreme Court's placement of burden of proof
                                                                  devoid of any hours written off”). The Fifth Circuit has
on fee applicant in civil rights context to other contexts
                                                                  repeatedly determined that bald assertions regarding the
as “instructive”) (citing Hensley v. Eckerhart, 461 U.S.
                                                                  exercise of billing judgment are insufficient. See, e.g.,
424, 437, 103 S.Ct. 1933, 76 L.Ed.2d 40 (1982)); see also
                                                                  Saizan, 448 F.3d at 800 (concluding that fee applicant's
Kellstrom, 50 F.3d at 324 (quoting Hensley, 461 U.S. at
                                                                  arguments for neglecting to list unbilled time were
437) (stating that fee applicant should “ ‘maintain billing
                                                                  “unconvincing [ ]” and upholding reductions for lack of
time records in a manner that will enable a reviewing court
                                                                  billing judgment); Hopwood v. Texas, 236 F.3d 256, 279
to identify distinct claims' ”).
                                                                  (5th Cir.2000) (upholding reductions for lack of billing
                                                                  judgment where there was evidence of inadequate time
IV
                                                                  entries and duplicative work product, and finding that
                                                                  lead attorney's affidavit that he exercised billing judgment,
The court turns first to the fees requested for the
                                                                  without more, did not demonstrate abuse of discretion).
services of Klancnik. The Fund requests four categories of
deductions: a 15% reduction for lack of billing judgment,
                                                                   *4 Because Klancnik's declaration says nothing about
a 10% reduction for block billing, a 20% reduction for
                                                                  exercising billing judgment, he does not explain what
vagueness, and itemized reductions for excess hours spent
                                                                  efforts he undertook to exclude redundant, unproductive,
on “clerical work,” the complaint, the motion to compel,
                                                                  or excessive time. He avers that he “personally spent
and the Fed.R.Civ.P. 12(c) motion.
                                                                  177.75 hours on this matter.” D.App. 2 (emphasis added).
                                                                  This appears to contradict the assertion, first made in
                                                                  Fralick's reply brief, that the 177.75 hours represent the
                              A                                   total hours after Klancnik exercised billing judgment,
                                                                  rather than the total number of hours spent. 7 See P. Reply
The Fund argues that Klancnik has failed to show
                                                                  Br. 4 (alleging that there is no evidence of deductions
evidence of billing judgment. His invoice contains no


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made because Klancnik does not record unproductive                (Lindsay, J.) (citing Harolds Stores, Inc. v. Dillard Dep't
time or excessive time in his time records in the first place).   Stores, Inc., 82 F.3d 1533, 1534 n. 15 (10th Cir.1996));
Furthermore, “[s] tatements by counsel in briefs are not          accord Barrow v. Greenville Indep. Sch. Dist., 2005 U.S.
evidence.” Skyline Corp. v. NLRB, 613 F.2d 1328, 1337             Dist. LEXIS 34557, at *10 (N.D.Tex. Dec. 20, 2005)
(5th Cir.1980).                                                   (Fitzwater, J.) (citing Robinson v. City of Edmond, 160
                                                                  F.3d 1275, 1284 n. 9 (10th Cir.1998)), aff'd, 2007 WL
Having found that Fralick has failed to produce sufficient        3085028 (5th Cir. Oct.23, 2007). Klancnik engaged in
evidence that Klancnik exercised billing judgment, the            block billing. He may have itemized his tasks to a certain
court reduces Klancnik's overall fee request by 10%.              extent, providing some detail as to the various types of
Although there have been instances, as the Fund notes,            work performed on a particular day, but he did not itemize
where this court has imposed a greater percentage                 his time on a per-task basis.
reduction based on lack of billing judgment, see, e.g.,
Cookston, 1999 WL 714760, at *5 (reducing fee request              *5 Because Klancnik engaged in block billing, the court
by 15% for lack of billing judgment), the court is making         must next decide whether this warrants a percentage
other, taskspecific reductions below for excessive hours.         reduction in Fralick's fee request. A reduction for
See infra § IV(D). The court finds that the combination           block billing is not automatic. “Courts disfavor the
of these task-specific reductions in § IV(D) and the              practice of block billing because it impairs the required
percentage reduction imposed here sufficiently accounts           reasonableness evaluation. When time records are block
for excessive, unproductive, and redundant time.                  billed, the court cannot accurately determine the number
                                                                  of hours spent on any particular task, and the court is
                                                                  thus hindered in determining whether the hours billed
                                                                  are reasonable.” Barrow, 2005 U.S. Dist. LEXIS 34557,
                              B
                                                                  at *11. But “even a failure to provide contemporaneous
The Fund requests that the court reduce Klancnik's fees by        billing statements does not preclude an award of fees
10% for block billing. It points out that Klancnik reports        per se, as long as the evidence produced is adequate to
all of the tasks performed on a given day in a single entry,      determine reasonable hours.” Hollowell v. Orleans Reg'l
stating the daily total hours spent rather than specifying        Hosp. LLC, 217 F.3d 379, 392 n. 18 (5th Cir.2000)
the time spent per task. The Fund argues that, as a result of     (quoting Kellstrom, 50 F.3d at 325). Therefore, before
block billing, it is impossible to tell whether the 15 entries    reducing the fee request based on block billing, the court
of communication with cocounsel in January 2010 or the            must evaluate whether the applicant's evidence is adequate
time billed for travel to and from court on October 28,           to enable it to determine the reasonableness of the hours
2009 was reasonable. Klancnik responds that the Fifth             expended.
Circuit permits compensation for travel time at attorney
billing rates to account for the attorney's opportunity cost      The court finds that Klancnik's practice of block billing
in forgoing other legal work. Cf. In re Babcock & Wilcox          has impeded its ability to determine the reasonableness of
Co., 526 F.3d 824, 828–29 (5th Cir.2008) (noting that             his request. Klancnik's billing statement contains no more
courts have broad discretion to award travel time, such           than one entry per day, and it often groups several tasks
that while some courts compensate travel at full rate, it         under one entry. On some days, Klancnik's billing practice
was not abuse of discretion to reduce award by half).             is sufficient because he only performed one task on that
And he posits that he is justified under the work product         day related to this case. See, e.g., D.App. 4 (time entry
doctrine in not explaining the nature of his 15 entries for       reflecting that Klancnik expended 2.5 hours on 1/28/09
communications. Klancnik also contends that his record-           preparing exhibits to complaint and did nothing else on
keeping cannot be characterized as block billing.                 this case); id. at 5 (showing that Klancnik served the
                                                                  Secretary of Labor and Secretary of Treasury by certified
The term “block billing” refers to the “ ‘time-keeping            mail over the course of .75 hours on 5/15/09, and did
method by which each lawyer and legal assistant enters            nothing else); id. at 6 (reporting on 9/25/09 that Klancnik
the total daily time spent working on a case, rather than         spent 3.0 hours outlining the Rule 12(c) motion and
itemizing the time expended on specific tasks.’ ” Glass           performed no other work related to this lawsuit). For such
v. United States, 335 F.Supp.2d 736, 739 (N.D.Tex.2004)



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entries, the task would have a one-to-one correspondence         minute increments and of vague descriptions, such as
with the number of hours reported for that day.                  “phone conference with co-counsel” and “legal research.”
                                                                 The Fund alleges that a 20% deduction is appropriate
For many other entries, however, there are several tasks         because about 20% of the entries contain imprecise and
reported on a particular day, and the time reported for the      vague descriptions. Klancnik responds that this court has
day reflects the total time for all work performed. See, e.g.,   permitted billing in 15–minute increments and that it has
id. at 7 (reporting 2.75 hours for a single entry on 10/28/09    long been his practice to bill this way. Klancnik also
for “Hearing before Judge Ramirez; conf. with DJones             cites Cookston, 1999 WL 714760, at *3, contending that
and RHopp place tel. calls to DJones and Sam Zurik,              because this court has previously allowed some recovery
III; tel. conf. with Bob Lombardi; travel to and from            for entries that are even more vague than the ones at issue,
court”); id. at 8 (reporting 5.25 hours for a single entry       the court should also allow recovery here.
on 1/4/10 for “Tel Conf. with DJonesmotion to strike;
revising motion to strike or exclude evidence; outlining         The use of 15–minute increments is not prohibited per
response to motion for summary judgment”). Although              se, and the Fifth Circuit has expressly declined to decide
some block-billed entries contain sufficient information         whether it is. See Conoco, Inc. v. Director, Office of
to enable the court to assess the reasonableness of the          Worker's Compensation Programs, 194 F.3d 684, 692 (5th
time expended, 8 too many entries lump together tasks in         Cir.1999) (declining to opine on use of quarter-hour
such a way that it is impossible to tell whether, for any        increments, and affirming attorney's fees where quarter-
particular task, the number of hours spent and claimed           hour increments appeared to represent adequately the
was reasonable.                                                  work actually performed). This court has permitted fees
                                                                 based on such increments except where the task performed
 *6 For example, Klancnik reported his longest blocks            required so little time that 15 minutes appeared excessive.
of hours on 1/20/10 and 1/21/10. On each day, Klancnik           See, e.g., Young v. Sea Horse Venture IV, LLC, 2009
recorded 5.50 hours for drafting a reply, or reply brief, on     WL 614823, at *2 (N.D.Tex. Mar.10, 2009) (Lynn, J.)
the Rule 12(c) motion, teleconferencing with D. Jones, and       (finding that some tasks could easily have taken fewer than
“researching.” Id. at 8. The court cannot determine from         15 minutes and finding risk of overbilling unreasonable
such entries how much time was spent simply conferring           for that case); Sandoval v. Apfel, 86 F.Supp.2d 601, 615
about the Rule 12(c) motion or other matters, as opposed         (N.D.Tex.2000) (Fitzwater, J.) (concluding that quarter-
to drafting and researching the motion. It is conceivable        hour method was not excessive per se, but finding that
—even if unlikely—that Klancnik spent 4.50 hours each            quarter-hour billing was excessive for certain small tasks);
day conferring with co-counsel about the motion, and             compare Radiant Sys., Inc. v. Am. Scheduling, Inc., 2007
expended only a modest amount of time each day on                WL 582923, at *3 (N.D.Tex. Feb.23, 2007) (Solis, J.)
drafting and research. The point is that the court cannot        (reducing a .25–hour entry to a .10–hour entry because
how much time was spent on each task due to the use of           it involved a very short task) with Donihoo v. Dallas
                                                                 Airmotive, Inc., 1999 WL 740692, at *3 (N.D.Tex. Sept.15,
block billing. 9
                                                                 1999) (Solis, J.) (noting that billing in quarter-hour
                                                                 increments is an accepted, if regrettable, local practice
Given that some challenged entries are not block billed 10       and declining to apply “across-the-board” reductions for
and that the block-billed entries have fewer tasks per           general excessiveness). The court therefore declines to
day or shorter time increments per entry than some of            reduce the fee application based on the use of 15–minute
the more egregious examples of block billing found in            increments generally; instead, it will apply a percentage
various cases, 11 the court concludes that a 10% deduction       reduction for vagueness.
is sufficient.
                                                                  *7 Among the entries that reflect quarter-hour billing,
                                                                 several are too vague to determine whether the time
                                                                 expended was reasonable. As with similarly deficient
                              C
                                                                 entries in Cookston, several of the descriptions provide
The Fund also requests a 20% deduction for vague entries,        no explanation of the subject matter of the task or
and it challenges Klancnik's practice of billing in 15–          of what was done, thereby preventing the court from



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determining whether the time was reasonably expended.              There are 0 descriptions of research where the subject
See Leroy, 906 F.2d at 1080 (striking hours where record           matter of the research is not at least suggested elsewhere
notations were “not illuminating as to the subject matter”         in the entry. There are approximately 166 descriptions
or “vague as to precisely what was done”). Several of              involving correspondence in total (regardless whether they
the “telephone conference” entries provide no indication           specify subject matter), and the entries containing such
of the purpose of the communication. Compare D.App.                descriptions total about 133.5 hours. In addition, there are
8 (listing several descriptions stating, “Tel. confs. with         stand-alone entries for “organizing files, and “organizing
DJones,” without describing subject matter) with id. at 7          research,” for 1.0 and .50 hours, respectively, that the
(providing adequate description of subject matter in an            court finds vague. There are about 243 descriptions of
11/6/09 conference by explaining, “Tel. conf. with RHopp           tasks in total, for 177.25 total hours claimed for Klancnik.
re joint status report”). Many entries that list “research”        Based on the number of vague descriptions and the
tasks provide inadequate descriptions of subject matter,           inability to determine whether billing by the quarter-hour
as well. Compare id. (listing vague descriptions such as           is reasonable, the court applies a 10% reduction.
“researching cases” and “researching”) with id. at 4 (giving
sufficient description of subject matter by explaining,
“Researching Mello case” or “Researching suspension
                                                                                                D
of benefits”). Some reduction of the time requested in
these entries is necessary to account for vague descriptions        *8 The court now considers whether specific reductions
of communications and research-related entries and the             are necessary for excessive time spent on clerical work and
inability to determine whether those billed in 15–minute           drafting the complaint, the motion to compel, and the
increments were reasonable. 12                                     Rule 12(c) motion.

Klancnik maintains that the time entries for “research”
and for telephone conferencing that state no more than
                                                                                                1.
“tel. conf.” and the names of the people participating
are allowable under Cookston . The court disagrees. The            The Fund alleges that Klancnik has billed for clerical
court did not “allow” such entries in full in Cookston.            work such as preparing exhibits, serving and filing
The communication entries in Cookston were vague (e.g.,            proofs of service, organizing files, faxing drafts, telephone
“Telephone call to Cookston,” “Telephone call from                 conferences with an assistant, organizing research,
Sherry,” “Message Cookston”). But rather than disallow             telephone conferences with chambers regarding status,
the entire amount, the court applied reductions to permit          and emailing comments to co-counsel about the court's
a reasonably expected number of hours for conferring               opinion. It is especially notable that Klancnik billed 3.75
with co-counsel and the client during that stage of the            hours solely for preparing, assembling, and redacting
litigation. See Cookston, 1999 WL 714760, at *3 (adjusting         exhibits to the complaint. 14
entries with vague entries to 0.25 hours, but keeping intact
entries that specified subject matter to justify time spent,       Klancnik offers three reasons for billing this time at
such as “Telephone call to James re: discovery”). As the
                                                                   attorney rates: assembling exhibits to the complaint
court explained in Cookston, it “denie[d] or reduce[d]             required care because Fralick intended to file a motion
[attorney's] fees for all entries except those that specifically   for judgment on the pleadings; the exhibits were “replete
refer[red] to the complaint, discovery following the filing        with complete social security numbers,” and “care had
of the complaint, and judicial proceedings.” Id. Likewise,         to be taken to redact the social security numbers”; and,
in this case, the court applies a reduction to reflect the         “[a]s a solo practitioner with no secretarial employee,
number of descriptions that merely state “tel. conf.”              some tasks just fell to Klancnik.” P. Reply 6–7. Although
or “conf.,” without specifically referring somewhere in            Klancnik maintains that the time spent on exhibits
the entry to a court document, proceeding, or some                 should be allowed in full at attorney rates, he does
other indication of subject matter. 13 There are about             not appear to question the premise that serving and
28 descriptions involving correspondence that do not               filing proofs of service, organizing files, faxing drafts,
specify subject matter within the same entry. The entries          telephone conferences with an assistant, organizing
containing these descriptions involve a total of 8.5 hours.        research, telephone conferences with chambers regarding


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status, and emailing comments to co-counsel about the           The Fund alleges that the sum of 25.25 hours claimed
court's opinion should in the context of this case be           for the drafting of the complaint is excessive. It contends
considered clerical.                                            that, of the 59 paragraphs in the complaint, 40 are
                                                                simply factual descriptions of documents and events and
The court finds that Fralick is not entitled to recover fees    that the elements of the causes of action stated in the
at an attorney's rate for the clerical work in question. Even   remaining paragraphs are not complicated and novel.
assuming that Klancnik took special care in collecting the      Klancnik responds that pure notice pleadings are no
exhibits because he anticipated filing a Rule 12(c) motion,     longer sufficient under Bell Atlantic Corp. v. Twombly,
he has failed to explain how preparing, assembling,             550 U.S. 544, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007),
and redacting these documents required the services of          and Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 173
an attorney. It is not evident from the record what             L.Ed.2d 868 (2009), and that care was required in drafting
“prepar[ation]” was done to the exhibits other than             the complaint so that the suit could withstand a motion
affixing labels and redacting Fralick's social security         for more definite statement.
number, union membership number, and home address.
Although an attorney can render professional services in a      The court finds that the sum of 25.25 hours expended in
manner that is not apparent from the court's independent        drafting of the complaint is excessive. It is not apparent
review of a pleading, there are indications in the record       that Twombly and Iqbal made it particularly difficult
that Klancnik, a solo practitioner who lacked support           to draft the complaint in this case given the nature of
staff, was performing clerical work. One time entry states      Fralick's suit. Moreover, D. Jones seeks compensation for
that he spent 1.0 hour “[r]edacting and preparing exhibits      7.0 hours of work on the complaint, meaning that Fralick's
[to] complaint, notice etc.” D.App. 4 (4/16/2009 entry).        attorneys are seeking 32.25 hours of supposedly non-
And while handling personal information may require             redundant work (i.e., the equivalent of more than four
care, one need not be a lawyer to review documents              days of eight billable hours per day of work). The court
for the presence of social security numbers and home            finds that a total of 15 hours is reasonable for Klancnik's
addresses. This is the type of work that a professional         work in preparing the complaint.
clerical assistant can perform.

Klancnik also asserts generally that it was necessary that
                                                                                             3.
he perform clerical tasks himself because he is a sole
practitioner. But under Johnson and its progeny, this court
                                                                The Fund argues that the 7.13 hours requested 15 for
must distinguish between “legal work, in the strict sense,”
                                                                preparing the motion to compel should be reduced to 3.0
and clerical work “that a lawyer may do because he has
                                                                hours based on the fact that the 1½ page motion cites only
no other help available.” See Abrams v. Baylor Coll. of
                                                                the leading case on the issue of attorney-client privilege in
Med., 805 F.2d 528, 535 (5th Cir.1986) (citing Johnson,
                                                                the way of legal analysis and that the motion was denied.
488 F.2d at 717); see Johnson, 488 F.2d at 717 (“Such non-
                                                                The court notes that some of the hours counted toward
legal work may command a lesser rate. Its dollar value is
                                                                the Fund's total were not related to drafting the motion
not enhanced just because a lawyer does it.”).
                                                                to compel (i.e., the 10/28/09 entry for the hearing on the
                                                                motion to compel, which the Fund counted as 1.3 hours
 *9 Accordingly, the court finds that the following 7.0
                                                                toward the motion to compel, and the 12/30/09 entry
hours expended for clerical work should be compensated
                                                                on “Tel. confs. with DJones and RHopp; tel. conf. with
at the reduced hourly rate of $100: 1/28/09 (2.5 hours);
                                                                DJones re motion to strike evidence,” which the Fund
1/29/09 (.25 hours); 4/16/09 (1.0 hour); 4/24/09 (1.0 hour
                                                                counts as .25 hours toward the motion to compel). D.App.
of 1.5 claimed); 5/15/09 (0.75 hours); 5/19/09 (0.5 hours);
                                                                13–14. Disregarding these hours that do not appear to
and 6/1/09 (1.0 hour).
                                                                have been spent on the motion to compel, Klancnik would
                                                                have claimed 5.58 hours by the Fund's count. D. Jones
                                                                also requests compensation for an additional 1.75 hours,
                             2.                                 and B. Jones spent an additional 0.5 hours, 16 amounting
                                                                to a total of 7.83 hours to write and brief the motion
                                                                to compel. The court finds this to be excessive given the


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limited content of the motion and brief. The court finds      hours, leaving a balance of 159.92 hours. The court next
that 3.0 hours were reasonably expended by Klancnik.          applies a total percentage reduction of 30% from the
                                                              remaining amount that Klancnik has requested (159.92–
                                                              47.98 = 111.94). 17 Multiplying the result of 111.94 hours
                            4.                                times $350.00 per hour, the court finds that the sum of
                                                              $39,179.00 is reasonable for Klancnik's services.
The Fund maintains that Klancnik billed 56.48 hours
for drafting the Rule 12(c) motion and reply. It alleges
that the motion and reply were of poor quality and
                                                                                           V
failed to analyze any authority beyond the leading cases,
and it requests the court award only 40 hours. Fralick        The court now considers the fees requested for D. Jones.
responds that the Rule 12(c) motion was complicated by
the Fund's attempts to introduce material facts not in the
administrative record.
                                                                                           A
 *10 Given the nature of the motion and the issues
                                                              D. Jones's initial submission only listed his time
presented, the court cannot say that Klancnik's fee
                                                              expenditures in increments that spanned at least one entire
request is excessive of itself. But because D. Jones seeks
                                                              day and sometimes up to several months. He reported only
compensation for an additional 9.25 hours, and B. Jones
                                                              the total number of hours claimed for the lawsuit, without
an additional 12 hours, for work on the Rule 12(c)
                                                              specifying a per-activity accounting of his time. In reply
motion (for a total of 77.73 allegedly non-redundant hours
                                                              to the Fund's opposition response, D. Jones submitted a
devoted to the 12(c) motion), the court will address below
                                                              revised claim that reported the number of hours expended
whether their requests should be reduced.
                                                              each day and added several notes that highlighted where
                                                              hours had been deducted for duplicative work. D. Jones
                                                              maintains that his record-keeping was contemporaneous
                            5.                                with the work reported and that his earlier submission
                                                              omitted a daily accounting for the court's convenience.
As explained in § IV(D)(1)-(4), the court awards 7.0 hours
at the rate of $100 per hour, versus $350 per hour, for a
reduction of $1,750.00; reduces 25.25 hours for drafting
the complaint to 15 hours, for a reduction of 10.25 hours;                                 B
and reduces 5.58 hours to 3.0 hours for drafting the
                                                              First, the Fund objects to D. Jones's fee request on the
motion to compel, for a reduction of 2.58 hours. In order
                                                              ground that he is relying on “terse and vague” descriptions
to facilitate the computation of reductions in § IV(E), the
                                                              of the services rendered. The Fund cites entries such as
court converts the $1,750.00 rate reduction to its hourly
                                                              “telephone calls or conferences,” “emails,”, and “research
equivalent of 5 hours (i.e., 1,750.00 ÷ 350 = 5). The total
                                                              and evidence gathering,” contending they are too general
reduction is therefore 17.83 hours.
                                                              to demonstrate that the time expended was reasonable.
                                                              The court holds that D. Jones has not met his burden
                                                              of demonstrating the reasonableness of these hours.
                            E                                 The entry dated “6/20/09–9/5/09” contains a possible
                                                              explanation that the “Research and Evidence Gathering”
In sum, the court finds that Klancnik did not exercise        was for “Our Discovery/Their Discovery,” but the entry
billing judgment, that he block-billed in a manner that       itself is still impermissibly vague because it is grouped
affected the court's ability to assess the reasonableness     with a task described as “Correspondence (63 emails sent/
of the fees requested, that some of the descriptions          received and 42 telephone calls/conferences).” See Walker,
are too vague as to the nature of the task or that            99 F.3d at 773 (finding “woefully inadequate” terse listings
15–minute increments are excessive, and that certain          such as “library research,” “analyzing documents,” and
work performed is clerical or unreasonable given the          “phone interviews”). Bare descriptions, without any
nature of the service. The court subtracts 17.83 specific


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reference to content or purpose, do not demonstrate            devices do not excuse a fee applicant from providing
that the services were necessary and that the amount of        specific, contemporaneous descriptions of the nature of
time expended was reasonable. “The district court may          emails and telephone calls. D. Jones need not have
properly reduce or eliminate hours when the supporting         produced a voluminous record; it would have been
documentation is too vague to permit meaningful review.”       sufficient to provide details of the purpose or nature
Kellstrom, 50 F.3d at 326. Given that the entries describing   of each communication and of the time expended so
correspondence are “not illuminating as to the subject         that the court could determine the reasonableness of the
matter” and nearly all of the entries listing document         hours claimed. See Kellstrom, 50 F.3d at 325. D. Jones's
work are “vague as to precisely what was done,” 18 see id.     correspondence entries, spanning months of discussion on
(designating entries with such deficiencies as sufficiently    unspecified subject matter, fail to provide any indication
vague to merit reduction or elimination of hours), the         of the reasonableness of distinct claims.
court applies a 20% reduction.
                                                               Nevertheless, the court will not entirely reject D. Jones's
                                                               application. Although some of the entries are block-
                                                               billed (the correspondence entries are the most egregious
                             C                                 examples), others provide sufficient explanation of the
                                                               nature of the activities and of the time spent on a given
 *11 Second, the Fund challenges D. Jones's use of
                                                               task to enable the court to evaluate the reasonableness of
block billing. The Fund cites as especially deficient the
                                                               the time claimed. See, e.g., P. Reply App. 4 (noting, in an
entries describing time spent on telephone calls and
                                                               11/10/09 entry, 6.0 hours for the “Deposition of Freddy
emails. Instead of describing the purpose and time spent
                                                               Fralick,” and nothing more for the day). Furthermore,
on each, D. Jones includes a single entry for all email
                                                               most courts that have addressed block billing have
and telephone communication that occurred over periods
                                                               concluded that denying all block-billed attorney's fees is
spanning several months. See, e.g., D.App. 20 (reporting
                                                               not appropriate. See Bramlett v. Med. Protective Co., 2010
the dates “1/21/09–4/30/09” and describing the services
                                                               WL 3294248, at *3 (N.D.Tex. Aug.20, 2010) (Fitzwater,
as 25 emails and 16 calls for “Research and consulting,”
                                                               C.J.) (recounting cases that have addressed block billing
and reporting entries for “correspondence” dated “5/1/09–
                                                               and applied percentage reductions, typically in the range
6/16/09” and “6/20/09–9/5/09” and listing total number
                                                               of 10 to 30 percent, rather than disallowing fees entirely).
of emails and calls exchanged over period); id. at 21
                                                               Considering how other courts have addressed attorney's
(reporting entry date as “12/28/09” but covering span
                                                               fees requests under analogous circumstances, the court
of 10/12/09–12/28/09, and giving total of 151 emails and
                                                               finds that a 25% reduction is warranted.
83 calls exchanged); id. at 22 (reporting entry dated
6/28/10 but explaining that total of 87 emails and 38 calls
and conferences were made between 2/20/10–6/28/10). In
response, D. Jones submitted a revised statement listing                                   D
the number of hours spent on the case each day, but
declined to parse the email/correspondence entries into         *12 Third, the Fund argues that there is no evidence
individual entries. D. Jones posits that contemporaneous       that D. Jones exercised billing judgment by documenting
records exist for the block-billed correspondence entries,     unproductive, excessive, or redundant hours. In the billing
but that he chose to submit only a summary because he did      statement that D. Jones submitted initially, he only
not want to inconvenience the court with the production        mentioned “[n] ine hours administrative time not included
of hundreds of pages of email and telephone records.           in invoice total hours.” D.App. 20. In response to the
He also argues that there was “good reason” for the            Fund's opposition based on lack of billing judgment,
lumped records, pointing to the fact that he employed          D. Jones submitted a revised supplemental statement
a legal assistant who was studying abroad and “often           that added to four entries an asterisked note on the
unavailable,” and the fact that Klancnik, his co-counsel,      number of hours excluded for duplicative work. The
had no reliable email or cell phone until recently.            administrative time subtracted is not evidence of billing
                                                               judgment, however, because D. Jones should not have
The court is not persuaded by this reasoning. Problems of      included these hours anyway. But the asterisked notes
distance or of co-counsel's lack of reliable communication     indicating time subtracted for redundant work do provide



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some evidence of D. Jones's efforts to exclude redundant          interested persons on 4/27/09, when Klancnik had already
hours. Accordingly, the court will not reduce the fee             “reviewed and signed” the certificate on 4/16/09. And
request on this ground.                                           in this case, the certificate should have been relatively
                                                                  simple to prepare. It is also doubtful that it was reasonable
                                                                  for D. Jones to expend 7.0 hours on 4/24/09 to prepare
                                                                  the complaint when co-counsel had already “assembled
                              E
                                                                  exhibits” and “proof [ed],” “complet[ed] and sign[ed],”
Fourth, the Fund maintains that the hours claimed                 and “redact[ed],” and “prepar[ed] exhibits” a second
are excessive, given that D. Jones was working on                 time by 4/16/09. Given that Klancnik reported filing the
the same matters as Klancnik, and, according to the               complaint on 4/24/09 (requesting 1.5 hours at attorney
Fund, Klancnik's time expenditures were themselves                billing rates for doing so), it is unclear why it was necessary
excessive. In Fralick's reply brief, Klancnik and D. Jones        for D. Jones to devote another 7.0 hours on that same
acknowledge that Klancnik was “the primary draftsman              date (i.e., on the date of filing), and D. Jones's statement
of all pleadings and other documents leading up to                of services rendered provides no explanation. 19 In fact,
the Court's Judgment.” P. Reply 4. Furthermore, the               throughout the statement of services, D. Jones's entries
brief alleges that “Klancnik did not repeat any tasks             state no more than the names of documents, and the
already completed by [D.] Jones.” Id. Yet a comparison            explanatory footnote at the beginning of the statement
of Klancnik's hours with D. Jones's reveals a number of           merely advises the court to construe all such entries to
duplications. Compare D.App. 4 (claiming 25.25 hours for          mean “research, consulting, drafting, and filing” of the
preparation of complaint) with P. Reply App. 3 (claiming          named document. The court concludes from this that
7.0 hours for preparation of complaint, with no reductions        D. Jones has failed to demonstrate that his reported
for duplicative work); compare, e.g., D.App. 5 (claiming          hours were reasonable. The court cannot determine from
4.0 hours for preparation of answer) with P. Reply App.           the names of documents and the general description of
4 (claiming 3.5 hours for preparation of answer); compare         “research, consulting, drafting, and filing” the nature of
D.App. 6 (claiming 7.0 hours for preparing motion to              the services D. Jones rendered and whether they were
compel) with P. Reply App. 4 (claiming in a block-billed          duplicative of Klancnik's work as primary draftsman.
entry containing three other tasks 7.0 hours for preparing
motion to compel, with a reduction of 2.0 hours for                *13 “The court should exclude all time that is excessive,
duplicative work).                                                duplicative, or inadequately documented.” See Jimenez v.
                                                                  Wood Cnty., 621 F.3d 372, 379–80 (5th Cir.2010) (citing
Fralick has failed to show that the time expended by D.           Watkins v. Fordice, 7 F.3d 453, 457 (5th Cir.1993)). “
Jones on the complaint, the motion to compel, and the             ‘It is impermissible, however, to eliminate wholesale the
motion for judgment on the pleadings—i.e., the items              services of attorneys without identifying the particular
specifically challenged as excessive in Klancnik's billing—       services which are regarded as duplicative.’ “ Tasby
was not redundant and excessive. Accordingly, the court           v. Estes, 651 F.2d 287, 289–90 (5th Cir. Unit A July
reduces 7.0 hours from D. Jones's time for the complaint,         1981) (quoting Northcross v. Bd. of Educ., 611 F.2d
1.75 hours for the motion to compel, and 9.25 hours for           624, 637 (6th Cir.1979) (agreeing with Sixth Circuit's
the Rule 12(c) motion, for a total reduction of 18 hours.         observation)). Nevertheless, as noted in Tasby, in certain
                                                                  factual settings, “the use of a number of attorneys
The court is also unable to determine whether any of D.           frequently results in some duplication of effort, and
Jones's work was redundant generally. Although D. Jones           a district court may take this factor into account by
has shown that he exercised some billing judgment, the            deducting some small percentage of the total hours.” Id.
court cannot determine from the record whether these              at 289 & n. 1 (cautioning that panel does not require
reductions are adequate. D. Jones's vague descriptions of         a “small” percentage as a rule and explicitly permitting
services rendered, often stating no more than the name            district court to adjust percentage where duplication of
of the motion, do not indicate why a second lawyer was            effort is “not small”). As applied to D. Jones, the case
necessary for the legal service provided. For example, it         law counsels against disallowing the entirety of his claimed
is unclear why it was reasonable for D. Jones to bill an          fees, even though his records effectively prevent the court
additional 1.5 hours at attorney rates to file a certificate of   from reliably determining which particular hours were



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duplicative. Given that D. Jones's statement lists many        involved “research, citation-checking, and drafting.”
of the same documents claimed by Klancnik, however,            Compare P. Reply App. 3 with id. at 7. Fralick justifies
see D.App. 4–9; P. Reply App. 3–5 (listing in common           the similarity between D. Jones's and B. Jones's records on
the complaint, certificate of interested parties, Rule 12(c)   the ground that, as D. Jones's paralegal, B. Jones worked
motion and reply, answer to counterclaim, discovery            on the same matters on the same day as did D. Jones.
responses, motion for protective order, motion to compel,      Fralick argues that allowing B. Jones and/or D. Jones to
motion to strike, motion to exclude evidence and reply,        cut and paste one another's entries was “computer savvy”
response to motion for summary judgment), and applying         and “probably saved time” for both. P. Reply 6.
Fifth Circuit precedent that the number of attorneys
frequently results in some duplication of effort, the court
concludes that a percentage reduction of 30%.
                                                                                           B

                                                                *14 The court finds that Fralick has failed to
                             F                                 demonstrate that some of the time claimed by B. Jones
                                                               was reasonably expended. Because the descriptions in
The court finds that D. Jones's time should be reduced for     each of B. Jones's entries are merely copies of D. Jones's
the reasons explained. Starting from the total of 133.75       descriptions, the records of both suffer from the same
claimed hours, the court subtracts 18.0 hours for time         deficiencies. Moreover, the cut-and-paste method used
expended regarding the complaint, the motion to compel,        here exacerbates the deficiencies by introducing potential
and the Rule 12(c) motion. To this net figure of 115.75        inaccuracies through the non-contemporaneous copying
hours, it applies a 20% reduction for vague descriptions, a    of entries made by another, and by facilitating the use of
25% reduction for block billing, and a 30% reduction for       generic descriptions that do not distinguish between the
inadequate documentation to account for the possibility        distinct contributions of each person.
of duplicative work not reflected in the records, resulting
in 28.94 compensable hours (115.75–86.81 = 28.94 hours)        For the same reasons set out in § V regarding D. Jones,
and a fee award of $10,129.00 for D. Jones.                    the court concludes that it should reduce rather than
                                                               deny compensation for the services claimed by B. Jones.
                                                               As with D. Jones's records, B. Jones's time records are
                                                               unduly vague, block billed, and duplicative. The court
                            VI
                                                               will therefore make percentage reductions from the total
Finally, the court considers the fee request of paralegal B.   hours claimed. The court does not find that the paralegal
Jones.                                                         services of B. Jones are redundant of the legal services
                                                               that Klancnik expended on the complaint, the motion
                                                               to compel, or the motion for judgment of pleadings. It
                                                               will therefore make no reductions for work B. Jones
                             A                                 performed for these services. Additionally, the court will
                                                               make lower percentage reductions than it did for D. Jones
On the dates when B. Jones's billing statement reflects
                                                               because, for example, many more of B. Jones's entries
an entry, each contains a description of services that is
                                                               involve one document per day, and B. Jones's entries
essentially identical to the one reflected in D. Jones's
                                                               do not contain large blocks of time spanning months
records for that day. In response to the Fund's opposition
                                                               for correspondence tasks. And there is less risk that his
response that B. Jones's records are merely a “cut and
                                                               paralegal services are duplicative of the work performed
paste” of D. Jones's records, Fralick submits a more
                                                               by Fralick's lawyers.
detailed statement that reflects that the hours claimed for
B. Jones are different from those claimed for D. Jones and
                                                               Accordingly, starting from the total of 54.5 hours
that deductions had been made for duplicative research
                                                               claimed, the court applies a 10% reduction for vague
work. Also, whereas D. Jones's footnote alleges that every
document listed under “services rendered” represents           descriptions, 20 a 10% reduction for block billing, and a
“research, consulting, drafting, and filing,” B. Jones's       10% reduction for inadequate documentation to account
footnote states that all entries under services rendered       for the possibility of duplicative work not reflected in


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the records, resulting in 38.15 compensable hours (54.5               an adjustment to the lodestar under Johnson, see D. Resp.
                                                                      Br. 12; P. Reply Br. 8, the court finds that the fee award
—16.35 = 38.15 hours). Multiplied by the hourly rate
                                                                      should be based on the lodestar amount alone.
of $100, this results in a fee award of $3,815.00 for
the paralegal services of B. Jones. The court finds some
evidence of billing judgment, as documented by the
reductions in B. Jones's revised statement, and applies no                                          ***
reduction for lack of billing judgment.
                                                                      In summary, the court awards attorney's fees in the sum
                                                                      of $39,256.00 for Klancnik and the sum of $10,129.00 for
                                                                      D. Jones, and paralegal fees in the sum of $3,815.00 for
                              VII                                     B. Jones, for a total award of $53,200.00. Fralick shall
                                                                      recover this award from the Fund.
Given that the lodestar analysis already reflects
considerations raised by many of the Johnson factors, see
                                                                       *15 SO ORDERED.
Perdue v. Kenny A., 559 U.S. 542, 130 S.Ct. 1662, 1673,
176 L.Ed.2d 494 (2010), that a court must be careful not
to double-count a Johnson factor already reflected in the             All Citations
lodestar calculation, see Shipes v. Trinity Industries, 987
F.2d 311, 320 (5th Cir.1993), and that neither party seeks            Not Reported in F.Supp.2d, 2011 WL 487754


Footnotes
1      Employee Retirement Income Security Act of 1974, 29 U.S.C. §§ 1001–1461.
2      Fralick died while this motion was pending, and the court deferred a ruling on the motion until his executrix, Patricia Ann
       Fralick, was substituted in his place. For ease of reference, the court will refer to the plaintiff-counterdefendant as “Fralick.”
3      The Fund concedes that $350 is a reasonable hourly rate for attorney services. It does not appear to question that $100.00
       is a reasonable hourly rate for the paralegal services of B. Jones, and it offers no evidence that this rate is excessive.
       The Fund contends in a footnote that the same reasons for supporting a reduction of hours also justify reducing the
       rate, but it focuses its arguments on adjusting the number of hours in the lodestar calculation. It may be that the Fund
       has chosen not to contest the $100 hourly rate because it is arguing that B. Jones's hours should be entirely disallowed
       based on insufficient records. Regardless, the court finds this rate to be reasonable for someone of B. Jones's education
       and experience. See, e.g., EsNtion Records, Inc. v. Triton TM, Inc., 2010 WL 3446910, at *3 (N.D.Tex. Aug.31, 2010)
       (Lindsay, J.) (accepting $125 an hour rate for paralegal without further discussion where parties did not dispute rate).
4      The Bowen factors are:
             (1) the degree of the opposing parties' culpability or bad faith; (2) the ability of the opposing parties to satisfy an
             award of attorneys' fees; (3) whether an award of attorneys' fees against the opposing party would deter other
             persons acting under similar circumstances; (4) whether the parties requesting attorneys' fees sought to benefit all
             participants and beneficiaries of an ERISA plan or to resolve a significant legal question regarding ERISA itself; and
             (5) the relative merits of the parties' positions.
          Iron Workers Local No. 272 v. Bowen, 624 F.2d 1255, 1266 (5th Cir.1980). “No one of these factors is necessarily
          decisive, and some may not be apropos in a given case, but together they are the nuclei of concerns that a court
          should address in applying section 502(g).” Id.
5      The Supreme Court has subsequently “barred any use” of the sixth Johnson factor. See Rutherford v. Harris Cnty., 197
       F.3d 173, 193 (5th Cir.1999) (citing Walker v. U.S. Dep't of Housing & Urban Dev., 99 F.3d 761, 772 (5th Cir.1996)).
6      “It is an abuse of discretion for a district court to assess attorneys' fees without considering the factors announced in
       [Bowen ].” Lemon v. Liberty Life Assur. Co., 304 Fed. Appx. 273, 275 (5th Cir.2008) (per curiam). The Fund offers no
       evidence to counter Fralick's discussion of the Bowen factors, and it does not appear to contest that Fralick is entitled
       to attorney's fees. Cf. Baptist Mem'l Hosp.-DeSoto, Inc. v. Crain Auto. Inc., 392 F.3d 288, 299 (5th Cir.2010) (upholding
       award of attorney's fees where district court considered Bowen factors and defendant denied claim without any supporting
       evidence). The court has considered each of the Bowen factors in light of the Fund's response and has concluded that
       attorney's fees should be awarded.




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7     Moreover, the hours for which Klancnik seeks compensation call into question whether Klancnik adequately understands
      the concept of billing judgment. See Walker, 99 F.3d at 770. While the fee applicants in Walker at least attempted to
      deduct some time for matters not ultimately pursued or for non-legal expenses, Klancnik has failed to do even this, as
      evidenced by his inclusion of such minuscule tasks as a voicemail regarding a formatting correction, organizing files,
      faxing, and service of process, and by the high number of hours reported for tasks such as drafting the complaint and
      preparing/re-preparing exhibits (especially when viewed in light of the allegedly non-redundant hours spent by D. Jones
      and B. Jones on the same documents). See infra § IV(D)(2).
8     For example, the court could decide that Klancnik's 6/19/09 entry, which reports a total of .25 hours for “Tel. conf. DJones
      re discovery; returning client's call,” D.App. 5, is reasonable, even if the court cannot determine precisely what part was
      spent conferring with D. Jones or Fralick, respectively, or knowing the precise content of the conversations. The court
      could conclude that spending a total of 15 minutes on a particular day responding to a client and consulting with co-
      counsel about discovery matters is reasonable.
9     Klancnik's arguments regarding the work product doctrine and the compensability of travel time are misplaced. Even
      assuming, for example, that travel time is compensable, block billing impedes the court's ability to determine whether the
      portion of the total that comes from travel time is reasonable. And, as discussed above, there are other examples of how
      block billing has hindered Klancnik's ability to demonstrate the reasonableness of reported hours.
        Nor does the work product doctrine excuse the failure to carry the burden of proof of reasonableness. Klancnik could
        have done what fee applicants often do: present additional details in camera that explain the services rendered.
10    Of 139 entries, about 85 appear to be block-billed.
11    See, e.g., Barrow, 2005 U.S. Dist. LEXIS 34557, at *11 (illustrating egregiousness of block billing with sample entry
      containing over 14 tasks, and applying 20% reduction for block billing); Paris v. Dallas Airmotive, Inc., 2004 WL 2100227,
      at *9, *11 (N.D.Tex. Sept.21, 2004) (Lindsay, J.) (applying 40% reduction for block billing where entries were month to
      month). Cf. Walker, 99 F.3d at 773 (disallowing entirety of hours claimed by paralegal because she was “always lumping
      all of the day's activities together”).
12    The Fund appears to concede that the remainder of the entries (i.e., all entries other than those designating “tel. conf.”
      and “research” without subject matter descriptions) are not vague. See D.App. 11–16.
13    Although the court applied task-specific reductions in Cookston where all of the tasks in the block-billed entry involved
      short tasks, the court takes an overall percentage reduction approach in the instant case because Klancnik's block-billed
      entries group tasks of varying time commitments together, making task-specific reductions infeasible.
14    Additionally, there is one hour of block billing that contains the description “assembling exhibits” along with other non-
      clerical tasks. D.App. 4 (describing 2/25/09 entry).
15    The Fund calculates this number by adding up all of the entries that mention the motion to compel, plus some time spent
      on the hearing itself, and erroneously includes a “motion to strike evidence.” D.App. 11, 13. On days where there are
      tasks unrelated to the motion to compel that are block-billed with tasks related to it, the Fund appears to have multiplied
      the number of hours reported for the day by the fraction of the total number of tasks that involved work on the motion to
      compel, with the exception of the hearing on 10/28/09, which the Fund assigns the value of 1.3 hours. See id. at 13.
16    This follows the Fund's methodology of taking the total number of hours claimed and scaling the figure based on the
      proportion of tasks during the day spent on the motion to compel.
17    Fralick criticizes the methodology followed by various courts in the Fifth Circuit that determines the percentage reduction
      appropriate for each deficiency (e.g., 15% for vague entries and 10% for block-billing) and adds the reductions together
      to determine a total reduction to apply to the hours claimed (e.g., applying a 25% total reduction). See, e.g., Abner v.
      Kan. City S. Ry. Co., 541 F.3d 372, 377–78 (5th Cir.2008); Tyler v. Union Oil Co., 304 F.3d 379, 390 (5th Cir.2002);
      Barrow, 2005 U.S. Dist. LEXIS 34557, at *59. He requests that the court consider an alternate method that applies one
      percentage reduction after the other (e.g., applying a 15% reduction, and then applying a 10% reduction to the result,
      yielding a total reduction of 23.5%). Although this is a reasonable approach, the court will not deviate from the method
      followed by courts that have applied percentage reductions, because that method is also reasonable as well.
18    D. Jones includes one footnote at the beginning of the statement of services rendered that declares that each entry
      that lists a document name should be presumed to signify “research, consulting, drafting, and filing.” P. Reply App. 3.
      This is insufficient. Not only are some of the tasks listed in the footnote vague, this method of record-keeping introduces
      inaccuracies and is itself a form of block billing (i.e., reporting only the total time for multiple tasks, rather than itemizing
      time spent on each task).




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19    It is possible, of course, that this results from totaling the number of hours spent on the complaint and reporting all such
      hours on the date the complaint was filed. It is also conceivable that D. Jones was mistaken about the date when he
      performed the work. Regardless, such inaccurate record-keeping does not support awarding fees for this service.
20    As discussed above, the mere listing of names of documents and a blanket after-the-fact declaration that every entry
      reported involved “research,” “citation-checking,” and “drafting” is inadequate to apprise the court of the reasonableness
      of hours claimed for each task and the precise nature of the tasks done on a particular day.


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                             Tab 9
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1997 WL 53120

                                                                ordered the parties to meet and attempt to resolve their
     KeyCite Yellow Flag - Negative Treatment                   dispute. At that conference, several items were resolved.
Declined to Follow by In re Affiliated Foods Southwest, Inc.,
                                                                Nonetheless, Plaintiff continued to seek Rule 11 sanctions
Bankr.E.D.Ark., June 6, 2012
                                                                for Defendants' alleged failure to reasonably investigate
                   1997 WL 53120
                                                                the factual basis for their denials. After a hearing on the
    Only the Westlaw citation is currently available.
                                                                Rule 11 motion, held October 23, 1996, the undersigned
             United States District Court,
                                                                denied Plaintiffs' motion and held,
                     N.D. Texas,
                   Dallas Division.                                         In light of the complexity of the
                                                                            averments contained in Plaintiff's
        Lieutenant Evelyn HARMAN, Plaintiff,
                                                                            complaint, the Defendants' detailed
                            v.
                                                                            response to those allegations, and
     The CITY OF UNIVERSITY PARK; the Police                                the fact that no formal discovery
   Dept. of the City of University Park; City Manager                       has taken place, the undersigned
    Bob Livingston, individually and in his official                        finds Defendants' response to the
      capacity; Captain E.L. Holman, individually                           third amended complaint to be
    and in his Official Capacity; Captain Michael C.                        the product of an objectively
    Brock, individually and in his Official Capacity;                       reasonable legal and factual inquiry.
   Wayne Cook, individually; and Robert E. Hager;                           Furthermore, although it appears
 individually and in his Official Capacity, Defendants.                     that Plaintiff acted in good faith in
                                                                            bringing her Rule 11 motion, the
            Civil Action No. 3:94–CV–2450–P.                                time and expense expended on a
                              |                                             basic pleading issue in a two-year-
                        Feb. 3, 1997.                                       old case is of grave concern. The
                                                                            undersigned is especially troubled
                                                                            by the Plaintiff's determination to
      MEMORANDUM OPINION AND ORDER                                          pursue sanctions on issues resolved
                                                                            at the Dondi conference.
BOYLE, United States Magistrate Judge.
                                                                See Memorandum Opinion and Order, filed October
 *1 Pursuant to the District Court's Order of Reference,        19, 1996. The court further ordered that Plaintiff pay
filed December 13, 1996, came on to be considered               Defendants' attorneys' fees incurred after the face-to-face
Plaintiffs Objection to Defendants' Request for Attorneys'      Dondi conference. 1 Pursuant to the court's order, Lu
Fees Pursuant to Magistrate Judge's Memorandum                  Pham, attorney for the defendants, submitted an affidavit
Opinion and Order of October 29, 1996, filed December           detailing the hours spent on Plaintiffs' Rule 11 Motion.
2, 1996. At issue is whether Defendants' charges for            On December 2, 1996, Plaintiff filed her objections to
fees incurred in opposing Plaintiff's Rule 11 Motion            Defendants' expenses.
for Sanctions were reasonable. Having considered the
pertinent pleadings, the undersigned GRANTS in part
and DENIES in part Plaintiff's motion for the reasons that      II. Analysis
follow.                                                         Rule 11 was revised in 1993, and under the revision
                                                                the court may award reasonable expenses, including
                                                                attorney's fees, incurred in presenting or opposing
I. Background
                                                                a motion for sanctions to the prevailing party. 2
In the unsuccessful Rule 11 motion giving rise to the
                                                                Fed.R.Civ.P. 11(c)(1)(A); Fed.R.Civ.P. 11 Advisory
instant motion, Plaintiff Evelyn Harman challenged
                                                                Committee Notes; see Connecticut General Life Ins. Co.
the Defendants' Answer to Plaintiff's Third Amended
                                                                v. Thomas, 910 F.Supp. 297, 304–05 (S.D.Tex.1995). This
Complaint, arguing that the Defendants denied verifiable
                                                                award does not require a cross-motion for sanctions and is
facts and made frivolous legal arguments. Prior to a
                                                                available whether or not the original motion for sanctions
hearing on Plaintiff's Rule 11 Motion, the undersigned
                                                                itself violates Rule 11. See Equal Employment Opportunity


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Commission v. Tandem Computers Inc., 158 F.R.D. 224,          Pham. The court is aware of customary rates for attorneys
228 (D.Mass.1994); Williams v. General Motors Corp., 158      practicing in this district. Mr. Pham has practiced in
F.R.D. 510 (M.D. Georgia 1993).                               Texas for six years. See Aff. of Lu Pham. In hearings,
                                                              Mr. Pham was well-prepared and exhibited above average
 *2 In assessing the reasonableness of an attorneys' fees,    legal skills. The court finds Mr. Pham's customary billing
a court must first determine the reasonable number of         rate of $130 per hour to be reasonable in light of his
hours expended and the reasonable hourly rate for each        experience and skill.
participating attorney. Hensley v. Eckerhart, 461 U.S.
424, 433, 103 S.Ct. 1933, 76 L.Ed.2d 40 (1983). The           Second, Mr. Pham states that he expended 21.6 hours
multiplication of the hours by the hourly rate yield the      reviewing and responding to Plaintiffs' motion, and
lodestar. Id.; Brantley v. Surles, 804 F.2d 321, 325 (5th     preparing for and representing Defendants at the Rule 11
Cir.1986). It is within the discretion of the court to        hearing. See Aff. of Lu Pham. In her objection, Plaintiff
either accept the lodestar amount or adjust the lodestar      argues that this is an unreasonable amount of time. See
amount, depending upon the circumstances of the case.         Pl.'s Objection, pp. 2–3. On the whole, the court disagrees,
Riley v. City of Jackson, Miss., 99 F.3d 757, 760 (5th        as will be discussed below.
Cir.1996). The reasonableness of the time and rate, and the
appropriateness of any upward or downward adjustment,         The Billing Memorandum attached to Mr. Pham's
is guided by the following factors:                           affidavit includes an entry for 2.5 hours for “Meeting
                                                              with city representative to discuss response to Plaintiff's
  (1) the time and labor required,                            Motion for Sanctions and general trial strategy.” Aff. of
                                                              Lu Pham, exh. A. The undersigned awarded Defendants
  (2) the novelty and difficulty of the case,
                                                              expenses incurred in opposing Plaintiffs Rule 11 Motion
  (3) the skill required,                                     for Sanctions only. See Memorandum Opinion and Order,
                                                              filed October 29.1996. Time spent developing general trial
  (4) the preclusion of other employment,                     strategy is not included in the award. Furthermore, the
                                                              burden is on the fee applicant to prove the reasonableness
  (5) the customary fee,                                      of the number of hours expended and hourly rate. Riley,
                                                              99 F.3d at 760. Because the court is unable to determine
  (6) whether the fee is fixed or continent, 3
                                                              what percentage of the 2.5 hours was spent in opposing
                                                              Plaintiff's Rule 11 Motion, the award will be adjusted to
  (7) time limitations imposed,                               reflect the elimination of these hours. Louisiana Power
                                                              & Light Co. v. Kellstrom, 50 F.3d 319, 236 (5th Cir.),
    (8) the results obtained,                                 cert. denied,—U.S.—, 116 S.Ct. 173, 133 L.Ed.2d 113
                                                              (1995)(citing cases).
    (9) the experience, reputation and ability of the
    attorneys,                                                 *3 After making this adjustment, the court finds
                                                              that $2,483 (19.1 hours at $130 per hour) to be a
    (10) the undesirability of the case,
                                                              reasonable attorneys' fee award. The sanctions motion
    (11) the nature and length of the professional            arose out of a Answer to her 91 page Complaint was
    relationship with the client, and                         inadequate. Furthermore, Plaintiff's Rule 11 Motion
                                                              was itself 50 pages long, excluding exhibits, and was
    (12) awards in similar cases.                             further supplemented by Plaintiff's 56 page Report
                                                              to the Magistrate on Results of Dondi Conference.
  Johnson v. Georgia Highway Express, 488 F.2d 714,           Plaintiffs' Rule 11 motion stated that Defendants' pleading
  717–19 (5th Cir.1974).                                      responses were insufficient and was supported with
In light of the above factors, the court finds that           a paragraph-by-paragraph analysis. The motion itself
reasonable attorneys' fees in the amount of $2,483,           necessitated a time-consuming, detailed response. Mr.
representing the requested $2,808 reduced by $325, should     Pham's conduct at the hearing reflected this preparation,
be awarded to Defendants. First, the court finds that         including a willingness and ability to justify the challenged
$130 per hour is a reasonable rate for the services of Mr.


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responses in Defendants' Answer line-by-line if the court            III. Conclusion
so requested. Furthermore, it is reasonable that Mr. Pham            For the reasons stated above, the court ORDERS
would have endeavored to be thoroughly prepared, given               Plaintiff's former counsel, Ms. Ruth Kollman, to pay
his familiarity with the abilities of Plaintiff's attorney and       attorneys' fees in the amount of $2,483 to the Defendants.
her tendencies toward extensive and factually complex
allegations. The court therefore finds that 19.1 hours is
a reasonable amount of time to review and respond to                 All Citations
Plaintiff's Rule 11 Motion, and to prepare for the Rule 11
hearing.                                                             Not Reported in F.Supp., 1997 WL 53120




Footnotes
1      A motion for sanctions that crosses the line of vigorous advocacy into frivolous conduct is itself sanctionable. See Alliance
       to End Repression v. City of Chicago, 899 F.2d 582, 583–84 (7th Cir.1990). The court emphasizes that although its
       October 29, 1996 Order awarded attorneys' fees to the prevailing party, it did not sanction Plaintiff.
2      There was no such provision in Rule 11 prior to the 1993 amendment. The rule only provided that
           If a pleading, motion, or other paper is signed in violation of this rule, the court, upon motion or upon its own initiative,
           shall impose upon the person who signed it, a represented party, or both, an appropriate sanction, which may include
           an order to pay to the other party or parties the amount of the reasonable expenses incurred because of the filing
           of the pleading, motion, or other paper, including a reasonable attorney's fee.
         Fed.R.Civ.P. 11 (West 1992). As amended, Rule 11 provides,
           If warranted, the court may award to the party prevailing on the motion the reasonable expenses and attorneys' fees
           incurred in presenting or opposing the motion.
         Fed.R.Civ.P. 11(c)(1)(A) (West 1996).
3      The contingency nature of a plaintiff's case is no longer a relevant factor. City of Burlington v. Dague, 505 U.S. 557, 505
       U.S. 557, 112 S.Ct. 2638, 120 L.Ed.2d 449 (1992).


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                           Tab 10
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                                                                by Nevada Highway Patrol Officer Loren Lazoff (“Officer
                  2012 WL 3155137
                                                                Lazoff”). (Compl.¶¶ 11–13.) After the accident, Officer
    Only the Westlaw citation is currently available.
                                                                Lazoff approached the vehicle and a struggle ensued, as
             United States District Court,
                                                                Dr. Lazoff was in a dazed post-seizure state. (Id. ¶¶ 13–15.)
                     D. Nevada.
                                                                When Dr. Rich eluded Officer Lazoff's grasp and began
   Randy RICH, as personal representative of Ryan               heading toward oncoming traffic, Officer Lazoff found it
     Rich, deceased, and Nick Jensen and Tanya                  necessary to discharge his TASER Model X26 Electronic
   Jensen as guardians for R.J., a minor, Plaintiffs,           Control Device (the “ECD”) three times into Dr. Rich's
                                                                chest from a distance of about three to four feet, and then
                           v.
                                                                two additional times to Dr. Rich's right thigh before he
        TASER INTERNATIONAL, INC., and
                                                                was able to handcuff Dr. Rich with the help of a passerby.
         Does 1 to 10, inclusive, Defendants.
                                                                (Id. ¶¶ 16–18.) When Officer Lazoff returned to his patrol
                                                                vehicle to call an ambulance, the passerby informed him
             No. 2:09–cv–02450–ECR–RJJ.
                                                                the Dr. Rich was turning blue. (Id. ¶ 20.) Paramedics
                            |
                                                                transported Dr. Rich to Spring Valley Hospital where he
                      Aug. 2, 2012.
                                                                was pronounced dead. (Id. ¶ 21.)
Attorneys and Law Firms

John Burton, Law Offices of John Burton, Pasadena, CA,
                                                                                II. Procedural Background
Peter M. Williamson, Williamson & Krauss, Woodland
Hills, CA, John A. Snow, Vancott, Bagley, Cornwall &            Plaintiffs filed the Complaint (# 1) on December 30,
McCarthy, Las Vegas, NV, for Plaintiffs.                        2009, alleging the following five causes of action: (1)
                                                                Negligence; (2) Strict Product Liability; (3) Intentional
Damon R. Leichty, Barnes & Thornburg LLP, South
                                                                Misrepresentation; (4) Fraudulent Concealment and
Bend, IN, David T. Ballard, Barnes & Thornburg LLP,
                                                                Deceit; and (5) Negligent Misrepresentation. TASER filed
Chicago, IL, Peter M. Angulo, Olson Cannon, Gormley &
                                                                its answer (# 13) on April 26, 2010.
Desruisseaux, Las Vegas, NV, Holly L. Gibeaut, Michael
A. Brave, Taser International, Inc., Scottsdale, AZ, J.
                                                                On July 2, 2011, TASER filed three Motions in Limine
Curtis Greene, John R. Maley, Barnes & Thornburg LLP,
                                                                (50, 51, 52), seeking to exclude the testimony of Dr.
Indianapolis, IN, for Defendants.
                                                                Jerome Engel, Dr. Michael Wogalter, and Dr. Douglas
                                                                Zipes, respectively, and a Motion for Summary Judgment
                                                                (# 53).
                           Order

EDWARD C. REED, District Judge.                                 On January 25, 2012, TASER filed a Motion for Sanctions
                                                                (# 111) pursuant to Federal Rule of Civil Procedure 11
 *1 This case arises out of allegations that an                 and 28 U.S.C. § 1927 for failure to voluntarily dismiss the
Electronic Control Device produced by Defendant                 case. Plaintiffs filed their Response (# 114), which also
TASER International, Inc. (“TASER”) caused the death            requests Rule 11 sanctions against TASER, on February
of Dr. Ryan Rich. Now pending before the Court is               13, 2012. TASER replied (# 116) on February 23, 2012.
Defendant TASER's Motion for Sanctions (# 111). The
motion is ripe and we now rule on it.                           On March 30, 2012, we issued an Order (# 119) granting
                                                                TASER's Motions in Limine (50, 51) to exclude the
                                                                testimony of Drs. Jerome Engel and Michael Wogalter,
                                                                respectively, and denying TASER's Motion in Limine
                  I. Factual Background
                                                                (# 52) to exclude the testimony of Dr. Douglas Zipes.
On January 4, 2008, decedent Dr. Ryan Rich (“Dr.Rich”),         Further, we granted TASER's Motion for Summary
who had a history of seizure disorders, was driving on          Judgment (# 53) with regard to Plaintiffs' third, fourth,
Interstate–15 in Las Vegas, Nevada when he had a seizure        and fifth causes of action, and denied the motion
which resulted in several minor traffic collisions, witnessed   as to Plaintiffs' first and second causes of action for



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negligence and strict product liability. We further granted        statements. Himaka v. Buddhist Churches of Am., 917
TASER's Motion to Strike (# 109) and struck Dr. Zipes'             F.Supp. 698, 710 (N.D.Cal.1995) (quoting Kendrick v.
supplemental report (# 108–1) from the record.                     Zanides, 609 F.Supp. 1162, 1172 (N.D.Cal.1985)). The
                                                                   terms of Rule 11 are mandatory: where the certification
                                                                   required by Rule 11 has been violated, sanctions must be
                                                                   imposed. Golden Eagle Distrib. Corp. v. Burroughs Corp.,
                    III. Legal Standard
                                                                   801 F.2d 1531, 1536, 1540 (9th Cir.1986). The type and
A. Rule 11 Sanctions                                               amount of sanction, however, remain within the discretion
 *2 Federal Rule of Civil Procedure 11(b) provides that            of the Court. Id. Rule 11 does not inhibit the Court
by presenting or submitting any filing to the court,               from imposing sanctions, awarding expenses, or directing
                                                                   remedial action authorized under other rules or under 28
  an attorney ... certifies that to the best of the person's       U.S.C. § 1927. See Chambers v. NASCO, 501 U.S. 32, 48–
  knowledge, information, and belief, formed afer an               49, 111 S.Ct. 2123, 115 L.Ed.2d 27 (1991).
  inquiry reasonable under the circumstances:

  (1) it is not being presented for any improper purpose,          B. Section 1927 Sanctions
     such as to harass, cause unnecessary delay, or                Title 28 U.S.C. § 1927 provides that an attorney in federal
     needlessly increase the cost of litigation;                   court “who so multiplies the proceedings in any case
                                                                   unreasonably and vexatiously may be required by the
  (2) the claims, defenses, and other legal contentions            court to satisfy personally the excess costs, expenses,
     are warranted by existing law or by a nonfrivolous            and attorneys' fees reasonably incurred because of such
     argument for extending, modifying, or reversing               conduct.” This section is “concerned only with limited
     existing law or for establishing new law;                     the abuse of court processes” and is “indifferent to the
                                                                   equities of a dispute and to the values advanced by the
  (3) the factual contentions have evidentiary support or,
                                                                   substantive law.” Roadway Express, Inc. v. Piper, 447 U.S.
     if specifically so identified, will likely have evidentiary
                                                                   752, 762, 100 S.Ct. 2455, 65 L.Ed.2d 488 (1980). Under
     support after a reasonable opportunity for further
                                                                   prevailing Ninth Circuit law, a court must find that an
     investigation or discovery; ...
                                                                   attorney acted “recklessly or in bad faith” before imposing
For violations of Rule 11(b), Rule 11(c) further provides          costs and fees under § 1927. T.W. Elec. Serv., Inc. v. Pac.
that “[a] motion for sanctions must be made separately             Elec. Contractors Ass'n, 809 F.2d 626, 638 (9th Cir.1987).
from any other motion and 3 must describe the                      Frivolity does not of itself establish bad faith. Id. Finally,
specific conduct that allegedly violates Rule 11(b).”              “[n]otice and a hearing should precede imposition of a
FED.R.CIV.P. 11(c)(2). Rule 11(c)(2) further authorizes            sanction under § 1927.” Id.
the court to award the prevailing party reasonable
expenses, including attorney's fees, incurred for the
motion. Id. Rule 11 imposes an objective test. Zaldivar v.                                IV. Discussion
City of Los Angeles, 780 F.2d 823, 831 (9th Cir.1986).
                                                                   A. Defendant TASER's Motion for Sanctions (# 111)
Under this objective standard, “improper purpose” as set            *3 Defendant TASER argues that Plaintiffs have failed
forth in 11(b)(1) may be deduced where there is no legal           to produce evidence that establishes that TASER failed
or factual basis for a claim. See Huettig & Schromm,               to provide adequate warnings or that the TASER X26
Inc. v. Landscape Contractors, 790 F.2d 1421, 1427 (9th            ECD caused Dr. Rich's death and should therefore be
Cir.1986). For purposes of Rule 11(b)(2), a cause of               sanctioned for failing to dismiss the case voluntarily.
action is not warranted by law where no “plausible, good           TASER's arguments are completely without merit and
faith argument can be made by a competent attorney”                simply restate the arguments made in TASER's motion
in support of the proposition asserted. Zaldivar, 780              for summary judgment (# 53). In our March 30, 2012
F.2d at 829. Finally, under Rule 11(b)(3), a cause of              order (# 119) denying TASER's motion for summary
action is grounded in fact if an independent examination           judgment with regard to Plaintiffs' negligence and strict
reveals “some credible evidence” in support of a party's           liability claims, we found that Plaintiffs produced evidence



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sufficient to establish a genuine issue of material fact as     court may impose sanctions on its own initiative when
to whether the TASER's X26 ECD device caused Dr.                the Rule is invoked for an improper purpose.”) (footnote
Rich's cardiac arrest and whether TASER's failure to            and citation omitted). TASER's Motion for Sanctions
warn users against the danger of deploying the device           (# 111) is composed almost entirely of arguments that
at a target's chest area caused Dr. Rich's death. In that       Plaintiffs have not produced evidence of essential elements
order (# 119), we specifically relied upon Officer Lazoff's     of their claims—arguments that have already been made
testimony that he was instructed to fire the ECD at the         in TASER's Motion for Summary Judgment (# 53) and
chest area and that he was not made aware of any known          Motion in Limine (# 52) to exclude the testimony of
cardiac risks associated with the used of the ECD. (See         Dr. Douglas Zipes. TASER even includes the testimony
Order (# 119) at 18.) We also relied upon the testimony of      of its own expert, Dr. Mark Kroll, Ph.D., to refute Dr.
Plaintiffs' expert witness, Dr. Douglas Zipes, as evidence      Zipes' testimony. A Rule 11 motion is not a proper
that repeated discharges of an ECD into a target's chest        vehicle for arguing the merits of a case or refuting
can cause ventricular fibrillation and asystole. (Id. at        the testimony of an expert witness—“other motions are
20.) For these reasons, TASER's request for sanctions           available for those purposes.” FED.R.CIV.P. 11 advisory
pursuant to Federal Rule of Civil Procedure 11 and 28           committee's note. TASER's Motion for Sanctions (# 111)
U.S.C. § 1927 based upon Plaintiffs' failure to voluntarily     is completely without merit and quite probably, in this
dismiss the case must be denied.                                Court's estimation, brought for an improper purpose.
                                                                Plaintiffs will therefore be awarded the reasonable
Moreover, Rule 11(c)(2) authorizes the court to award the       expenses of defending such a motion pursuant to Federal
prevailing party reasonable expenses, including attorney's      Rule of Civil Procedure 11(c)(2).
fees, incurred for the motion “[i]f warranted.” The Court
finds that an award to Plaintiffs, to be borne by counsel for    *4 Moreover, TASER is not entitled to sanctions
Defendant TASER, of the reasonable expenses, including          pursuant to 28 U.S.C. § 1927. Plaintiffs did not vexatiously
attorney's fees, incurred in defending against Defendant        multiply the proceedings by refusing to withdraw their
TASER's motion is in fact warranted in this case. As            complaint in the face of TASER's threat to move
Plaintiffs point out, the Advisory Committee Notes to the       for sanctions. A complaint that survives a motion for
1993 Amendments to Rule 11 provide, in relevant part, as        summary judgment is not an “unnecessary filing[ ]”
follows:                                                        subject to the sanction of section 1927. In re Keegan Mgmt.
                                                                Co. Sec. Litig., 78 F.3d 431, 435 (9th Cir.1996); see also
            [Rule 11 motions] should be                         Handte v. Wells Fargo Bank N.A., No. 3:11–cv–00900–
            not be employed.. to test the                       ECR–VPC, 2012 WL 2921493, at *5 (D.Nev. Jul.16, 2012)
            legal sufficiency or efficacy of                    (holding that section 1927 sanctions cannot be applied
            allegations in the pleadings; other                 to the filing of a complaint). And while we seriously
            motions are available for those                     question the conduct of counsel for Defendant TASER,
            purposes. Nor should Rule 11                        we cannot say that Plaintiffs' attorneys acted “recklessly
            motions be prepared to emphasize                    or in bad faith” in refusing to withdraw their meritorious
            the merits of a party's position,..                 case, as is required by the Ninth Circuit before imposing
            to intimidate an adversary into                     sanctions. See T.W. Elec. Serv., Inc. ., 809 F.2d at 638.
            withdrawing contentions that are                    Moreover, section 1927 sanctions cannot be applied to
            fairly debatable, [or] to increase the              an initial pleading, but rather “only to unnecessary filings
            costs of litigation, ...                            and tactics once a lawsuit has begun.” In re Keegan Mgmt.,
                                                                78 F.3d at 435 (citations omitted). TASER's motion for
FED.R.CIV.P. 11 1993 Amendments advisory
                                                                section 1927 sanctions therefore fails on its face and must
committee's note. See also Gaiardo v. Ethyl Corp., 835
                                                                be denied.
F.2d 479, 485 (“The use of Rule 11 as an additional
tactic of intimidation and harassment has become part
of the so-called ‘hardball’ litigation techniques espoused      B. Plaintiffs' Motion for Sanctions (# 114)
by some firms and their clients. Those practitioners are        While we award to Plaintiffs the cost of defending
cautioned that they invite retribution from courts which        against TASER's Motion for Sanctions (# 111), it
are far from enchanted with such abusive conduct. A             appears that Plaintiffs also request additional Rule 11


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sanctions in their Response (# 114). Plaintiffs' motion            because they have no evidence of causation. Plaintiffs
                                                                   presented evidence of causation, however, sufficient to
is unnecessary if Plaintiffs merely seek recompense for
                                                                   survive a motion for summary judgment. As such,
the cost of defending against TASER's baseless Rule
                                                                   TASER's argument for sanction are without merit, and
11 motion. See FED.R.CIV.P. 11 1993 Amendments
                                                                   we find that it was brought for the improper purpose
advisory committee's note (“[T]he filing of a motion
                                                                   of emphasizing the merits of TASER's case. As such,
for sanctions is itself subject to the requirements of the
                                                                   we find that an award to Plaintiffs of the costs of
rule and can lead to sanctions. However, service of a
                                                                   defending against TASER's motion is warranted in
cross motion under Rule 11 should rarely be needed
                                                                   this case. However, to the extent that Plaintiffs seek
since under the revision the court may award to the
                                                                   additional sanction, Plaintiffs' request must be denied as
person who prevails on a motion under Rule 11—whether
                                                                   procedurally improper.
the movant or the target of the motion—reasonable
expenses, including attorney's fees, incurred in presenting
                                                                    *5 IT IS, THEREFORE, HEREBY ORDERED that
or opposing the motion.”). To the extent that Plaintiffs
                                                                   Defendant TASER International, Inc.'s Motion for
seek additional sanctions, Plaintiffs' request must be
                                                                   Sanctions (# 111) is DENIED.
denied as procedurally improper. Rule 11(c)(2) proves
that “[a] motion for sanctions must be made separately
                                                                   IT IS FURTHER ORDERED that Plaintiffs shall have
from any other motion....” Further, Plaintiffs did not serve
                                                                   fourteen (14) days within which to file an Application
notice of the intent to seek sanctions twenty-one days prior
                                                                   for Costs and Fees incurred for TASER's Motion for
to filing the request, as is also required by Rule 11(c)(2).
                                                                   Sanctions (# 111).
For this reason, Plaintiffs' request for additional Rule 11
sanctions against TASER must be denied.
                                                                   IT IS FURTHER ORDERED that Plaintiffs' Motion for
                                                                   Sanctions (# 114) is DENIED.

                      V. Conclusion
                                                                   All Citations
Defendant TASER moved for sanctions on the grounds
that Plaintiffs should have voluntarily dismissed their case       Not Reported in F.Supp.2d, 2012 WL 3155137


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                           Tab 11
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Sewald v. Reisinger, Not Reported in F.Supp.3d (2015)
2015 WL 6964290

                                                             (Dkts. 9, 14). Sewald timely moved for attorneys' fees
                                                             and costs of $14,000, as well as her living expenses
                 2015 WL 6964290
                                                             of $17,548.16 ‘incident to these proceedings.‘ (Dkt.
   Only the Westlaw citation is currently available.
                                                             19). Reisinger did not respond to that motion. On
            United States District Court,
                                                             April 30, 2009, Petitioner's motion was granted ‘as to
                   M.D. Florida,
                                                             Petitioner's entitlement to an award of attorneys' fees and
                  Tampa Division.
                                                             costs.‘ Ruling was deferred on the amount due pending
             Penelope Sewald, Petitioner,                    resolution of the appeal. (Dkt. 27). The Eleventh Circuit
                         v.                                  affirmed the decision in favor of Sewald on April 15, 2010.
             John Reisinger, Respondent.                     (Dkt. 29).

            Case No. 8:08-cv-2313-T-27TBM                    Six years after the order establishing Petitioner's
                           |                                 entitlement to fees and costs, and five years after the
               Signed November 9, 2015                       Eleventh Circuit's affirmance on the merits, Sewald moved
                           |                                 to substitute David Hurvitz as counsel for Donald A.
                   Filed 11/10/2015                          Foster, who litigated the case in 2008-2009. (Dkts. 32,
                                                             33). That motion was granted. (Dkt. 34). Sewald, through
Attorneys and Law Firms                                      Hurvitz, moved to renew the motion for attorneys' fees,
                                                             costs, and living expenses. (Dkt. 35). Reisinger responded
Donald A. Foster, The Foster Law Group, Tampa, FL for
                                                             in opposition. Based on the delay in renewing the motion,
Plaintiff.
                                                             Respondent argues that he and his counsel no longer
Mark Adam Neumaier, Law Office of Mark Neumaier,             possess documentation to oppose the motion, particularly
Tampa, FL, for Defendant.                                    with regard to Petitioner's claimed living expenses. (Dkt.
                                                             37). The matter was set for hearing on June 18, 2015. (Dkt.
                                                             39). At the hearing, the parties were ordered to submit
                                                             affidavits and memoranda regarding the fees and costs
                        ORDER
                                                             incurred, which they have. (Dkts. 55, 56, 57, 58, 59, 60).
JAMES D. WHITTEMORE, United States District
Judge                                                        Reisinger makes two arguments against Sewald' s attempt
                                                             to renew the motion for fees, costs, and expenses. First,
 *1 BEFORE THE COURT is Petitioner's Renewed                 Reisinger argues that Sewald's extreme delay in renewing
Motion for Attorney Fees and Costs (Dkt. 35), which          the motion is in itself sufficient reason to deny or
Respondent opposes (Dkt. 37). A hearing was held on          reduce the award. Second, Reisinger disputes many of the
the motion (Dkt. 54), after which the parties submitted      amounts claimed for fees, costs, and expenses, based on (1)
supplemental affidavits and memoranda in support of          the delay in renewing the motion and resulting prejudice
their respective positions (Dkts. 55, 56, 57, 58, 59, 60).   and (2) the lack of statutory authorization for certain fees,
Upon consideration, the motion is GRANTED in part            costs, and expenses claimed.
and DENIED in part. While Petitioner's entitlement to
fees and expenses was established in 2009, many of the
requested fees and expenses will be denied, because they     II. DELAY IN RENEWING MOTION
are not authorized by the relevant statute or Respondent     Reisinger argues that the six-year delay in renewing
has shown that the passage of time has prejudiced him.       the motion justifies denial or reduction of the fees and
                                                             expenses. In the analogous situation of when a prevailing
                                                             party has a statutory right to attorneys' fees but fails to
I. BACKGROUND                                                seek them within a reasonable time, however, courts have
In this international child abduction case brought           rejected the argument that a lengthy delay alone justifies
pursuant to the Hague Convention, Petitioner/Mother          a denial or reduction of fees, and have required that the
Penelope Sewald prevailed on the merits against              party opposing fees show it has been ‘unfairly ... prejudice
Respondent/Father John Reisinger, securing release of her    [d]‘ by the passage of time. White v. New Hampshire
son's passport and the return of her son to Germany.


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Dep't of Employment Sec., 455 U.S. 445, 454 (1982). 1             prejudiced by the delay. 3 Baird, 724 F.2d at 1033-36; Law,
See Baird v. Bellotti, 724 F.2d 1032, 1033, 1034-36 (1st          578 F.2d at 101.
Cir. 1984) (even when delays in seeking fees were ‘plainly
unreasonable,‘ fees would be denied only if affected party
can show ‘actual prejudice‘). In Baird, although the First        III. REASONABLENESS OF ATTORNEYS' FEES
Circuit reasoned that a delay of thirty months ‘comes close       AND OTHER EXPENSES
to a delay so long that courts might infer prejudice simply       Sewald claims attorneys' fees, costs, and other expenses
from its length, without more,‘ it upheld the denial of fees      pursuant to 22 U.S.C. § 9007(b)(3) (formerly codified at
on the basis of the delay and the fact that the district court    42 U.S.C. § 11607), which provides:
had identified ‘actual prejudice‘ to the non-moving party
                                                                                 Any court ordering the return
based on memory loss, change in counsel, and intervening
                                                                                 of a child pursuant to [the
changes in the law. Id.
                                                                                 Hague Convention] shall order
                                                                                 the respondent to pay necessary
 *2 Other courts have interpreted White and Baird as
                                                                                 expenses incurred by or on behalf
requiring a showing of prejudice to deny a long-delayed
                                                                                 of the petitioner, including court
fee motion. See Gross v. City of Cleveland Heights, 53
                                                                                 costs, legal fees, foster home or
F.3d 331 (6th Cir. 1995) (unpublished table decision)
                                                                                 other care during the course of
(affirming grant of attorneys' fees even though petition
                                                                                 proceedings in the action, and
was filed 30 months after the district court's judgment,
                                                                                 transportation costs related to
because ‘[e]ven a 'plainly unreasonable’ delay does not
                                                                                 the return of the child, unless
prove laches; 'prejudice remains a significant factor.' ‘)
                                                                                 the respondent establishes that
(quoting Baird, 724 F.2d at 1034); Walker v. Coughlin,
                                                                                 such order would be clearly
909 F. Supp. 872, 875-76 (W.D.N.Y. 1995) (granting fee
                                                                                 inappropriate. 22 U.S.C. § 9007(b)
petition despite four year delay in seeking fees because
                                                                                 (3) (emphasis added).
defendants did not ‘actually suffer[ ] any prejudice because
of [the delay].‘); James v. Nashua School Dist., 720 F.
                                                                  The petitioner bears the burden to show that expenses
Supp. 1053, 1060-61 (D.N.H. 1989) (delay in seeking fees
                                                                  are ‘necessary,‘ and if the petitioner satisfies that burden,
of over two years ‘patently untimely,‘ but granting fee
                                                                  the burden shifts to the respondent to establish that the
petition because delay did not ‘result in prejudice‘ to non-
                                                                  expenses are ‘clearly inappropriate.‘ Salazar v. Maimon,
moving party) (quotation omitted).
                                                                  750 F.3d 514, 522 (5th Cir. 2014).
Although not directly invoked by Reisinger, the doctrine
of laches, which provides a defense to late-filed claims not        A. Attorneys' Fees and Costs
subject to a statute of limitations, also requires the party to   Sewald's attorney during the course of the Hague
demonstrate ‘prejudice[, which] requires more than simply         Convention proceeding, Donald A. Foster, avers that he
negligence or delay.‘ Cruz v. Hauck, 762 F.2d 1230, 1238          spent 49.8 hours representing Sewald. His paralegal billed
(5th Cir. 1985)(quoting Matter of Bohart, 743 F.2d 313,
                                                                  an additional 17.5 hours. (Dkt. 56 ¶ 2). 4 Foster's rate is
326 (5th Cir. 1984)). A party seeking laches ‘must show
                                                                  $250 per hour and the paralegal's rate is $80 per hour,
a delay which has subjected him to a disadvantage in
asserting and establishing his claimed right or defense, or       for a total of $13,850.(Id. ¶¶ 1-2). 5 Foster further avers
other damage caused by his detrimental reliance on his            that he incurred costs of $1,044.43 in the course of his
adversary's conduct. ‘ Law v. Royal Palm Beach Colony,            representation, for a total of $14,894.43. (Id.) 6
Inc., 578 F.2d 98, 101 (5th Cir. 1978). 2
                                                                   *3 Reisinger challenges Foster's affidavit on two
Accordingly, even though the delay in renewing the                grounds. First, Reisinger argues that the delay in renewing
motion was ‘plainly unreasonable,‘ and arguably could,            the motion warrants denial of attorneys' fees. This
in itself, warrant denial or reduction in the requested fee,      argument fails because Reisinger has not demonstrated
I find that Reisinger must nonetheless show that he was           any prejudice based on the delay in renewing the motion
                                                                  as to attorneys' fees. See Baird, 724 F.2d at 1033 (requiring


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more than a ‘plainly unreasonable‘ delay to deny motion
for fees). Second, Reisinger contends that many of the           B. Other Necessary Expenses
specific fee entries should be denied, because they were      In addition to her attorneys' fees and costs, Sewald seeks
incurred in the state marriage dissolution proceeding         reimbursement of ‘necessary expenses‘ incurred during
between the parties and the Eleventh Circuit appeal of this   the Hague Convention proceedings, including airfare of
Court's decision.                                             $1,287, hotel and car expenses of $7,909.70, translation
                                                              services of $3,204.50, mail, document production,
Foster's April 7, 2010 statement is based entirely on the     internet, and telephone charges of $850.94. (Dkt. 55 ¶¶ 2-3
Eleventh Circuit appeal. Those fees, $7,859.06, will be       & Dkt. 55-1). Reisinger challenges all of these expenses on
denied. (Dkt. 56-2; Dkt. 54; see Dkt. 27). See 11th Cir. R.   various grounds.
39-2 (application for attorneys' fees for Eleventh Circuit
proceedings must be filed in the Eleventh Circuit). The       The statute provides for reimbursement of costs related to
February 2, 2009 statement of $7,436.54 includes entries      the return of the child.‘ 22 U.S.C. § 9007(b)(3); see Seaman
for both the Hague Convention proceeding and the state        v. Peterson, 762 F. Supp. 2d 1363, 1382 (M.D. Ga. 2011),
                                                              aff'd, 766 F.3d 1252 (11th Cir. 2014). However, Sewald has
court dissolution proceeding. (Dkt. 56-1). 7
                                                              not shown that her claimed airfare expenses were incurred
                                                              during this action. Three entries in her spreadsheet are
The fees based on the following entries will be denied
                                                              categorized as airfare. However, the NWA Air entry for
because they appear to have been incurred in the state
                                                              September 5, 2008 is before the filing of this proceeding.
court proceeding and were not ‘necessary‘ for the Hague
                                                              And the ‘Flight‘ entry for May 27, 2015, is well after
action:
                                                              Sewald and her child returned to Germany. (See Dkt.
            11/19/2008 telephone conference                   55-1). The $50 for ‘US Airways‘ on January 26, 2009
            with Kathy Moffit ($121.67 (two                   appears to be appropriate. (Id.). However, Reisinger avers
            entries)); 12/16/2008 review orders               that Sewald possessed return tickets which could have
            granting extension of time and                    been modified, and his records of those tickets were lost
            hearing of October 8, 2008 ($100                  during the six-year period between the court proceedings
            (three entries)); 1/22/2009 filing                and the renewal of Petitioner's motion. (Dkt. 58 ¶¶ 5,
            order from this court in state                    8-11, 37). Accordingly, Reisinger has demonstrated that
            court ($41 (two entries)); 1/23/2009              he is prejudiced by the delay in Petitioner renewing her
            review answer and letter re case                  motion with regard to the claimed airfare expenses. Those
            management conference in state                    expenses will therefore be denied. See White, 455 U.S. at
            court ($58 (three entries)). (Id.)                454 (unfair surprise or prejudice sufficient basis to deny
                                                              fees to which prevailing party is otherwise entitled).
As Reisinger argues, the 11/13/2008 entries for ‘letter
                                                               *4 The claimed hotel and car expenses appear to be for
regarding visitation‘ (totaling $165) will be reduced by
                                                              Sewald' s hotel and rental car while she was in Tampa
half because they were incurred for both the Hague
                                                              for the Hague Convention proceeding. (Dkt. 55-1). See
Convention and state court proceedings. (Id.) Reisinger's
                                                              Antunez-Fernandes v. Connors-Fernandes, 259 F. Supp.
remaining challenges to the fee entries are rejected.
                                                              2d 800, 816 (N.D. Iowa 2003) (granting expenses of car
                                                              rental and hotel in Hague Convention case); Lebiedzinski
Reisinger also takes issue with the costs claimed, arguing
                                                              v. Crane, No. A03-0248 CV (JKS), 2005 WL 906368, at
that only the filing fee of $350 is related to the Hague
                                                              *4 (D. Alaska Apr. 13, 2005) (same). However, Reisinger
Convention proceeding and the other costs of $929.37
                                                              avers that Sewald was staying at her parents' home in
should be denied. (Id.) This argument is well taken, as
                                                              Tampa before she moved into the hotel, and Sewald has
Sewald has not shown how the costs, with the exception
                                                              provided no evidence that it was ‘necessary‘ for her to
of the filing fee, were incurred during ‘the course of
proceedings in [this] action.‘ 22 U.S.C. § 9007(b)(3).        stay at the hotel rather than at her parents' home. 9 (Dkt.
Accordingly, Sewald is entitled to an award of $6,104 in      58 ¶¶ 3, 28). Reisinger also avers that Sewald had a car
                                                              available to her which Sewald unilaterally refused to use,
attorneys' fees and costs. 8
                                                              despite the fact it was titled in both Reisinger and Sewald's



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names. (Id. ¶ 4). Based on Reisinger’ s averments and               proceeding. (Dkt. 55 2). See Aldinger v. Segler, 338 F.
                                                                    Supp. 2d 296, 298 (D.P.R. 2004), aff'd, 157 Fed. App'x 317
Sewald' s failure to show that the hotel and rental car were
                                                                    (1st Cir. 2005)(denying telephone costs not shown to be
‘necessary expenses,‘ the hotel and rental car expenses will
                                                                    incurred during Hague Convention case).
be denied. See 22 U.S.C. § 9007(b)(3).

Reisinger also challenges the translation services of               IV. CONCLUSION
$3,204.50. Sewald does not adequately show that                     Accordingly, Petitioner's Renewed Motion for Attorney
translation services were necessary for materials used in           Fees and Costs (Dkt. 35) is GRANTED in part and
this case, with the exception of invoices #991 ($462.50)            DENIED in part.
and #1003 ($654), translations of documents that were
attached to the original petition. (Dkt. 1-2; Dkt. 55-2 at          Petitioner is awarded $6, 104 in attorneys' fees and costs
pp. 3, 8). The remaining translation costs will be denied           and $1,116.50 in necessary expenses pursuant to 22 U.S.C.
because Sewald fails to show they were necessary for use            § 9007(b)(3). The Clerk is directed to enter judgment in this
in the Hague Convention proceeding. See Wasniewski v.               amount in favor of Petitioner and against Respondent.
Grzelak-Johannsen, 549 F. Supp. 2d 965, 979 (N.D. Ohio              The file shall remain closed.
2008) (denying request for translation services in Hague
Convention case because of petitioner's failure to provide          DONE AND ORDERED.
‘supporting documentation.‘).

Finally, Sewald's request for ‘[m]ail costs, document               All Citations
production costs, internet and phone expenses‘ of $850.94
will be denied, because she has failed to demonstrate that          Not Reported in F.Supp.3d, 2015 WL 6964290
these expenses were ‘necessary‘ for the Hague Convention


Footnotes
1      In White and Baird, there was no issue as to the timeliness of the motion, as the district courts had not adopted local rules
       setting deadlines for seeking attorneys' fees. While Sewald complied with Local Rule 4.18, which requires all claims for
       fees and costs to be submitted within 14 days following entry of judgment, the extreme delay in renewing her motion is
       similar to the delay in moving for fees by the prevailing parties in White and Baird.
2      Opinions of the Fifth Circuit issued prior to October 1, 1981, are binding precedent in the Eleventh Circuit. Bonner v. City
       of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981).
3      Respondent cites to a number of Eighth Circuit cases regarding a plaintiff's failure to prosecute, usually based on
       intentional violations of court orders. These cases are in apposite to this situation, however, where Petitioner's entitlement
       to fees and expenses has been established through a timely motion. See Givens v. A.H Robins Co., 751 F.2d 261 (8th
       Cir. 1984); Sterling v. United States, 985 F.2d 411 (8th Cir.1993); Rodgers v. Curators of Univ. of Mo., 135 F.3d 1216 (8th
       Cir. 1998), DiMercurio v. Malcom, 716 F.3d 1138 (8th Cir. 2013); Bergstrom v. Frascone, 744 F.3d 571 (8th Cir. 2014).
4      To the extent Sewald claims attorneys' fees for her second attorney, David Hurvitz, the request is denied, as they were
       not incurred ‘during the course of [the Hague Convention] proceedings.‘ 22 U.S.C. § 9007(b)(3).
5      Reisinger does not challenge the rates charged, which are reasonable. See Norman v. Hous. Auth. of City of Montgomery,
       836 F.2d 1292, 1302-03 (11th Cir. 1988).
6      As Reisinger notes, this is less than the $16, 160 averred in the affidavit filed before the hearing, but more than the
       $14,000 initially requested. (See Dkts. 19, 53 ¶ 2.)
7      Reisinger argues that Foster's fee in preparing for and attending the hearing held before Judge Mccoun should be
       reduced. That time and rate are reasonable, however, and will not be reduced. Reisinger does not challenge the other
       hours spent by Sewald's counsel (except on the grounds of timeliness). They are reasonable. See Norman, 836 F.2d
       at 1302-03.
8      This figure is based on the $7,436.54 figure from the February 2, 2009 invoice less the specific items which were rejected
       above, plus the federal filing fee.




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9     Reisinger also avers that Sewald was welcome to stay at his residence in Hunter's Green, Tampa. Notwithstanding, it was
      understandable that Sewald would leave that residence while the Hague Convention proceedings were being conducted,
      and in any event, does not mitigate against her claim..


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                           Tab 12
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                                                             The DerMargosians then complied with the safe harbor
                 2014 WL 1632181
                                                             provision and filed an amended motion for sanctions.
   Only the Westlaw citation is currently available.
                                                             They argued that Vanliner's complaint constituted an
            United States District Court,
                                                             improper attempt to draw them into the lawsuit and
                    N.D. Texas,
                                                             was a form of harassment. The court denied Martina's
                  Dallas Division.
                                                             and Greg's motions to dismiss, Vanliner Insurance Co.
    VANLINER INSURANCE COMPANY, Plaintiff,                   v. DerMargosian, 2014 WL 113595, at *4 (N.D.Tex.
                    v.                                       Jan.13, 2014) (Fitzwater, C.J.), and also denied the
     Greg DERMARGOSIAN, et al., Defendants.                  DerMargosians' amended motion for sanctions, Jan. 13,
                                                             2014 Order at 1.
           Civil Action No. 3:12–CV–5074–D.
                             |                               Vanliner now moves under Rule 11(c)(2) for an
                  Signed April 24, 2014.                     award of attorney's fees as the prevailing party in
                                                             the proceeding regarding the DerMargosians' amended
Attorneys and Law Firms                                      motion for sanctions. The DerMargosians respond
                                                             that Vanliner's application does not comply with the
Jo Allison Stasney, Linda M. Szuhy, Thompson Coe
                                                             procedural provisions of Rule 11(c)(2). They also argue
Cousins & Irons, Dallas, TX, for Plaintiff.
                                                             that the application should be denied because their
Ernest Skip E. Reynolds, III, Law Offices of Ernest (Skip)   amended motion for sanctions was reasonable under the
Reynolds III, Fort Worth, TX, John Howell House, Jr.,        circumstances and was not filed in bad faith.
Burt Barr & Associates, Dallas, TX, Jerry Fazio, Jason E.
Kipness, Owen & Fazio PC, Dallas, TX, for Defendants.
                                                                                         II

     MEMORANDUM OPINION AND ORDER
                                                                                         A
SIDNEY A. FITZWATER, Chief Judge.
                                                             Under Rule 11(c)(2), “[i]f warranted, the court may
 *1 Plaintiff Vanliner Insurance Company (“Vanliner”)        award to the prevailing party the reasonable expenses,
—the prevailing party in a motion for sanctions brought      including attorney's fees, incurred” for litigating a Rule
against it under Fed.R.Civ.P. 11—moves pursuant              11 motion. 2 The court's authority to award reasonable
to Rule 11(c)(2) for an award of attorney's fees             expenses under Rule 11(c)(2) is distinct and separate
against defendants Greg DerMargosian (“Greg”) and            from its authority to award attorney's fees under Rule
Martina DerMargosian (“Martina”) (collectively, “the         11(c)(4). An award of reasonable expenses under Rule
DerMargosians”), the parties who brought the motion.         11(c)(2) is not a sanction for violating Rule 11(b). See
For the following reasons, the court grants Vanliner's       Boim v. Quranic Literacy Inst., 2003 WL 1956132, at
motion and awards it the sum of $1,066.00 in attorney's      *3–4 (N.D.Ill. Apr.24, 2003) (distinguishing reasonable
fees.                                                        expenses provision from sanction-based fees provision);
                                                             Harman v. City of Univ. Park, 1997 WL 53120, at *1 & n. 1
                                                             (N.D.Tex. Feb.3, 1997) (Boyle, J.) (stating that reasonable
                                                             expenses award under Rule 11(c)(2) “is available whether
                            I
                                                             or not the original motion for sanctions itself violates
Martina and Greg filed separate motions to dismiss           Rule 11”); EEOC v. Tandem Computers Inc., 158 F.R.D.
Vanliner's complaint pursuant to Rules 12(b)(1) and          224, 229 (D.Mass.1994) (same). Accordingly, a party
12(b)(6). Before the court decided Martina's or Greg's       seeking reasonable expenses pursuant to Rule 11(c)(2) is
motion, the DerMargosians filed a motion for Rule 11         not required to comply with the procedural requirements
sanctions against Vanliner. The court denied the motion      of Rule 11(c)(2). See Patelco Credit Union v. Sahni, 262
two days later because the DerMargosians failed to           F.3d 897, 913 (9th Cir.2001) (stating that “[a] party
                                                             defending a Rule 11 motion need not comply with the
comply with the safe harbor provision of Rule 11(c)(2). 1



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separate document and safe harbor provisions”); Browne        in determining the amount of reasonable expenses that
v. Nat'l Ass'n of Sec. Dealers, Inc., 2006 WL 1506711,        should be awarded in this case. Cf. Harman, 1997 WL
at *3 (N.D.Tex. May 31, 2006) (Fish, C.J.) (awarding          53120, at *2 (applying lodestar method to determine
attorney's fees under Rule 11(c)(2) where party seeking       reasonable expenses under Rule 11(c)(2)).
fees did not comply with procedural requirements); Boim,
2003 WL 1956132, at *3 (same regarding safe harbor            Vanliner presents the affidavit of its counsel and billing
provision); Jawbone, LLC v. Donohue, 2002 WL 1424587,         records showing that its counsel expended a total of 5.2
at *8 (S.D.N.Y. June 28, 2002) (same regarding safe           hours responding to the DerMargosians' amended motion
harbor provision); Harman, 1997 WL 53120, at *1               for sanctions. After reviewing the affidavit and billing
(same regarding separate writing requirement). The court      records, and in the absence of any opposition response
considering a request for reasonable expenses pursuant        on this issue, the court finds that this expenditure of
to Rule 11(c)(2) is not required to apply the substantive     time was reasonable. Vanliner requests that its attorney
requirements of Rule 11(c)(4)-(6) either. See Browne, 2006    be compensated at an hourly rate of $205.00. Given
WL 1506711, at *3 (awarding reasonable expenses in            the attorney's level of experience (she was licensed in
the form of attorney's fees because movant failed to          Oklahoma in 1998 and in Texas in 2001) and the
comply with safe harbor provision); Boim, 2003 WL             relevant prevailing rates, the court, as an expert on the
1956132, at *4 (stating that judge simply awarded fees and    reasonableness of attorney's fees, 5 finds that this hourly
costs pursuant to Rule 11(c)(2), and, “[a]s such, neither     rate is not only reasonable, but that it is lower than what
Plaintiffs nor [the judge] are required to comply with Rule   is customarily charged in this locality for similar legal
11's rules with regard to filing or granting a Motion for     services by an attorney of comparable experience. The
Sanctions”). Instead, the court applies the requirements      court will therefore use this rate in calculating the lodestar.
of Rule 11(c)(2) itself, which provides that the award of
expenses to the prevailing party must be warranted and        The lodestar award is $1,066.00, the same amount that
reasonable.                                                   Vanliner requests in its motion. There is a “strong
                                                              presumption that the lodestar award is the reasonable
                                                              fee.” Heidtman v. Cnty. of El Paso, 171 F.3d 1038, 1044
                            B                                 (5th Cir.1999). Nevertheless, “the court must consider
                                                              whether the lodestar amount should be adjusted upward
 *2 The court concludes that an award of reasonable           or downward, depending on the circumstances of the
expenses—in this case, the attorney's fees that Vanliner      case and after addressing the Johnson factors.” SEC
incurred in responding to the DerMargosians' amended          v. AmeriFirst Funding, Inc., 2008 WL 2185193, at *1
motion for sanctions—is warranted. Not only did               (N.D.Tex. May 27, 2008) (Fitzwater, C.J.) (internal
Vanliner prevail on the DerMargosians' amended motion,        quotation marks omitted). Based on its application of the
but the motion was devoid of any good-faith arguments. 3      pertinent Johnson factors, see id. at *1 n. 2, the court
And although the DerMargosians' amended motion need           holds that the lodestar amount is reasonable and should
not have been frivolous to warrant a fee award under          not be adjusted. 6 Accordingly, the court awards Vanliner
Rule 11(c)(2), the fact that it was frivolous informs the     $1,066.00 in reasonable expenses.
court's finding that a fee award is warranted. 4 Vanliner
should not have to bear the expense of paying its lawyers     For the foregoing reasons, the court grants Vanliner's
to respond to an amended sanctions motion that should         application for attorney's fees. The court awards Vanliner
never have been filed.                                        the sum of $1,066.00 in attorney's fees ($205.00 x 5.2
                                                              hours) against the DerMargosians. This award must be
                                                              paid within 30 days of the date this memorandum opinion
                                                              and order is filed.
                            III
                                                              *3 SO ORDERED.
The court is not required to apply the lodestar method
to calculate reasonable expenses under Rule 11(c)(2), but
in the exercise of its discretion, the court will do so



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Footnotes
1      See Rule 11(c)(2) (“The motion must be served under Rule 5, but it must not be filed or be presented to the court if the
       challenged paper, claim, defense, contention, or denial is withdrawn or appropriately corrected within 21 days after service
       or within another time the court sets.”); see also Rule 11 advisory committee's note (1993 Amendments) (discussing
       “safe harbor” provision of Rule 11(c)(2)).
2      Before Rule 11 was amended in 2007, the Rule provided: “If warranted, the court may award to the party prevailing
       on the [Rule 11] motion the reasonable expenses and attorney's fees incurred in presenting or opposing the motion.”
       Fed.R.Civ.P. 11(c)(1)(A) (2006) (amended 2007). The opinions relied on below cite the former version of the Rule, in
       which the reasonable expenses provision was contained in Rule 11(c)(1)(A). The 2007 amendments to the Federal Rules
       of Civil Procedure were “intended to be stylistic only.” See, e.g., Rule 11 advisory committee's note (2007 Amendment).
       Accordingly, the reasoning of the opinions that cite the prior version of Rule 11 apply with equal force to the Rule as
       amended. In summarizing the holdings and reasoning of these opinions, the court will treat references to pre–2007 Rule
       11(c)(1)(A) as if they were to Rule 11(c)(2).
3      Regrettably, at the same time, the amended motion contains statements that impugn the character and actions of
       Vanliner's counsel.
4      The DerMargosians' opposition arguments—which are based on the mistaken premise that a motion for reasonable
       expenses under Rule 11(c)(2) should be decided using the standards applicable to a motion for fees under Rule 11(c)
       (4)—are irrelevant to the court's consideration of Vanliner's application.
5      See, e.g., Gromer v. Mack, 2012 WL 28835, at *2 (N.D.Tex. Jan.4, 2012) (Fitzwater, C.J.) (collecting cases holding that
       courts are experts regarding reasonableness of attorney's fees).
6      District courts “need not specifically discuss the Johnson factors where [they have] applied the Johnson framework.”
       EEOC v. Agro Distribution, LLC, 555 F.3d 462, 473 (5th Cir.2009). Because the DerMargosians do not oppose the specific
       amounts of fees requested by Vanliner, the court does not discuss the applicable factors individually.
       ***


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